Case 1:23-cv-00595-JPH-KMB   Document 48-9   Filed 06/01/23   Page 1 of 73 PageID
                                  #: 1600




                             EXHIBIT 9
Case 1:23-cv-00595-JPH-KMB   Document 48-9    Filed 06/01/23   Page 2 of 73 PageID
                                  #: 1601




                                  In the Matter Of:
                                      K.C., ET AL

                                             -v-

  INDIVIDUAL MEMBERS OF MEDICAL LICENSING BOARD OF INDIANA, ET AL


                 ____________________________________________________

                                 Dan H. Karasic, M.D.

                                     May 18, 2023
                 _____________________________________________________
Case 1:23-cv-00595-JPH-KMB                   Document 48-9          Filed 06/01/23       Page 3 of 73 PageID
                                                  #: 1602

                                                                                                                     Page 3
  1                   UNITED STATES DISTRICT COURT              1                    INDEX OF EXAMINATION
                      SOUTHERN DISTRICT OF INDIANA              2   EXAMINATION                                     PAGE
  2                       INDIANAPOLIS DIVISION                 3   By Mr. Fisher:                                     5
                                                                4
  3
                                                                5
  4                                                             6
  5   K.C., et al.,                )                            7
                                   )                            8                      INDEX OF EXHIBITS
  6                Plaintiffs,     )                            9   NUMBER                DESCRIPTION               PAGE
                                                               10   Exhibit 1    Defendants' Notice of                 6
                                   )
                                                                                 Deposition
  7            -v-                 ) CASE NO.                  11
                                   ) 1:23-cv-00595-JPH-KMB          Exhibit 2    Class Action Complaint               7
  8   THE INDIVIDUAL MEMBERS OF    )                           12                for Declaratory and Injunctive
      THE MEDICAL LICENSING BOARD )                                              Relief/Notice of Challenge to
  9   OF INDIANA, in their official)                           13                Constitutionality of Indiana
                                                                                 Statute
      capacities, et al.,          )
                                                               14
 10                                )                                Exhibit 3    Senate Enrolled Act 480               8
                   Defendants.     )                           15
 11                                                                 Exhibit 4    Defendants' First                    12
 12                                                            16                Requests for Production to
 13           The deposition upon oral examination of                            Plaintiffs
                                                               17
 14   DAN H. KARASIC, M.D., a witness produced and remotely         Exhibit 5    WPATH Standards of Care              69
 15   sworn before me, Debbi S. Austin, RMR, CRR, Notary       18                Version 7
 16   Public in and for the County of Hendricks, State of      19   Exhibit 6    WPATH Standards of Care              72
 17   Indiana, taken on behalf of the Defendants via Zoom                        Version 8
 18   videoconference on May 18, 2023, at 12:00 p.m.,          20
                                                                    Exhibit 7    Endocrine Treatment of               87
 19   pursuant to the Federal Rules of Civil Procedure.
                                                               21                Gender-Dysphoric/Gender-Incongru
 20                                                                              ent Persons: An Endocrine
 21                                                            22                Society Clinical Practice
 22                                                                              Guideline
 23                                                            23
 24               STEWART RICHARDSON & ASSOCIATES                   Exhibit 8    Recommendation of the                97
                                                               24                Council for Choices in Health
                 Registered Professional Reporters                               Care in Finland (PALKO/COHERE
 25                        (800)869-0873                       25                Finland)

                                                      Page 2                                                         Page 4
  1                          APPEARANCES                        1                INDEX OF EXHIBITS    (CONT'D.)
  2         (All participants via Zoom videoconference)         2   NUMBER                DESCRIPTION               PAGE
  3   FOR THE PLAINTIFFS:                                       3   Exhibit 9    A systematic review of              102
  4        Kenneth J. Falk, Esq.                                                 hormone treatment for children
           Gavin M. Rose, Esq.                                  4                with gender dysphoria and
  5        ACLU OF INDIANA                                                       recommendations for research
           1031 East Washington Street                          5
  6        Indianapolis, IN 46202                                   Exhibit 10   Evidence review:                   106
           kfalk@aclu-in.org                                    6                Gonadotrophin releasing hormone
  7        grose@aclu-in.org                                                     analogues for children and
  8        Chase Strangio, Esq.                                 7                adolescents with gender
           Harper Seldin, Esq.                                                   dysphoria
  9        AMERICAN CIVIL LIBERTIES                             8
           UNION FOUNDATION                                         Exhibit 11   Evidence review:                   109
 10        125 Broad Street                                     9                Gender-affirming hormones for
           New York, NY 10041                                                    children and adolescents with
 11        cstrangio@aclu.org
                                                               10                gender dysphoria
           hseldin@aclu.org
                                                               11   Exhibit 12   Well-Being an                       120
 12
                                                                                 Suicidality Among Transgender
 13   FOR THE DEFENDANTS:
                                                               12                Youth After Gender-Affirming
 14        Thomas M. Fisher, Esq.
                                                                                 Hormones
           Melinda Holmes, Esq.
                                                               13
 15        OFFICE OF THE ATTORNEY GENERAL
                                                                    Exhibit 13   Young Adult                         123
           302 West Washington Street
 16        IGCS Fifth Floor                                    14                Psychological Outcome After
           Indianapolis, IN 46204                                                Puberty Suppression and Gender
 17        tom.fisher@atg.in.gov                               15                Reassignment
           melinda.holmes@atg.in.gov                           16
 18                                                            17
 19   ALSO PRESENT:    Shawn Weyerbacher                       18
                       John Vastag                             19
 20                                                            20
 21                                                            21
 22                                                            22
 23                                                            23
 24                                                            24
 25                                                            25
Case 1:23-cv-00595-JPH-KMB                 Document 48-9              Filed 06/01/23       Page 4 of 73 PageID
                                                #: 1603
                                                                                                                 Pages 5..8
                                                        Page 5                                                        Page 7
  1           THE REPORTER: My name is Debbi Austin, an           1           But I think, otherwise, let's talk a little
  2      associate of Stewart Richardson & Associates,            2      bit about --
  3      One Indiana Square, Suite 2425, Indianapolis,            3           MR. FISHER: Well, let's go ahead and mark
  4      Indiana. Today's date is May 18, 2023. The time          4      Exhibit 2. We'll get that out of the way.
  5      is 12:00 p.m. Eastern Standard Time. This                5           (Deposition Exhibit 2 marked.)
  6      deposition is being held via Zoom videoconference.       6   Q This is the complaint in the case.
  7      The deponent is Dan H. Karasic, M.D.                     7           MR. FISHER: Chase, by the way, do you have a
  8           Will counsel please identify themselves and         8      full set of the exhibits?
  9      any persons present with you for the record.             9           MR. STRANGIO: I have access to the exhibits.
 10           MR. STRANGIO: Yes. Good morning. This is           10      I haven't printed them, so we will be using the --
 11      Chase Strangio from the ACLU, here with the             11      I have printed some of them, the ones that we used
 12      witness, on behalf of the plaintiffs. With me on        12      the other day, but not all of them. So we'll use
 13      Zoom are Harper Seldin, also with the ACLU, and Ken     13      this method. But we can instruct about zooming and
 14      Falk and Gavin Rose from ACLU of Indiana.               14      such.
 15           MR. FISHER: This is Tom Fisher with the            15           MR. FISHER: Yeah, that's fine.
 16      Indiana Attorney General's office. With me on Zoom      16           MR. STRANGIO: And one thing, just for the
 17      is Melinda Holmes. With me, in my office, is our        17      record, that the doctor has in front of him is his
 18      law clerk, John Vastag.                                 18      final declaration. So that is before him.
 19                    DAN H. KARASIC, M.D.,                     19           MR. FISHER: Okay, great. Thank you.
 20   having been first duly sworn to tell the truth, the        20   BY MR. FISHER:
 21   whole truth, and nothing but the truth, was examined       21   Q Doctor --
 22   and testified as follows:                                  22           MR. FISHER: If we could scroll down just a
 23   EXAMINATION                                                23      little bit -- I'm sorry, Shawn. Scroll down just a
 24   BY MR. FISHER:                                             24      little bit. Okay, there we go.
 25   Q Well, good afternoon. Or good morning, I guess,          25   Q Doctor, have you seen this document before?
                                                        Page 6                                                        Page 8
  1       for you, Doctor. My name is Tom Fisher. I'm the         1   A Yes.
  2       Deputy Attorney General, and I'll be taking your        2   Q What do you understand this document to be?
  3       deposition today.                                       3   A This is the complaint in response to the Indiana
  4            MR. FISHER: So let's mark our first exhibit,       4     statute on gender-affirming care for minors.
  5       which is Defendant's Notice of Deposition.              5   Q And this is the complaint in the case pursuant to
  6            (Deposition Exhibit 1 marked.)                     6     which you are here to testify today; correct?
  7   Q   Doctor, do you recognize this document?                 7   A Yes.
  8   A   Yes.                                                    8   Q And have you read this document in its entirety
  9   Q   What do you understand this document to be?             9     before?
 10   A   It's a notice that I'm being deposed.                  10   A Yes.
 11   Q   And it's in response to this notice that we are        11          MR. FISHER: All right. Let's go ahead and
 12       having this deposition today?                          12     mark Exhibit 3, Senate Enrolled Act 480.
 13   A   Yes.                                                   13          (Deposition Exhibit 3 marked.)
 14   Q   Is there any reason that you cannot give full and      14   Q Doctor, have you seen this document before?
 15       complete testimony today?                              15   A Yes.
 16   A   No.                                                    16   Q What do you understand it to be?
 17   Q   Have you ever given a deposition before?               17   A I understand that this is an Indiana statute that
 18   A   Yes.                                                   18     prohibits or limits gender-affirming care for
 19   Q   So you know basically how it works. I think just a     19     minors.
 20       couple of housekeeping items. The main one is I'm      20   Q And have you read this statute in its entirety?
 21       going to assume that you understand my questions.      21   A Yes.
 22       If you don't, please don't hesitate to say             22   Q So tell me what you have reviewed today in
 23       something and we'll clear it up the best we can.       23     preparation for this deposition.
 24       So that's, I think, the main one I wanted to advise    24   A I reviewed my declaration and the documents that
 25       you about.                                             25     you've shown me.
Case 1:23-cv-00595-JPH-KMB                Document 48-9             Filed 06/01/23         Page 5 of 73 PageID
                                               #: 1604
                                                                                                               Pages 9..12
                                                      Page 9                                                         Page 11
  1   Q Anything else?                                          1       was about two-thirds are people who are transgender
  2   A Well, I have -- I had a review of literature in         2       or, you know, are coming for issues related to
  3     various cases that I've -- that I've done, but not      3       gender dysphoria.
  4     so much in response particularly to this for this       4   Q   And of that group, what percent are under the age
  5     deposition.                                             5       of 18?
  6   Q Other than your lawyers, have you spoken to anyone      6   A   So again, when I looked, it was about a third, a
  7     about the deposition today?                             7       third, a third: About a third cisgender people who
  8   A No.                                                     8       were mostly adults; about a third transgender
  9   Q So tell me, Doctor, let's just start with your          9       minors; and about a third transgender adults.
 10     background.                                            10   Q   Within the group of minors, what about minors --
 11          What is your current position?                    11       the percentage, rough percentages of those who had
 12   A I'm professor emeritus of psychiatry at UCSF.          12       reached Tanner stage 2 versus those who had not?
 13   Q How long have you had emeritus status?                 13   A   All of them. I only see patients who are 12 and
 14   A Since 2020.                                            14       older.
 15   Q And what was your position before you took emeritus    15   Q   What have been your areas of focus for research and
 16     status?                                                16       writing?
 17   A I was a health sciences clinical professor of          17   A   So first I have done some research related to
 18     psychiatry at UCSF for the preceding 29 years.         18       people with HIV, including for a time, part of my
 19   Q I infer from that position that you had a clinical     19       time was NIH funding, studying depression in that
 20     practice during that period as well?                   20       population. And then over the years also the care
 21   A Yes.                                                   21       of transgender people and the clinical care that's
 22          MR. STRANGIO: Object to form.                     22       being provided.
 23   A Yes.                                                   23   Q   Has prepubertal biological development ever been an
 24   Q Do you maintain a clinical practice now?               24       area of research for you?
 25   A Yes.                                                   25            MR. STRANGIO: Object to form.
                                                     Page 10                                                         Page 12
  1   Q Is it a full-time clinical practice or a part-time      1   A Not in terms of any published work. Of course, I
  2     clinical practice?                                      2     have an awareness of the research going back to my
  3   A I am seeing patients about halftime.                    3     training at UCLA. I was there at the same time
  4   Q Before you took emeritus status, was your clinical      4     Richard Green was there who published the first
  5     practice devoted entirely to individuals with           5     longitudinal study on feminine boys.
  6     gender dysphoria or was it a more general practice?     6          MR. FISHER: So let's go ahead and mark
  7          MR. STRANGIO: Object to form.                      7     Exhibit 4, which is the expert declaration of
  8   A I had initially came to UCSF in 1991, focusing on       8     Dr. Karasic.
  9     people with HIV and AIDS. But then since the            9          (Deposition Exhibit 4 marked.)
 10     1990s, I've also been seeing transgender people        10   Q Doctor, does this document look familiar to you?
 11     who've been kind of, over the 30 years, more of a      11   A Yes.
 12     focus of the patients that I saw in the various        12   Q Can you tell us what it is, please.
 13     kind of clinical programs I was involved in.           13   A It's my expert declaration for this case.
 14   Q Any other categories of psychiatric illnesses that     14          MR. FISHER: Okay. So I think, Shawn, if he
 15     you had a focus on?                                    15     could just scroll through it. I just want the
 16          MR. STRANGIO: Object to form.                     16     doctor to see that the entire declaration is here,
 17   A Well, within initially the people with HIV and         17     along with his CV and list of publications.
 18     transgender people, of course people have, you         18          It's a little bit long. I just want to
 19     know, every sort of psychiatric illness. In my         19     make -- it's just this presentation method gives us
 20     current private practice, I do see some cisgender      20     limited viewing capability. Go ahead and keep
 21     patients. Not all of my patients are transgender.      21     scrolling. Let's scroll all the way to page 19.
 22   Q So in your current practice, do you have a sense       22   Q Doctor, is that your signature on page 19?
 23     for roughly what percentage of your patients are       23   A Yes.
 24     there with issues related to gender dysphoria?         24   Q Is there anything about this declaration that is no
 25   A Yes. At some point, I looked a while back, and it      25     longer accurate?
Case 1:23-cv-00595-JPH-KMB                 Document 48-9              Filed 06/01/23         Page 6 of 73 PageID
                                                #: 1605
                                                                                                                Pages 13..16
                                                       Page 13                                                         Page 15
  1   A Not that -- oh, one thing. Since this declaration         1       Exhibit B?
  2     was filed, under the depositions and trials, I            2   A   There are references related to statements I made
  3     testified in Dekker versus Weida in Tallahassee           3       in my declaration. That's predominantly. And
  4     just last week.                                           4       then -- and some of them were -- there is some that
  5   Q Great. Thank you.                                         5       were papers I've relied on in other recent
  6          Anything else?                                       6       declarations, I think, as well.
  7   A No.                                                       7   Q   All right. I want to start a conversation at a
  8   Q All right.                                                8       little higher level of generality as we kind of
  9          MR. FISHER: Shawn, let's scroll to the next          9       work our way into these issues. And my first
 10     page of that exhibit, please. Stop there.                10       question in that regard for you is, what is sex?
 11   Q Doctor, do you -- this is a part of the same             11            MR. STRANGIO: Object to form.
 12     exhibit, but is this the first page of your CV?          12   A   So sex has a number of different meanings. Do you
 13   A Yes.                                                     13       want to specify when you're referring to a
 14   Q I don't want to take the time to have to scroll          14       definition of sex, what you -- which of those
 15     through the whole thing.                                 15       meanings you are referring to?
 16          MR. FISHER: So Shawn -- or sorry, Chase, you        16   Q   I guess I'm referring to the meaning that, you
 17     should have the entire thing in your file of             17       know, the way that we think about sex in science.
 18     documents. And so I just want to stipulate, if we        18       Does that help?
 19     can, that this is the doctor's CV and list of            19            MR. STRANGIO: Object to form.
 20     publications that he attached to his declaration.        20   A   So sex has different meanings. It can refer to
 21          MR. STRANGIO: Yes, that's accurate. And just        21       sexual intercourse. It can refer to sex assigned
 22     to clarify, the CV and then the bibliography.            22       at birth, the sex that's on someone's birth
 23          MR. FISHER: Yes, thank you.                         23       certificate.
 24   Q So I think -- thank you for mentioning that.             24            Sorry, the lights just went out in here.
 25          MR. FISHER: I think -- I do want to turn to         25       That's good, it's a motion detector.
                                                       Page 14                                                         Page 16
  1       that bibliography, which is Exhibit B to the -- to      1            So the sex that the physician or other
  2       that declaration. Oh, there it is. It's several         2       provider delivering a baby might put on the birth
  3       pages in. It's after the CV, at the end of the --       3       certificate based on the appearance of external
  4       the last four or five pages of the document.            4       genitalia.
  5   Q   All right. So Doctor, this is the Exhibit B that        5   Q   Is there such a thing as a human male genotype?
  6       Mr. Strangio mentioned just a minute ago?               6            MR. STRANGIO: Object to form.
  7   A   Yes.                                                    7   A   So there is -- again, there is included in that
  8   Q   Are these the materials that you relied on in           8       question, you're referring to male, I think, that
  9       preparing your report?                                  9       one can refer to the typical genotype of someone
 10   A   Yes. I mean, I relied on my, you know, kind of         10       assigned male at birth.
 11       broader understanding of the literature, but in        11   Q   What is that genotype?
 12       particular these papers.                               12   A   Well, chromosomally, that -- again, typically,
 13   Q   Are all of these papers scientific peer reviewed       13       chromosomally that includes a Y chromosome. But
 14       sources?                                               14       there are also people who are assigned male at
 15            MR. STRANGIO: Object to form.                     15       birth who lack that, but certainly it's -- you
 16   A   Some are policy statements of various                  16       know, it is often referred in that way because that
 17       organizations, some of them that are showing up        17       is typical.
 18       right now.                                             18   Q   What percent of cases do humans assigned male at
 19   Q   So not everything in this list is peer reviewed;       19       birth lack that male genotype, that XY genotype?
 20       correct?                                               20            MR. STRANGIO: Objection.
 21   A   So I think some of the policy statements might not     21   A   It's certainly uncommon, and that's why I say
 22       be peer reviewed, but rather the policy statements     22       typical.
 23       of the -- like position statement of an                23   Q   Do you have a sense of the percentage?
 24       organization.                                          24   A   So again, there is some ambiguity in referring to a
 25   Q   Okay. How did you decide what to include in            25       male genotype because there's both intersex people
Case 1:23-cv-00595-JPH-KMB                 Document 48-9              Filed 06/01/23         Page 7 of 73 PageID
                                                #: 1606
                                                                                                                Pages 17..20
                                                       Page 17                                                         Page 19
  1       and then there are also people who identify as male     1        MR. STRANGIO: Object to form.
  2       later in life who have a different genotype. But        2 A Again, I think I'll limit my testimony to humans.
  3       typically -- you know, and that's why I say             3   But as I said, it is my impression that there are
  4       typically, it's, you know, having a Y chromosome.       4   similar processes in other mammals.
  5   Q   And then I want to, just for sake of completeness,      5        I would -- when we're talking about the
  6       ask about the human female genotype. Is there such      6   Endocrine Society and the kind of biological sex
  7       a thing?                                                7   terms, the Endocrine Society has also, in Hembree,
  8            MR. STRANGIO: Object to form.                      8   expressed caution about the term "biological sex,"
  9   A   So again, typically it's referring to someone with      9   because it can have different meanings. So but --
 10       two X chromosomes. There are a small number of         10   I'm sorry, but go on.
 11       people, for example, with complete androgen            11 Q I'm going to read the rest of the statement. And
 12       insensitivity that could be XY but phenotypically,     12   again, I'm just looking for you to tell me if you
 13       you know, appear female. And so -- and there are       13   agree with it.
 14       people who identify as female later in life. But       14        In quote, "In mammals numerous sexual traits,
 15       typically it's referring to someone with two X         15   (gonads, genitalia, et cetera) that typically
 16       chromosomes.                                           16   differ in males and females are tightly linked to
 17   Q   You used the term "phenotypically." Did I hear         17   each other."
 18       that right?                                            18        Do you agree with that statement?
 19   A   Phenotypically as opposed to geno- -- you know, the    19        MR. STRANGIO: Object to form.
 20       external appearance related to the chromosomes.        20 A You know, I'm certainly not going to disagree with
 21   Q   Well, that's -- yeah, that was what I was wondering    21   that statement, but at the same time, I'm not an
 22       is what the distinction was. But that sounds like      22   expert on equivalent phenomenon. And certainly
 23       a good way to describe it.                             23   when we're talking about gender identity, that is
 24            What about for other mammals, are there two       24   something that, you know, we can't, you know, glean
 25       distinct genotypes?                                    25   from animals. So there are some differences, but,
                                                       Page 18                                                         Page 20
  1            MR. STRANGIO: Object to form.                      1       you know, I'm not going to -- I'm not going to
  2   A   So again, it's my understanding, certainly, that        2       disagree, but also limit my expertise to humans.
  3       there are, you know, similar genotypes in other         3   Q   So let's -- you said that gender identity is not --
  4       mammals.                                                4       information or learning, perhaps, about gender
  5   Q   So I just want to -- I came across a statement by       5       identity is not something we can glean from
  6       some authors at the Endocrine Society. Are you          6       animals. I don't mean to misquote you. Is that
  7       familiar with the Endocrine Society?                    7       functionally what you're saying?
  8   A   Yes.                                                    8            MR. STRANGIO: Object to form.
  9   Q   And this is a statement that I'll represent to you      9   A   Yes.
 10       made by authors Bhargava, Arnold, Bangasser, and       10   Q   Okay. Why not?
 11       others. And I'll read it to you. My only question      11   A   Well, I like to think that I can talk to my dog,
 12       is whether you agree with it or not.                   12       but, you know, our communication is limited. And
 13            They say, "All mammals have two distinct          13       so, you know, there's a component of communication
 14       sexes."                                                14       I think that is necessary.
 15            So let's start there. Do you agree with that      15   Q   Well, is that the only reason, the lack of ability
 16       statement?                                             16       to communicate with the animals?
 17            MR. STRANGIO: Object to form.                     17            MR. STRANGIO: Object to form.
 18   A   I'm not really an expert on animals, so I think I      18   A   You know, again, I'm not an expert on gender -- sex
 19       might confine my commentary to people about, you       19       and gender in animals, and so I don't -- I'm not
 20       know, for example, intersex phenomenon in animals      20       sure I can answer that.
 21       or other phenomenon.                                   21   Q   Why is the communication aspect so important?
 22   Q   So maybe you just misheard me. I just want to make     22            MR. STRANGIO: Object to form.
 23       sure you didn't mishear me. All mammals have two       23   A   Well, I do think that that is a way that we -- that
 24       distinct sexes. Are you comfortable answering that     24       humans learn about each other.
 25       question?                                              25   Q   Can someone detect a newborn baby's phenotype and
Case 1:23-cv-00595-JPH-KMB                 Document 48-9              Filed 06/01/23         Page 8 of 73 PageID
                                                #: 1607
                                                                                                                Pages 21..24
                                                       Page 21                                                         Page 23
  1       likely genotype without talking to the baby?            1   A So in this newborn baby we can predict that most of
  2   A   So usually sometimes, for example -- again, using       2     the time their gender matches their sex assigned at
  3       the example of complete androgen insensitivity,         3     birth, but we also know that's not always the case.
  4       it's not talking to the baby, but one might have        4   Q I'm not asking about gender. I'm only talking
  5       difficulty, you know, at birth, you know, until or      5     about genotype and phenotype. You can know the
  6       unless, you know, further tests are run.                6     newborn baby's phenotype and very likely its
  7   Q   What tests?                                             7     genotype without talking to the baby; correct?
  8   A   Well, for complete androgen insensitivity, the          8          MR. STRANGIO: Object to form.
  9       person has XY chromosomes but appears female, and       9   A So you -- there are certainly aspects of phenotype
 10       very often people don't know, you know, that they      10     in terms of appearance of genitalia and, you know,
 11       have XY chromosomes until they get -- you know,        11     genotypes in terms of likelihood of XX or XY
 12       fertility testing or pediatric examination, you        12     chromosomes.
 13       know, after puberty.                                   13   Q But to learn about gender identity, we have to have
 14   Q   But to understand, then, if I'm following you,         14     a conversation with the person?
 15       somebody with a female phenotype might actually        15          MR. STRANGIO: Object to form.
 16       have a male genotype, and the way to discover that     16   A Well, there are parents who have children where
 17       is to test the chromosomes, see what they say?         17     they believe that they had some knowledge of the
 18            MR. STRANGIO: Object to form.                     18     child had a different gender identity from very
 19   A   Yes. I mean, that would, you know, indicate that,      19     early on, but you would need to be able to
 20       you know, in this case the person has XY               20     communicate with the person, you know, eventually
 21       chromosomes, and then presumably they do further       21     to be able to confirm, you know, if there is some
 22       testing to show that there's this insensitivity of     22     difference from their peers in terms of gender
 23       their cells to, say, androgens.                        23     identity.
 24   Q   And are those tests -- do those tests require, you     24   Q So parents who presumably know their children best
 25       know, in and of themselves communication with the      25     among anybody are unable without hearing it from
                                                       Page 22                                                         Page 24
  1       patient? And by that, I mean other than                 1       the child to determine the child's gender identity?
  2       communication to set up the test. I mean the            2            MR. STRANGIO: Object to form.
  3       conduct of the test, the understanding of the test,     3   A   Well, there are some parents who say that based on
  4       is that done with communication with the patient or     4       a child's behavior that they suspected a
  5       some other way?                                         5       cross-gender gender identity before their child was
  6            MR. STRANGIO: Object to form.                      6       able to be able to communicate that verbally. For
  7   A   Well, there's lab tests, but the patient still          7       example, strong insistence on behaviors associated
  8       comes in and gives a history that might lead the        8       with the other gender.
  9       doctor to, you know, suspect that there might be,       9   Q   But does that tell us with a high degree of
 10       in this case, complete androgen insensitivity to --    10       certainty what the child's gender identity is if
 11       you know, to run those tests.                          11       there has been no conversation with the child about
 12   Q   But the tests themselves are not -- the                12       that?
 13       communication with the patient is not part of the      13   A   Well, when you say "us," you mean a healthcare
 14       tests themselves?                                      14       professional?
 15   A   Well, we learn in medical school that the history      15   Q   Just in general. Yeah, that's fine. Can the
 16       you take from a patient is extremely important.        16       parents know with certainty based on what they
 17       Often it's the most important thing. And so in         17       observe without hearing it from the child what the
 18       this case, the doctor would suspect by history and,    18       gender identity is?
 19       therefore, order the testing.                          19            MR. STRANGIO: Object to form.
 20   Q   Yeah, okay. But aside from that circumstance,          20   A   Right. There -- they would need to also hear it
 21       aside from that type of case that you've described,    21       from the child, but, you know, it's not unusual to
 22       we can otherwise know without talking to a newborn     22       hear a story of, you know, the parents believing
 23       baby, for example, what its phenotype is and very      23       that they knew before the child in those
 24       likely what its genotype is?                           24       circumstances where the cross-sex behavior,
 25            MR. STRANGIO: Object to form.                     25       cross-gender behavior started very early.
Case 1:23-cv-00595-JPH-KMB                 Document 48-9              Filed 06/01/23         Page 9 of 73 PageID
                                                #: 1608
                                                                                                                Pages 25..28
                                                       Page 25                                                         Page 27
  1   Q Well, what about as a clinician, can you know             1       someone has the phenotype and genotype of a male,
  2     without the child telling you what the child's            2       but as a matter of gender identity says, I'm a
  3     gender identity is?                                       3       female, what sex is that person?
  4   A So no, as a clinician, I would need to be able to         4            MR. STRANGIO: Object to form.
  5     communicate with the child.                               5   A   Well, again, as said there, people use sex and
  6   Q So what is gender identity?                               6       gender in different ways and, you know, very often
  7   A So gender identity is a -- it's often defined as a        7       people refer to sex as the sex assigned at birth.
  8     deeply felt sense of being male, female, or another       8       But that, you know, is not the totality of the
  9     gender.                                                   9       term.
 10   Q What's the difference between sex and gender             10   Q   I guess I'm wondering if gender identity has to do
 11     identity?                                                11       with an internal sense and if other factors of sex
 12   A So sex, again, can have different meanings, as we        12       have to do with objective facts like genotype and
 13     talked about, and gender, if we're referring to          13       phenotype observable phenomena, why doesn't it make
 14     gender identity, refers to that deeply felt sense        14       sense to just maintain that there's sex and -- on
 15     of being male or female or another gender.               15       the one hand, and then gender identity on the other
 16   Q So let's go to paragraph 27 on page 6 of your            16       hand?
 17     declaration.                                             17            MR. STRANGIO: Object to form.
 18          MR. FISHER: So Shawn, that should be the same       18   A   Again, you know, I'm -- I certainly use the term
 19     document, just scroll way up to page 6 of the --         19       "sex" in terms of sex assigned at birth because I
 20   A I'm sorry, what page did you say?                        20       think that is, you know, an easily understandable
 21   Q It's page 6, paragraph 27.                               21       term.
 22   A Okay.                                                    22   Q   What is the use of sex in your -- I think the way
 23   Q Here I think you're talking in your declaration          23       you would put it, sex assigned at birth, of what
 24     about -- about sex and about gender identity. And        24       scientific use is that determination?
 25     it looks like the third sentence, it says, "Aside        25            MR. STRANGIO: Object to form.
                                                       Page 26                                                         Page 28
  1       from external genital characteristics, chromosomes,     1   A Well, it certainly has implications in many ways in
  2       and endogenous hormones, other factors related to       2     terms of, you know, appearance of external
  3       sex include gonads, gender identity, and variations     3     genitalia, for one. In terms of, you know, that
  4       in brain structure and function."                       4     it's only a minority of people that have a gender
  5            Do you see that sentence?                          5     identity that's different from their sex assigned
  6   A   Yes.                                                    6     at birth. So, you know, it does -- it can be
  7   Q   What -- I'm trying to understand how those -- all       7     useful, you know, in my practice as a descriptor.
  8       of those, what do you call them, factors, relate        8   Q How do you determine one's -- and then here I'm
  9       together and whether one of them or which of them       9     going to -- let's look at paragraph 28 because I
 10       dominate an analysis of somebody's -- of               10     was about to quote from it.
 11       understanding what somebody's sex is.                  11          MR. FISHER: So right below there, Shawn.
 12            MR. STRANGIO: Object to form.                     12   Q And it's the first sentence. And you're quoting --
 13   A   So again, it -- I refer back, for example, from the    13     it looks like you're quoting something from the
 14       Endocrine Society, Hembree's statement of that --      14     American Psychological Association. But it says,
 15       suggesting that biologic sex is -- was not their       15     "Gender identity is a person's deep felt, inherent
 16       kind of preferred term because there are different     16     sense of being a girl, woman, or female; a man, or
 17       factors that relate to someone's sex. And so these     17     male; a blend of male or female; [or another]
 18       are some different factors that relate to someone's    18     gender." And the "or another" is in brackets, but
 19       sex.                                                   19     that's -- those are your brackets, I guess.
 20            MR. FISHER: Shawn, can we make that a little      20          So I guess my first question is, how do you
 21       bit bigger on the screen, please. Thank you. My        21     determine one's internal sense as you were -- deep
 22       eyes are getting really bad.                           22     felt, I guess, in that sentence, inherent -- yeah,
 23   Q   All right. So I guess I want to give you -- I'm        23     deep felt, inherent sense of -- how do you
 24       trying to understand again how these fit together.     24     determine what that is for a person?
 25       So let me ask this a slightly different way. If        25   A So are you asking how a clinician determines that?
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 10 of 73 PageID
                                                  #: 1609
                                                                                                                 Pages 29..32
                                                        Page 29                                                         Page 31
   1   Q That's right. That's right.                               1   peer, and I'm just trying to use your terminology
   2   A Okay. So in my role as a clinician, I am                  2   here, you know, does that gender identity exist?
   3     particularly concerned about whether there's gender       3   Does it have meaning apart from whatever distress
   4     dysphoria, where there's distress that needs to be        4   they might be feeling?
   5     treated, and certainly part of the history that I         5        MR. STRANGIO: Object to form.
   6     would take from a patient is about, you know, their       6 A Yes.
   7     expression of their gender identity.                      7 Q And then -- and so I'm just trying to understand.
   8   Q And so what are you looking for to determine what         8   I would think that -- and I don't mean to tell you,
   9     that person's deep felt, inherent sense of being a        9   you know, this is how it has to be done. I'm just
  10     girl, et cetera, is?                                     10   trying to -- I'm still trying to understand. I
  11          MR. STRANGIO: Object to form.                       11   would have thought that the first step in trying to
  12   A So I would certainly be communicating with the           12   get to the DSM diagnosis is, let's first understand
  13     patient that is -- you know, is something I do as a      13   this person's gender identity. Is that an
  14     psychiatrist. And taking a history from a patient,       14   inaccurate way to look at it?
  15     observing the patient. So those are all things           15        MR. STRANGIO: Object to form.
  16     that happen, you know, when I'm seeing any patient.      16 A So having an understanding of their gender identity
  17   Q So does a person say, Doctor, I have a deep felt,        17   certainly is important. There are -- as a
  18     inherent sense of being a -- if a person assigned        18   psychiatrist, there are people who have, you know,
  19     male at birth comes in and says, Doctor, I have a        19   varying gender identities who might not be coming
  20     deep felt, inherent sense of being a girl, is -- do      20   to me for gender dysphoria, might not be having
  21     you say, okay, then your gender identity is that         21   distress about that, but rather having panic
  22     you are a girl and that's it, or do you ask              22   attacks and are, you know -- kind of are looking
  23     follow-up questions?                                     23   for treatment that's focused on panic attacks, for
  24          MR. STRANGIO: Object to form.                       24   example.
  25   A I always ask follow-up questions. You know, I'm          25        So that's what I'm saying in terms of if
                                                        Page 30                                                         Page 32
   1       respectful of what a patient says, but I also, you      1       somebody is coming in -- presenting to me, I'm
   2       know, engage in conversation with the patient.          2       trying to assess what are the clinical issues that
   3   Q   What follow-up questions do you ask?                    3       I might help them with.
   4   A   Well, my focus would be about kind of a                 4   Q   Do any observable conditions exist to confirm
   5       developmental history in terms of their awareness       5       someone's gender identity?
   6       of having a gender identity different from their        6            MR. STRANGIO: Object to form.
   7       peers as well as if they have distress because          7   A   So sometimes one gets some sense from observation,
   8       really kind of a focus for treatment is having a        8       but certainly the most important thing about one's
   9       DSM-5 diagnosis of gender dysphoria.                    9       gender identity is what -- is what someone
  10   Q   Well, aside from distress, you know, I understand      10       communicates to me or to another person.
  11       that that's important for gender dysphoria. I'm        11   Q   What is the error rate for assessing someone's
  12       just trying to, first of all, cover gender             12       gender identity?
  13       identity, and I'm wondering at what point you are      13            MR. STRANGIO: Object to form.
  14       satisfied that this person has accurately asserted     14   A   So can you explain the question?
  15       their gender identity.                                 15   Q   Well, when we were talking about newborns and you
  16            MR. STRANGIO: Object to form.                     16       were explaining that sometimes the observed
  17   A   So, you know, people come to me and can tell me how    17       phenotype doesn't actually match the genotype, and
  18       they identify. But again, that's not what I'm          18       I think you allowed it's very rare -- I don't mean
  19       treating. So if you're talking about as a              19       to put words in your mouth, but very rare that they
  20       psychiatrist, I'm looking for, you know, disorders     20       wouldn't match, but sometimes they do -- and so
  21       to be treated, you know, as the APA says, the          21       someone might say, you know, the error rate for
  22       diagnosis is in the distress. That might -- that       22       assessing genotype upon mere observation of
  23       could be related to gender identity.                   23       phenotype is, you know, X percent, whatever that
  24   Q   But does gender identity exist if it's -- for          24       is.
  25       somebody who identifies differently than their         25            And I'm wondering, similarly, when you're
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 11 of 73 PageID
                                                  #: 1610
                                                                                                                 Pages 33..36
                                                        Page 33                                                         Page 35
   1   talking about gender identity, what is the error            1   that needs further study.
   2   rate -- if someone tells you what their gender              2        MR. STRANGIO: Object to form.
   3   identity is, what is the error rate of that                 3 A No, because again, the symptoms are so distinct.
   4   assessment?                                                 4   So as a psychiatrist, people very often come to me,
   5        MR. STRANGIO: Object to form.                          5   not just because they have gender dysphoria, but
   6 A So because someone's gender identity itself isn't a         6   because they have the whole range of psychiatric
   7   diagnosis, I don't think that -- that that's                7   illnesses, and the symptoms of gender dysphoria are
   8   something that is studied. There has been some              8   distinct from those. It's not like people
   9   study about making a gender dysphoria diagnosis,            9   confusing dysthymia with major depressive disorder.
  10   for example. And just a little bit of research on          10   There's not, you know, kind of a subtlety to the
  11   that. And when we're talking about making a gender         11   difference between the gender dysphoria diagnosis
  12   dysphoria diagnosis, the symptoms are so distinct          12   and another DSM-5 diagnosis.
  13   from other diagnoses that it would be very unusual         13 Q Well, even so, would it be possible to study the
  14   to mix that up with something else.                        14   error rate of gender dysphoria diagnosis?
  15 Q Well, is there an established error rate for               15        MR. STRANGIO: Object to form.
  16   diagnosing gender dysphoria?                               16 A So, you know, as I said, the Dutch tried to look at
  17        MR. STRANGIO: Object to form.                         17   whether -- in kind of a validation study of the
  18 A So as I said, there's only a little bit of                 18   gender incongruence diagnosis, whether, you know,
  19   research. There was a little study when the Dutch          19   people -- different clinicians would, you know,
  20   group, a big gender dysphoria research group was --        20   make the diagnosis of whether that was kind of
  21   did a little study to see whether people were as           21   consistent and whether that was similar to older
  22   likely to make a correct diagnosis of the new              22   diagnoses.
  23   ICD 11 gender incongruence diagnosis versus gender         23        I'm not sure if there's utility except for in
  24   dysphoria versus transsexualism and ICD 10, and            24   kind of specific circumstances. I assume when the
  25   they found that -- they did videotaped interviews          25   APA changed its diagnoses, that they did kind of
                                                        Page 34                                                         Page 36
   1       and things like that that people -- there was a,        1       some similar kind of, you know, studies to -- on
   2       you know, very high likelihood that people watching     2       kind of the utility where people, different
   3       those would make the correct diagnosis.                 3       clinicians, you know, making the same diagnosis and
   4            But it's not -- outside of that, I'm not aware     4       the same -- with given the same clinical
   5       of other research in terms of inaccuracy in the         5       presentation.
   6       diagnosis.                                              6   Q   Are you suggesting that it's impossible to
   7   Q   In that research that you're discussing, how was --     7       misdiagnose someone with gender dysphoria?
   8       I guess I'm wondering how the diagnosis was             8            MR. STRANGIO: Object to form.
   9       measured to be accurate or inaccurate. What was         9   A   I'm not saying it's impossible, but -- but in my
  10       the standard?                                          10       experience, the symptoms are pretty distinct and,
  11   A   Well, they were looking at really kind of whether      11       you know, certainly Standards of Care 8, for
  12       it was consistent so that if -- at least that's my     12       example, says one should, you know, rule out other
  13       understanding of that, that they were -- they had      13       diagnoses. And I think whenever we make a
  14       the -- using the different criteria for making a       14       diagnosis we have, you know, the realm of diagnoses
  15       diagnosis if there was kind of consistency in --       15       in our head. But in my experience, making this
  16       and again, and this was in adults, I believe, when     16       diagnosis -- the symptoms of this diagnosis are
  17       they did this for the gender incongruence diagnosis    17       more distinct from others, and so -- I think I
  18       versus these older diagnostic schemes.                 18       answered the question.
  19   Q   So --                                                  19   Q   Any other psychiatric conditions that you deal with
  20   A   There's not a lot of -- it's not something that --     20       in your clinical work for which there's no error
  21       that's just the one thing I could think of where       21       rate?
  22       anyone has tried to, you know, do some kind of         22            MR. STRANGIO: Object to form.
  23       assessment of diagnostic criteria and are they         23   A   So just error rate is not a measure that we
  24       useful.                                                24       typically use in -- so I'm not sure how to answer
  25   Q   Well, I'm wondering if you think this is an area       25       the question.
Case 1:23-cv-00595-JPH-KMB                Document 48-9              Filed 06/01/23        Page 12 of 73 PageID
                                                #: 1611
                                                                                                               Pages 37..40
                                                      Page 37                                                         Page 39
   1   Q Well, when you go to diagnose somebody with a           1       have a diagnosis. But to make the actual
   2     psychiatric illness or you're considering whether       2       diagnosis, we still need to do the clinical
   3     somebody has a given psychiatric illness, do you        3       interview and the mental status examination.
   4     ever run a battery of tests to help you make that       4   Q   Is there -- and there's no concern that upon doing
   5     assessment?                                             5       the clinical interview and that examination that
   6          MR. STRANGIO: Object to form.                      6       you might have an inaccurate diagnosis?
   7   A So usually it is we do a clinical interview and a       7            MR. STRANGIO: Object to form.
   8     mental status examination the way we do for any DSM     8   A   Again, I feel like I have a good sense when I make
   9     diagnosis.                                              9       that diagnosis, you know, as I get to know a
  10   Q Are those just random questions or are those           10       patient that it is the correct diagnosis, and in my
  11     questions that have been proven to be useful?          11       clinical experience, you know, I can't think of an
  12   A So when I'm making -- when we make diagnoses, you      12       example where I made a diagnosis of gender
  13     know, as a psychiatrist, you know, I went to           13       dysphoria and then later thought, oh, that was a
  14     medical school and then did four years of              14       mistake.
  15     psychiatric residency training and -- you know, and    15   Q   Well, I'm talking about anything. I'm not just
  16     then had 30 years of -- more than 30 years of          16       talking about gender dysphoria. I just mean in
  17     practice after that. And so -- but certainly we're     17       general.
  18     trained to make diagnoses.                             18   A   In general, it -- certainly there are times where
  19   Q Okay. Are you trained to use tools that work in        19       it's possible. For example, someone can make a
  20     making those diagnoses?                                20       diagnosis of major depressive disorder, and the
  21          MR. STRANGIO: Object to form.                     21       patient, as it turns out, has had perhaps hypomanic
  22   A So I -- yes. We're trained on the clinical             22       episodes that they didn't express, they didn't
  23     interview and the mental status exam and knowledge     23       remember, and so the person might actually have
  24     of the DSM and our clinical experience to -- to        24       bipolar disorder type 2 depressed, but on initial
  25     make diagnoses and certainly very often our            25       interview, one might think that it's major
                                                      Page 38                                                         Page 40
   1   patients are seen by other clinicians as well, and        1       depressive disorder. You know, and later maybe
   2   that's certainly especially true when we're in            2       perhaps come to find out they have bipolar disorder
   3   training. And so there is a process to hone one's         3       type 2.
   4   making a diagnosis.                                       4   Q   Okay. In that circumstance, with that initial
   5        We then have -- we have licensure boards. I          5       interview, looking at major depressive disorder,
   6   had to do oral boards where we interviewed live           6       what is the error rate?
   7   patients in front of a panel of psychiatrists in          7            MR. STRANGIO: Object to form.
   8   order to -- and, you know, to give diagnosis or           8   A   Well, the thing about bipolar disorder is people do
   9   differential diagnosis. And that was all necessary        9       have major depressive episodes as part of the
  10   to become a board certified psychiatrist.                10       disorder. So you're actually accurate in
  11        MR. STRANGIO: Just checking to see -- we've         11       diagnosing that they're having major depressive
  12   been going about an hour. I just want to see if          12       episodes. What you might miss in the history is
  13   you have a good breaking point coming up.                13       that at some point in the past, even the distant
  14        MR. FISHER: I do. Just let me get through a         14       past, they've had a hypomanic episode or more than
  15   couple more, okay?                                       15       one, but simply don't remember it. And so, you
  16        MR. STRANGIO: Sounds good.                          16       know, they might not tell us even when we ask about
  17 Q So, Doctor, I'm just wondering, do psychiatrists         17       that. But then at some later point, they get those
  18   never worry about whether some diagnostic tool that      18       symptoms again, and then they might even connect to
  19   they're using might yield a false positive in some       19       having had those symptoms in the past.
  20   circumstance?                                            20   Q   Okay. So I'll put it another way then. That in
  21        MR. STRANGIO: Object to form.                       21       that interview, for purposes of detecting those
  22 A Well, there -- you know, I can think of -- when          22       hypomanic episodes or bipolar disorder, what is the
  23   we're thinking in terms of tools of either, for          23       error rate?
  24   example, a screening test, a screening test would        24            MR. STRANGIO: Object to form.
  25   show that it's -- that somebody might be likely to       25   A   So I can't say I know. I think that it's certainly
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23       Page 13 of 73 PageID
                                                  #: 1612
                                                                                                               Pages 41..44
                                                        Page 41                                                       Page 43
   1      been -- there certainly have been studies that some      1   A And so that's the wording, was just by quoting a
   2      people don't get diagnosed with bipolar disorder         2     source.
   3      type 2 until they've been treated for major              3   Q Do you think that nonbinary is separate from a
   4      depression. What share of people that is, I do not       4     blend of male or female, or do you think that
   5      know.                                                    5     that's really kind of the same thing?
   6   Q Do you think it's important to know that that             6          MR. STRANGIO: Object to form.
   7      phenomenon exists where they aren't diagnosed right      7   A So, you know, language is always changing, not just
   8      away and sometimes it comes up later?                    8     for -- as it relates to gender. And I think that
   9   A So for bipolar disorder, yes. And when I'm seeing         9     it's certainly very common to refer to the people
  10      a patient, you know, I would counsel them that          10     who don't have an identity as strictly male or
  11      if -- you know, if they have any symptoms of mood       11     female as nonbinary.
  12      elevation to let me know because sometimes people       12   Q Well, I'm trying to -- I guess I'm still trying to
  13      do have undiagnosed bipolar disorder type 2.            13     understand. What is it about those people that
  14           MR. FISHER: All right. Let's go ahead and          14     makes them nonbinary? Do they reject the idea of
  15      take our break now.                                     15     male and female in total?
  16           MR. STRANGIO: All right.                           16          MR. STRANGIO: Object to form.
  17           MR. FISHER: Five minutes, please. Thanks.          17   A So they may not -- they may feel that their gender
  18           MR. STRANGIO: Yeah, five minutes is great.         18     identity is different from their sex assigned at
  19           (Recess taken.)                                    19     birth but that the other binary gender doesn't
  20           MR. FISHER: Shawn, let's pull the declaration      20     fully feel like a fit as well, and they could have
  21      back up on the screen. This is Exhibit 4. Still         21     gender dysphoria but not necessarily a desire to
  22      at paragraph 28.                                        22     transition to the -- you know, the other gender in
  23   BY MR. FISHER:                                             23     a binary way.
  24   Q Doctor, in this paragraph you say -- and this is         24   Q I see. So is there -- how do such people present
  25      still the first sentence, you talk about gender         25     themselves?
                                                        Page 42                                                       Page 44
   1       identity being deep felt, inherent sense of being a     1        MR. STRANGIO: Object to form.
   2       girl, woman, female, man, male, blend of male or        2 A So for -- if you're saying presenting to a
   3       female, or another gender.                              3   psychiatrist, people present to me seeking
   4            And I'm wondering what other genders besides       4   treatment, and that could relate to gender
   5       male, female, or a mix of male/female that you have     5   dysphoria. It could relate to depression or
   6       observed or that you know about.                        6   anxiety or other psychiatric illnesses, but they
   7            MR. STRANGIO: Object to form.                      7   might tell me that their gender identity is
   8   A   So many people identify as nonbinary, and they may      8   nonbinary and they might have some explanation of
   9       have other names that they give to that nonbinary       9   the process that they went through to kind of
  10       identity. But I would say that one could -- can        10   realize that that was the best fit for them.
  11       clarify many of the people who don't identify as       11 Q And earlier you mentioned, I think, that such
  12       male or female as nonbinary.                           12   people -- I don't mean to kind of overstate the
  13   Q   What does that mean, nonbinary?                        13   categorization -- but sometimes will not want to go
  14   A   So it's making reference to the binary of male and     14   through a gender transition even though they don't
  15       female. And so indicating that there are some          15   have an identity that aligns with their assigned
  16       people who don't identify as male or female in a       16   sex at birth. Is that a fair statement of what you
  17       binary sense. They might have an identity that has     17   said?
  18       aspects of each, for example. But -- and there are     18        MR. STRANGIO: Object to form.
  19       people who -- who have that identity of nonbinary.     19 A So sometimes they don't want to transition in a
  20   Q   But I take it from the way you've drafted this         20   binary way, so sometimes they don't -- they're not
  21       sentence that you think that that is different from    21   seeking medication or surgery. There are some
  22       somebody who has a blend of male and female?           22   times where people have sought to address the fact
  23   A   Well, the sentence I was quoting on the American       23   that they're having some dysphoria about their body
  24       Psychological Association's definition from 2015.      24   without kind of a fully binary transition in terms
  25   Q   Yes.                                                   25   of hormones or surgery.
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 14 of 73 PageID
                                                  #: 1613
                                                                                                                 Pages 45..48
                                                        Page 45                                                         Page 47
   1   Q Okay. But somebody who's binary, I take it, but           1            MR. STRANGIO: Object to form.
   2     has a gender identity different from the sex              2   A   So, you know, I do -- I know that there have been,
   3     assigned at birth, is more likely to want to go           3       you know, a few people who've been, you know,
   4     through those hormonal transitions?                       4       interested in the small literature around uterine
   5          MR. STRANGIO: Object to form.                        5       transplant which has been done on some cisgender
   6   A Overall that's true, right. There are some                6       women who want not just to have a baby using a
   7     nonbinary people who are seeking medical or               7       surrogate womb, but to want to have that experience
   8     surgical care to transition, but it is more common        8       themselves in their own -- having a baby from their
   9     in people with a binary transgender identity.             9       own womb. So, you know, that is an experience that
  10   Q So a person who, I don't know -- I'm wondering           10       some -- I think some cisgender women and some
  11     about what a -- and maybe -- I'm sure it's not the       11       transgender women have. It's not something that is
  12     same for all of them, but a person who wants to          12       that commonly expressed to me by my patients that,
  13     transition, so let's say a natal male who wants to       13       you know, a desire for childbirth.
  14     transition to female, typically what is that person      14   Q   Well, what do you tell patients when that is a
  15     distressed about and looking to achieve, I guess,        15       desire that's expressed?
  16     to relieve that distress?                                16            MR. STRANGIO: Object to form.
  17          MR. STRANGIO: Object to form.                       17   A   So I think patients know that that isn't something
  18   A So someone may have distress about aspects of the        18       that is readily available even -- even though they
  19     social role of being male or being perceived as          19       may have, you know, read about, you know, some
  20     male by other people. They may have distress about       20       research, mostly in other countries where there
  21     aspects of their body that they perceive as              21       have been some -- you know, some babies born after
  22     appearing masculine or that other people might           22       uterine transplant. But it's not a common kind of
  23     perceive as being masculine. But the degree of           23       topic of discussion.
  24     dysphoria about their body can vary from individual      24   Q   So, but it's part -- for those people that
  25     to individual and what they -- and, you know, what       25       presented or that mention it, it's part of their
                                                        Page 46                                                         Page 48
   1       they're interested in in terms of medical or            1       gender dysphoria; right?
   2       surgical care.                                          2            MR. STRANGIO: Object to form.
   3   Q   Are they distressed about their -- the reproductive     3   A   So again, I mean, I'm trying to think of have I had
   4       role of their birth-assigned sex?                       4       a conversation where someone has come to me and is
   5            MR. STRANGIO: Object to form.                      5       seeking that? And the answer is no, but have
   6   Q   And let me be more concrete. Is that -- are they        6       people thought about it? I'm sure people have
   7       distressed, for example, like in this natal male        7       when, you know, there have been these news reports
   8       that I'm hypothesizing, does it ever occur that a       8       about uterine transplant. So, you know, it's a
   9       natal male is distressed about not being able to        9       phenomenon out there. It's not something that I
  10       have a baby?                                           10       recall being expressed to me by my patients.
  11            MR. STRANGIO: Object to form.                     11   Q   Okay. So you've not heard of somebody -- a trans
  12   A   So can you explain the question a little bit more      12       woman expressing as part of gender dysphoria the
  13       for me?                                                13       desire to have a baby?
  14   Q   Well, you've talked about how the person might be      14            MR. STRANGIO: Object to form.
  15       distressed about appearance to others and might be     15   A   So I'm trying to recall if I've had that
  16       distressed about having body parts, genitalia,         16       conversation with a patient. And off the top of my
  17       et cetera, that appear masculine, and so we've         17       head, I can't recall having that conversation with
  18       talked about that aspect of it. And I'm wondering      18       a patient.
  19       if it goes any further. You know, perhaps a natal      19   Q   So what else about when a trans woman says, I feel
  20       male wants to appear to be what we typically           20       like, you know, I have this internal sense that I'm
  21       associate with females in terms of body shape or       21       female, what else do they mean by that besides
  22       body appearance, but I'm wondering if it goes          22       you've mentioned things about, for example,
  23       deeper. Does it go as far as saying, boy, I feel       23       discomfort with body parts or body shape, and I'm
  24       like I'm a female because I want to be able to have    24       wondering if there's anything else.
  25       a baby?                                                25            MR. STRANGIO: Object to form.
Case 1:23-cv-00595-JPH-KMB                  Document 48-9            Filed 06/01/23       Page 15 of 73 PageID
                                                  #: 1614
                                                                                                              Pages 49..52
                                                        Page 49                                                     Page 51
   1   A So in addition to discomfort about body parts or          1   other way around as well, where people still have
   2     body shape, there can be discomfort about how             2   the sense that their gender is different from their
   3     they're perceived by others.                              3   peers, but might take some time to kind of fully
   4   Q Can you explain that further? What do you mean,           4   kind of figure out what that is.
   5     that discomfort -- what do you mean by that sort of       5 Q Is there a difference between one's gender identity
   6     discomfort?                                               6   and one's understanding of one's gender identity?
   7   A So it can be discomfort if -- let's say if the            7        MR. STRANGIO: Object to form.
   8     person is a trans woman, if someone identifies them       8 A Well, I would say in a historical sense that
   9     as a gender other than female, that can be                9   sometimes when -- when I've seen patients over time
  10     uncomfortable, both from a safety perspective, but       10   that they've had some fluctuation in the words that
  11     also because they -- you know, the person has a          11   they use to describe their gender identity, but
  12     desire to be recognized by others as female.             12   their gender identity throughout the process has
  13   Q Do you explore with them the source of that desire       13   remained different from cisgender peers. So that's
  14     and what that desire means to them?                      14   why sometimes one could -- can say one's kind of
  15          MR. STRANGIO: Object to form.                       15   understanding, you know, might change as they're
  16   A Can you rephrase the question?                           16   maybe kind of recognizing what's the best fit for
  17   Q Well, I'm wondering, when someone says, I have a         17   them.
  18     desire for people to recognize me as a gender            18 Q So I want to try to understand this a little
  19     that's not aligned with my sex assigned at birth,        19   better. Again, we'll go back to our natal male who
  20     do you try to figure out what that means to them,        20   identifies as female and it's a binary
  21     why they have that desire and what the source of         21   understanding, it's just the sex other than the one
  22     that is or what -- you know, what it is they're          22   assigned at birth. But later that person says,
  23     looking for with that -- to have that desire             23   well, now I see things more nonbinary, okay. So
  24     fulfilled?                                               24   I'm wondering, when that person identified as
  25   A Well, I think if somebody has a particular gender        25   female, was that just a misunderstanding or was
                                                        Page 50                                                     Page 52
   1       identity, and this is true whether someone's            1   that person's gender identity female?
   2       cisgender or transgender, that you want other           2        MR. STRANGIO: Object to form.
   3       people to, you know, treat you in a way consistent      3 A Well, you know, I view my job as making a diagnosis
   4       with your identity. So I don't look at that as,         4   when somebody has a DSM diagnosis of gender
   5       you know, something that is hard to understand.         5   dysphoria and not kind of labeling whether in, you
   6   Q   I can imagine this comes up with pronouns, but I'm      6   know, someone's kind of process of development
   7       wondering if it comes up in other contexts too.         7   whether -- you know, what they've -- how they've,
   8       How might they be treated in a way that's not           8   you know, described their gender identity, you
   9       consistent with their gender identity?                  9   know, whether that is what it was or not. So if
  10            MR. STRANGIO: Object to form.                     10   somebody -- if somebody tells me that they
  11   A   So someone might be transitioning and go to a          11   identified in a binary way and then later in a
  12       restaurant and not be identified by the staff at       12   nonbinary way, it could just come to their
  13       the restaurant as a gender which they identify, and    13   perception of the identity that seems most
  14       that could be uncomfortable. There's certainly         14   comfortable to them, and that might take a little
  15       people who've, you know, faced violence or             15   bit of time to kind of establish that.
  16       discrimination because they were recognized by         16 Q Okay. In paragraph 28, it says -- I think you say
  17       others as transgender or not the gender in which       17   here -- you say that "Gender identity is not
  18       they identify. So it certainly is something that       18   subject to voluntary change."
  19       can -- has the potential for causing distress.         19        And so I'm wondering what you mean by that.
  20   Q   Okay. Can one's gender identity change over time?      20 A So if there is this -- this kind of underlying
  21   A   So one's kind of understanding of one's gender         21   longstanding sense of identity, and some of my
  22       identity sometimes can evolve, and in particular       22   patients have not wanted to identify that way and
  23       there are some people who identify as transgender      23   others have had parents who haven't wanted them to
  24       in a more binary way, and later they identify in a     24   identify that way. So there have been people who
  25       more nonbinary way, and that can happen kind of the    25   have undergone conversion therapy and really had a
Case 1:23-cv-00595-JPH-KMB              Document 48-9              Filed 06/01/23        Page 16 of 73 PageID
                                              #: 1615
                                                                                                             Pages 53..56
                                                    Page 53                                                         Page 55
   1   desire not to be transgender, and yet they weren't      1       trying to lead a -- you know, what they perceive as
   2   able to, even working with a therapist, you know,       2       a cisgender male life and hope that the, you know,
   3   change their being transgender or change that they      3       identity will follow, and it hasn't worked.
   4   had gender dysphoria.                                   4   Q   And I understand all that. I just need an answer
   5 Q Well, you say -- you use the term "voluntary," and      5       to the -- to whether you agree with the proposition
   6   I'm inferring that it is subject to involuntary         6       that gender identity is subject to involuntary
   7   change. Is it subject to involuntary change,            7       change.
   8   gender identity?                                        8   A   I mean, it's not subject to involuntary change. Do
   9 A No. I would say it's not something where someone        9       you mean is subject to -- I'm not quite sure what
  10   can simply decide I'm not transgender, I'm not         10       you're -- I'm sorry. I'm not quite sure what
  11   going to be transgender, and have the kind of          11       you're asking.
  12   underlying aspects of theirself that led them then     12   Q   If we change the word -- okay, I'll just read this.
  13   to that point to just go away. There are -- I'm        13       And I just -- all I'm going to do is change the
  14   just -- I'm thinking in my clinical experience of      14       word voluntary -- in your declaration, change
  15   patients who've kind of tried to will themselves       15       voluntary to involuntary. Gender identity is not
  16   not to be transgender and, for example, natal males    16       subject to involuntary change; agree or disagree?
  17   who've gotten married, joined the Marines, you         17            MR. STRANGIO: Object to form.
  18   know, have done all of these things to -- you know,    18   A   So that's kind of a different meaning than what I
  19   the most masculine things, sky-diving, and then,       19       was saying, because when I'm saying my -- when I
  20   you know, came to the conclusion that none of those    20       was writing that, I was thinking about the
  21   things made them not transgender, even though they     21       scenarios I discussed with you. I think that
  22   desperately wanted to not be transgender.              22       people certainly can identify as transgender
  23 Q Yeah, I understand that. I'm just wondering do you     23       without -- in a way that's not voluntary in a sense
  24   agree with the following statement: "Gender            24       in that it is just how they, you know, identify
  25   identity is subject to involuntary change"?            25       without it being a choice to identify as
                                                    Page 54                                                         Page 56
   1        MR. STRANGIO: Object to form.                      1       transgender. So, but I'm not sure if that is what
   2 A I'm not quite sure even what that means. Do you         2       you're asking.
   3   mean can somebody force you to be a different           3   Q   All I'm asking for is a yes or no answer. Gender
   4   gender identity?                                        4       identity is not subject to involuntary change;
   5 Q No, involuntary doesn't necessarily mean forced.        5       agree or disagree?
   6   I'm just -- really just curious about your modifier     6   A   So again, I don't know what that is referring to,
   7   "voluntary" here. You know, why say voluntary           7       so I don't think I -- you know, I gave the answer
   8   change. So I just want to clarify, do you think         8       that I think kind of explains what I meant.
   9   that gender identity is subject to involuntary          9   Q   Okay. You say, "Gender identity is not a product
  10   change?                                                10       of external influence." And again, this is still
  11 A So I think that, you know, you have a good point       11       paragraph 28.
  12   that I can look at that wording for my next            12            Does our understanding of what it means to be
  13   declaration and hope to be more clear. But really,     13       a girl or a boy or a man or a woman come from
  14   my sense is that what I'm referring to is really       14       external influences?
  15   that clinical experience of patients who have tried    15            MR. STRANGIO: Object to form.
  16   really hard to not be transgender and it hasn't        16   A   So there's an aspect of -- there is an aspect that
  17   worked.                                                17       reflects culture, but there also are some aspects
  18        And the gender dysphoria has come back, the       18       that seem kind of pretty consistent, you know, even
  19   sense of not being themselves has remained, and so     19       across cultures. So I suppose one could say it's
  20   it's not something where people have succeeded by      20       not merely a product of external influence, but
  21   simply deciding they're not going to be transgender    21       people do have ideas about being male and female
  22   and they are going to do as many things as they can    22       that -- you know, that reflect males and females in
  23   to try to reinforce not being transgender. You         23       society.
  24   know, as I said, things like joining the military,     24   Q   Are you aware of any data showing what percent of
  25   they're getting married and having kids, and really    25       children with gender dysphoria have had recent
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 17 of 73 PageID
                                                  #: 1616
                                                                                                                 Pages 57..60
                                                        Page 57                                                         Page 59
   1       trauma -- let's just start there, what percentage       1       prepubertal children differ in terms of when they
   2       have had a recent trauma, children with gender          2       might identify as a particular sexual orientation.
   3       dysphoria who have had a recent trauma?                 3   Q   Yeah, I'm just wondering if you're aware of any
   4            MR. STRANGIO: Object to form.                      4       data showing the percent of children with gender
   5   A   Is there a particular paper that you're referring       5       dysphoria who first had an identification as
   6       to?                                                     6       homosexual.
   7   Q   I'm just asking if you're aware.                        7            MR. STRANGIO: Object to form.
   8   A   And I would say no.                                     8   A   So you're talking about a study of prepubertal
   9   Q   Are you aware of data showing what percent of           9       children?
  10       children with gender dysphoria have a history of       10   Q   Sure, let's start with prepubertal.
  11       physical abuse?                                        11            Are you aware of any such data?
  12            MR. STRANGIO: Object to form.                     12   A   Can you explain to me what -- a little bit more of
  13   A   So there are surveys showing higher rates of           13       what you're referring to.
  14       transgender people having had a history of trauma      14   Q   I'm only asking about whether you're aware of data
  15       which could include physical abuse.                    15       of what percent of children with gender dysphoria
  16   Q   Are you aware of data showing what percent of          16       had a previous identification of homosexual
  17       children with gender dysphoria have autism spectrum    17       orientation.
  18       disorder?                                              18            MR. STRANGIO: Object to form.
  19            MR. STRANGIO: Object to form.                     19   A   So as I said, typically when people are being --
  20   A   So the numbers vary, but it is clear that more --      20       children are -- young people are being asked about
  21       that there are more people with autism spectrum        21       sexual orientation, it's after the onset of puberty
  22       disorder who are transgender and vice versa than       22       because very often young children don't have a
  23       one would expect, just from the general population.    23       verbal sense of sexual orientation that they can
  24   Q   Are you aware of any data showing the percent of       24       express, at least at that time. They may well have
  25       children with gender dysphoria that have homosexual    25       one, but -- so I'm not quite sure of that.
                                                        Page 58                                                         Page 60
   1       orientation?                                            1        Certainly there are, for example, trans men
   2            MR. STRANGIO: Object to form.                      2   who had some period in development where -- where
   3   A   So -- well, first of all, there can be confusion        3   they, you know, recognized their attraction to
   4       using the term "homosexual" because different           4   women and questioned if that, you know, made them
   5       people use sex assigned at birth versus the             5   lesbian and at some point recognized then actually
   6       person's gender identity to -- as kind of the           6   their identity was male and so they didn't have a
   7       anchor point of whether it's same sex attraction or     7   lesbian identity.
   8       not.                                                    8        But I think, you know, so there is a process
   9   Q   Well, I guess using either measure, are you aware       9   of development that relates to both gender identity
  10       of any such data?                                      10   and sexual orientation and one's -- just one's
  11            MR. STRANGIO: Object to form.                     11   development of an understanding of how those things
  12   A   Yes, there has been data on percentages of, for        12   apply to the individual.
  13       example, trans men who identify as being attracted     13 Q If we shift the age cohort to post pubertal, does
  14       to other men versus attracted to women versus          14   that narrow it down any more or cull to anything
  15       attracted to both.                                     15   more specific in terms of data showing the percent
  16   Q   Are you aware of any data of the percentage of         16   of children with -- and minors, really, the post
  17       children with gender dysphoria that had a              17   pubertal cohort, the percent diagnosed with gender
  18       homosexual orientation prior to the diagnosis of       18   dysphoria who previously identified with a
  19       transgender?                                           19   homosexual orientation?
  20            MR. STRANGIO: Object to --                        20        MR. STRANGIO: Object to form.
  21   Q   Or I'm sorry, the conclusion of that being             21 A So I can't tell you the numbers, but there are
  22       transgender.                                           22   certainly people in their kind of development of an
  23   A   So we don't always -- so when we're -- if we're        23   identity who might at one point -- their
  24       referring to children, that often is referring to      24   understanding of their identity might relate more
  25       prepubertal children, and very often they're --        25   to the sex of the people that they're attracted to
Case 1:23-cv-00595-JPH-KMB                  Document 48-9            Filed 06/01/23       Page 18 of 73 PageID
                                                  #: 1617
                                                                                                              Pages 61..64
                                                        Page 61                                                     Page 63
   1       and at a later point might come to an understanding     1   diagnosis while it was a diagnosis that could cause
   2       of transgender identity.                                2   insurance to not pay for treatment. So as a
   3   Q   Doctor, do you know when the first teen gender          3   psychiatrist, you know, I might -- people were
   4       clinic in the United States opened?                     4   typically also seeing me for major depression or
   5   A   So it may well be different from when you think         5   panic disorder or other psychiatric illnesses, and
   6       because some people refer to Norm Spack's clinic at     6   I would just list that. I would not list gender
   7       Boston Children's that brought the Dutch protocol       7   identity disorder diagnosis until it was clear that
   8       for puberty blockers into more common practice in       8   that was not going to mean that the billing for
   9       the U.S. in a multidisciplinary setting. But, in        9   everything would be rejected.
  10       fact, the Dimensions Clinic for trans youth where I    10 Q So was there a point where they -- the diagnosis
  11       worked starting in 2003, but which had existed in      11   became, I guess, a more useful guide in this
  12       some form since the 1990s, has been a clinic that      12   regard, where it was accepted by insurance
  13       provides care for adolescents and young adults age     13   companies?
  14       12 to 25 and has done so since the 1990s.              14        MR. STRANGIO: Object to form.
  15   Q   The first clinic you spoke of, did you say Norm        15 A So yeah. I mean, I remember around when I was
  16       Spack?                                                 16   working with the San Francisco Department of Public
  17   A   Yes. The Boston Children's GeMS clinic.                17   Health around 2012 and we tried looking at the
  18   Q   What year did that open?                               18   numbers within even Department of Public Health
  19   A   That would have been in the mid 2000s.                 19   clinics, and we kind of couldn't tell from the
  20   Q   In your Dimensions Clinic, you said you've been        20   electronic diagnoses that were made because even
  21       providing gender care for adolescents since the        21   when it was clear that it wasn't an automatic
  22       1990s?                                                 22   rejection, people were so conditioned to avoiding
  23   A   Yeah. I worked there since 2003, but the clinic        23   that diagnosis that it took some time.
  24       actually started in the late 1990s.                    24        But once, in 2013, California MediCal made it
  25   Q   Do you know specifically which year?                   25   clear that you couldn't discriminate against
                                                        Page 62                                                     Page 64
   1   A I don't recall. But it had been around since then.        1   insurance coverage by excluding the gender
   2   Q All right. Well, let's start with the year that           2   dysphoria diagnosis that had just become the
   3     you joined in 2003.                                       3   diagnosis, that I think was around -- where there
   4   A All right.                                                4   was -- you know, it started to be a sea change of
   5   Q And I'm wondering, in the first decade of your work       5   people actually receiving the diagnosis.
   6     at that clinic, 2003 to 2013, how many teens with         6 Q I see. So let's go with 2013 to 2018, do you have
   7     gender dysphoria -- and I don't mean just in your         7   a -- do you know how many teens nationally were
   8     clinic. Maybe I should be clearer about that.             8   diagnosed with gender dysphoria?
   9     Nationally, how many teens with gender dysphoria --       9 A So remembering that the exclusion was eliminated in
  10     were diagnosed with gender dysphoria 2003 to 2013?       10   California in 2013, but in other states it lasted
  11          MR. STRANGIO: I'll object to form.                  11   longer, so we're looking at nationally there still
  12   A So I would say if you're talking about the DSM           12   might have been an avoidance of that diagnosis.
  13     diagnosis, none, because the diagnosis didn't exist      13        And the other thing is that there had to be
  14     until 2013.                                              14   someone to make the diagnosis. There had to be
  15   Q Okay. Well, before that there was a different            15   someone to make the diagnosis, so you had to have
  16     diagnosis, not necessarily the same, but something       16   the clinics there nationally, and then they had to
  17     that approximates it. What was it, gender identity       17   be making the diagnosis for the purpose of
  18     disorder, is that the --                                 18   insurance reimbursement because the numbers that
  19   A Right, gender identity disorder, adolescents and         19   had been reported are -- we don't have the kind of
  20     adults.                                                  20   comprehensive database of -- with our healthcare
  21   Q So how many adolescents in that decade were              21   records, and so we're basing the numbers on claims
  22     diagnosed with gender identity disorder?                 22   for insurance reimbursement.
  23   A So we don't have good numbers on that because at         23        And so that that was relying on there being
  24     one time using that diagnosis could risk exclusion       24   people to make the diagnosis and then there being
  25     of reimbursement, and so we tended not to use that       25   insurance coverage to receive the diagnosis, and
Case 1:23-cv-00595-JPH-KMB                  Document 48-9            Filed 06/01/23       Page 19 of 73 PageID
                                                  #: 1618
                                                                                                              Pages 65..68
                                                        Page 65                                                     Page 67
   1       those were things that were -- you know, had been       1   presentation of the Dutch group's kind of follow-up
   2       developing through the 2010s.                           2   data from their longitudinal studies of transgender
   3   Q   Okay. So -- oh, sorry. I didn't mean to cut you         3   people, on the streamline of cross-sectional
   4       off.                                                    4   studies of transgender people on data that was
   5   A   Oh, I just said developing nationally. You know,        5   presented at the WPATH conference in Montreal last
   6       some places more quickly than others.                   6   fall.
   7   Q   Well, what about in -- just in California, is it        7        And there was -- there was kind of an
   8       useful to make, you know, an observation about the      8   interesting discussion about it where the --
   9       number of teens diagnosed with gender dysphoria         9   someone from the Belgian team had talked about it
  10       2013 to 2018?                                          10   in terms of there are more people assigned female
  11            MR. STRANGIO: Object to form.                     11   at birth accessing care compared to a more stable
  12   A   So there's utility to it, but -- you know, and it's    12   ratio of people assigned male at birth and people
  13       clear the numbers increased greatly while the          13   assigned female at birth. And so it may be that --
  14       larger number of people who identified as              14   that the availability of care might affect this
  15       transgender from population-based surveys did not      15   still minority of people with transgender identity
  16       change very much. And so what that's showing is        16   who are seeking gender-affirming medical care.
  17       that smaller percentage that had access to care to     17 Q Did that data or any other data tell you anything
  18       get a diagnosis and had insurance -- the               18   about the -- kind of the age cohort of those natal
  19       possibility of insurance reimbursement to receive      19   females transitioning to male and whether that had
  20       the diagnosis increased greatly in the 2010s.          20   shifted either -- you know, in any direction from,
  21   Q   Well, what about 2018 to 2023?                         21   say, prepubertal to post pubertal?
  22   A   So certainly in -- in California by 2018, the          22 A So people are not getting gender-affirming care
  23       access to care, you know, was much better              23   prepubertal. Gender-affirming care starts -- you
  24       established, and that was probably true in some        24   know, at its earliest can start at the beginning of
  25       parts of the country as -- you know, as well.          25   puberty and, you know, some people don't access
                                                        Page 66                                                     Page 68
   1   Q Okay. So the numbers of teens diagnosed with              1   care or aren't able to access care until, you know,
   2     gender dysphoria 2018 to 2023, do you have a --           2   later in adolescence.
   3     really what I want to understand is a sense of            3 Q Yeah, I'm just wondering about if you see any
   4     whether it's been a constant number every year,           4   change over time among the cohort, the female to
   5     whether the numbers have increased, first of all.         5   male cohort and the age at which they're getting
   6          MR. STRANGIO: Object to form.                        6   gender-affirming care.
   7   A So my understanding is numbers have increased but         7        MR. STRANGIO: Object to form.
   8     are still a smaller percentage than the people who        8 A So one thing that was interesting that in that
   9     identify as transgender, that the numbers are still       9   particular discussion is the Dutch, in presenting
  10     less than 1 in a thousand, whereas numbers               10   their data, showed that the gender ratio applied --
  11     identifying as transgender are more like 0.5 to          11   of people seeking care that had been trending
  12     0.7. And then some have -- you know, there have          12   towards more people assigned female at birth, that
  13     been some surveys that have been higher.                 13   that ratio applied to adults, people seeking care
  14          So it's not clear whether those numbers             14   for the first time as adults, as well as those in
  15     reflect more people identifying as transgender or        15   adolescence.
  16     more people who are accessing care.                      16        So it may be more, you know, of a sense that
  17   Q What about the demographics, and really                  17   people -- maybe an adult can access care. Again,
  18     specifically I'm interested here in the ratio of         18   it's -- you know, the people accessing care are
  19     male to female transition versus female to male,         19   just the subset of this larger number who identify
  20     among gender dysphorics.                                 20   as transgender.
  21          MR. STRANGIO: Object to form.                       21        MR. FISHER: Okay. I think this is a good
  22   A So people identifying as female has been an              22   time for the next break, if that's okay.
  23     increasing percentage in both the United States and      23        MR. STRANGIO: Yeah, that works for us.
  24     internationally of people presenting for care. And       24        MR. FISHER: All right. We'll take five.
  25     there was some discussion at -- I went to a              25   Thank you.
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 20 of 73 PageID
                                                  #: 1619
                                                                                                                 Pages 69..72
                                                        Page 69                                                         Page 71
   1           (Recess taken.)                                     1 Q Is there anything in Standards of Care 8 that you
   2   BY MR. FISHER:                                              2   disagree with?
   3   Q Let's mark our next exhibit as Exhibit 5.                 3        MR. STRANGIO: Object to form.
   4           MR. FISHER: And Shawn, this might be one            4 A So when -- as part of the Standards of Care 8,
   5      that's out of order because I'm -- just given the        5   there was a Delphi process in which each statement
   6      amount of time, we're going to move ahead a little       6   came up for approval by everyone on the Standards
   7      bit. So this is -- it says WPATH and Standards of        7   of 8 [sic] committee and where people voted levels
   8      Care on the front of it.                                 8   of approval or disapproval of the statement and
   9           (Deposition Exhibit 5 marked.)                      9   made suggestions for improvement. So certainly in
  10   Q Doctor, do you recognize this document?                  10   that process there were statements I disagreed with
  11   A Yes, that is the WPATH Standards of Care,                11   and I -- you know, like every other person who was
  12      Version 7, the old version from -- well, released       12   reviewing that, you know, ranked it, you know, gave
  13      in 2011 and published in 2012.                          13   it kind of approval/disapproval score and also made
  14   Q Okay. Is this -- do you use this version in your         14   suggestions.
  15      practice?                                               15        I felt that by the end of the process that --
  16   A Well, I'm certainly familiar with this version as        16   that I felt, you know, comfortable with much of it,
  17      one of the authors, but -- and sometimes insurance      17   but there are chapters that I don't really use so
  18      companies still refer to things in Standards of         18   much, so I might have a harder time kind of
  19      Care 7, but really, last year's Standards of Care 8     19   defending those. It's a big document. And I tend
  20      came out, and that really are the current practice      20   to, you know, focus on the assessment chapters and
  21      guidelines.                                             21   the mental health chapters, for example.
  22   Q Is either the Version 7 or the Version 8 a peer          22 Q Okay. I think we do have -- I have just found --
  23      reviewed publication?                                   23   figured out where I put SOC 8. So let's bring that
  24           MR. STRANGIO: Object to form.                      24   up.
  25   A So the Standards of Care 8 are not -- well, they         25        MR. FISHER: Shawn, I think it's the document
                                                        Page 70                                                         Page 72
   1       are published in a journal. They are reviewed in a      1       that's listed at No. 20 on the list that you've
   2       different kind of process by many experts in the        2       got. If we could bring that up and mark it as
   3       field in the development of the standards of care,      3       Exhibit 6.
   4       but it's a different process than somebody, let's       4            (Deposition Exhibit 6 marked.)
   5       say, you know, submitting a paper to a journal.         5   Q   Doctor, is this WPATH Standards of Care version
   6   Q   Would you -- is it accurate to say that it's a peer     6       6 -- I'm sorry, Version 8?
   7       reviewed document?                                      7   A   Yes, this is Version 8.
   8            MR. STRANGIO: Object to form.                      8   Q   This is Version 8. Okay, great.
   9   A   Again, I'm not sure if that phrase applies to it,       9            So I guess I'm -- just another way to ask it,
  10       but it certainly -- everything in it was subject to    10       are you aware of anything in Version 8 that you
  11       a tremendous amount of review, certainly greatly       11       disagree with?
  12       more than any, you know, single paper that's           12   A   I'm sure that there are things there in that I
  13       submitted to a journal.                                13       don't -- you know, there are the parts of it that I
  14            And I'm talking specifically about the process    14       use a lot, the assessment chapters and the mental
  15       around Standards of Care 8 that was released last      15       health chapters. And there are parts that I don't.
  16       year.                                                  16       And so, you know, I certainly -- you know, I have
  17   Q   What about the process for Standards of Care 7?        17       agreement with the process of developing it, but
  18   A   Well, Standards of Care 7, that was 2011. There        18       I'm sure that there are individual statements
  19       also was -- it was a different process. There was      19       within the Standards of Care 8 that, you know, I
  20       peer review in the sense that once there was a         20       might not -- might not, you know, reflect my views.
  21       draft that each of the 34 authors made comments and    21   Q   Which statements?
  22       corrections. But I think it's maybe, you know,         22   A   I can't -- again, I'm not going to name them. I
  23       more applicable now, you know, to talk about the       23       feel like generally the ones that I use, which are
  24       Standards of Care 8 process because that's the one     24       the -- particularly the assessment chapters,
  25       that we're using now.                                  25       there's a section on medical necessity that I
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 21 of 73 PageID
                                                  #: 1620
                                                                                                                 Pages 73..76
                                                        Page 73                                                         Page 75
   1       sometimes use, and the mental health chapter, that      1       page -- it's the Chapter 9 page. It says S88 at
   2       those, you know, I think I'm in general agreement       2       the top left. It's probably a third, maybe a
   3       with. There were a bunch of other chapters, you         3       quarter of the way into the document.
   4       know, that I might use as a reference, but I'm          4            There we go. Yeah, perfect. Just make that a
   5       not -- you know, for a particular issue, you know,      5       little bit bigger, please.
   6       but I'm not as -- you know, I'm not using all the       6   Q   Okay. Doctor, the second paragraph under the
   7       time, so I -- you could certainly ask me if there's     7       "Chapter 9 Eunuchs," says, "Eunuch individuals are
   8       a particular statement and if I agree with it or        8       those assigned male at birth and wish to eliminate
   9       not, but --                                             9       masculine physical features, masculine genitals or
  10            MR. FISHER: Well, Shawn, let's turn to the        10       genital functioning."
  11       table of contents. It looks like it's got page 54      11            Is that consistent with your understanding of
  12       up in the top left corner. No, you're too far          12       eunuchs?
  13       down. It's only three or four pages in from the        13   A   Yes.
  14       top. There we go, one more. There it is. There         14   Q   So when a eunuch presents as gender dysphoric, what
  15       we go.                                                 15       does that mean? And again, I'm asking this in part
  16   Q   So Doctor, I'm looking at Chapter 9. It says,          16       because I -- I'm just trying to figure out how the
  17       "Eunuchs."                                             17       gender dysphoria in a eunuch would differ from
  18            Do you see that?                                  18       gender dysphoria from somebody who's assigned male
  19   A   Yes.                                                   19       at birth but then thinks of themself as female.
  20   Q   Now, my understanding is that this chapter did not     20       And I wonder if you could kind of help me
  21       appear in SOC 7 but made its first appearance now      21       understand the eunuch gender dysphoria, what that
  22       in SOC 8.                                              22       dysphoria consists of.
  23            Am I right about that?                            23            MR. STRANGIO: Object to form.
  24   A   Yes.                                                   24   A   Well, and that's why, you know, I explained that I
  25   Q   Do you agree with the addition of the -- of            25       might have, in structuring Standards of Care 8,
                                                        Page 74                                                         Page 76
   1   Chapter 9 on eunuchs?                                       1       have put this in with nonbinary folks because, in
   2 A You know, I might have included it with the                 2       my experience, it's people who have distress about
   3   nonbinary chapter, but, you know, or elsewhere, as          3       certain masculine aspects of their body, but at the
   4   opposed to a separate chapter. But I was not --             4       same time, are not interested in transitioning in a
   5   you know, the editors made that decision. You               5       binary way and not identifying as female, but
   6   know, I think it's useful to have, you know,                6       having gender dysphoria in that they can have quite
   7   information about eunuchs as well as others, you            7       significant distress about masculine aspects of
   8   know, in there. I don't know if it merited its own          8       their body.
   9   chapter.                                                    9   Q   Are you aware whether SOC 8 recommends that
  10 Q Do you consider eunuchs to be transgender?                 10       healthcare clinicians not make it mandatory for
  11        MR. STRANGIO: Object to form.                         11       people with gender dysphoria to undergo
  12 A So I think that -- I think that at least some              12       psychotherapy prior to getting gender-affirming
  13   eunuchs -- I've had limited clinical experience,           13       treatment?
  14   but the clinical experience that I have had, I've          14   A   Yes.
  15   seen people with gender dysphoria, but -- people           15            MR. STRANGIO: Object to form.
  16   assigned male at birth with gender dysphoria but           16   Q   I'm sorry, you are aware of that?
  17   also not desiring to identify as female, and that          17   A   Yes.
  18   to me kind of seems more like a nonbinary bucket.          18   Q   Okay. Do you agree with that recommendation?
  19   And those folks with gender -- because I'm in --           19   A   Yes. While psychotherapy can be beneficial for
  20   you know, as a psychiatrist, I'm making a gender           20       many people, and I do psychotherapy with people and
  21   dysphoria diagnosis. I have made diagnosis of              21       I also take care of patients, for example, with
  22   gender dysphoria with people who, you know -- who          22       medications who are separately seeing
  23   could be identified as eunuch in that they didn't          23       psychotherapists. And I think psychotherapy is
  24   want to -- were not interested in living as female.        24       very valuable for a lot of people. On the other
  25        MR. FISHER: Okay. So let's turn, Shawn, to            25       hand, not everyone benefits from psychotherapy, and
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 22 of 73 PageID
                                                  #: 1621
                                                                                                                 Pages 77..80
                                                        Page 77                                                         Page 79
   1   it doesn't -- it's not necessary for everyone. And          1       treated with psychotherapy before medical
   2   so I don't think it should be a requirement in              2       intervention is appropriate.
   3   order for people to receive gender-affirming care           3            MR. STRANGIO: Object to form.
   4   while -- you know, but while recognizing it could           4   A   So there could be concerns, like someone who is
   5   be helpful for people who, you know, want to take           5       having a lot of suicidal ideation or self-harm
   6   advantage of it.                                            6       where I might, you know, recommend psychotherapy,
   7 Q How do you know in advance of psychotherapy whether         7       and I want to discuss, if they were to pursue
   8   someone would benefit from psychotherapy?                   8       transition care, what the, you know, kind of --
   9        MR. STRANGIO: Object to form.                          9       what that experience could mean in terms of, you
  10 A Well, someone who, for example, has anxiety or             10       know, if they are, say, vulnerable to self-harm.
  11   depression might benefit from psychotherapy because        11            So there are times where, you know, I might
  12   there are specific psychotherapies better oriented         12       feel it's important for that individual because
  13   towards helping people with depression or anxiety          13       of -- because of things that are problematic in
  14   disorders, so that might be an example of people           14       addition to gender dysphoria that need to be
  15   who are oriented towards -- towards using                  15       addressed where, you know, I might recommend
  16   psychotherapy are more likely to benefit from it.          16       psychotherapy in that individual.
  17   So I think there are, you know, ways of kind of            17   Q   Oh, sorry, I didn't mean to cut you off. Thank
  18   recognizing people for whom, you know, I might make        18       you.
  19   a specific recommendation for psychotherapy.               19            All right, let's go back to Exhibit 4, which
  20 Q Is there anybody with gender dysphoria or a                20       is the declaration. And let's turn to paragraph
  21   particular set of manifestations of that that you          21       35. It's on pages 9 and 10.
  22   would not provide or would not, I guess, be in             22            Doctor, can you see that okay?
  23   favor of providing -- I'm sorry, let me start that         23   A   Yes. I'm looking at the paper version.
  24   over.                                                      24   Q   Oh, that's fine.
  25        Anybody that presents with gender dysphoria           25   A   Only because it cuts off part of it. I'm not sure
                                                        Page 78                                                         Page 80
   1       that -- where that manifests with a particular set      1       if I move this to a different place.
   2       of symptoms for whom it would not be appropriate to     2   Q   That's okay. That's perfectly fine.
   3       prescribe medical intervention without first going      3   A   Oh, okay. Well, then I can't see anyone, but ...
   4       through psychotherapy?                                  4   Q   Well, if you want to look on the paper, that's fine
   5            MR. STRANGIO: Object to form.                      5       too.
   6   A   So there are circumstances where I might recommend      6   A   Okay.
   7       psychotherapy to someone. Sometimes people have         7   Q   Yeah. So here I think you talk about the evidence
   8       very entangled social or family situations and have     8       base supporting the recommendations of the WPATH
   9       been ambivalent about whether to proceed because of     9       standards of care.
  10       that. For example, someone whose marriage might        10   A   Uh-huh.
  11       end if they start transitioning, where I think         11   Q   You see that?
  12       psychotherapy would be really helpful for that         12   A   Yeah.
  13       person, you know, who might be going through           13   Q   All right. What do you mean by the "evidence
  14       particularly difficult circumstances.                  14       base"?
  15   Q   Well, you're phrasing that in terms of                 15   A   So WPATH contracted with Johns Hopkins University
  16       recommendations or, you know, what you think might     16       and people who are expert at doing systematic
  17       be helpful, but I'm just wondering if you think,       17       reviews and kind of compiled an evidence base of
  18       well, no, there's some conditions where it's just      18       the literature related to transgender people and
  19       absolutely inappropriate to -- for there to be         19       gender dysphoria. And so that provided an evidence
  20       medical intervention before psychotherapy.             20       base, in addition to, you know, all of the experts
  21            MR. STRANGIO: Object to form.                     21       who participated in the process.
  22   A   What do you mean by "conditions"?                      22   Q   The Johns Hopkins systematic review, was that
  23   Q   Well, I'm talking about somebody whose symptoms,       23       published with the SOC 8?
  24       whatever -- you know, whatever it is that makes up     24   A   Yeah, there were some publications that came out of
  25       their gender dysphoria, need to, in your view, be      25       that. I believe Baker, et al., was one, a
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 23 of 73 PageID
                                                  #: 1622
                                                                                                                 Pages 81..84
                                                        Page 81                                                         Page 83
   1       systematic review of hormones, for example. There       1       published last year, when we did our mental health
   2       were a couple systematic reviews of surgery that        2       chapter, but -- so I think that there were only
   3       were published separately.                              3       certain chapters where there was a specific
   4   Q   Anything with respect to children?                      4       systematic review for that chapter, but then there
   5   A   No, I don't think they published a systematic           5       was kind of a broader database of studies that
   6       review for children.                                    6       could be utilized, you know, by any of the authors
   7   Q   Is the -- so is it not true or -- I guess I'm           7       of any of the other chapters to kind of assist them
   8       trying to figure out if it's fair to say that the       8       in -- you know, with the literature related to that
   9       SOC 8 recommendations for children are supported by     9       chapter.
  10       an evidence base and a systematic review of            10   Q   So the last sentence of this paragraph 35 says,
  11       evidence.                                              11       "The evidence base supporting the recommendations
  12            MR. STRANGIO: Object to form.                     12       in the WPATH standards of care is comparable to the
  13   A   Well, everyone who was involved in writing             13       evidence base supporting treatment for other
  14       Standards of Care 8 did receive a very voluminous      14       conditions."
  15       document of kind of a systematic review of the         15            Do you see that sentence?
  16       literature, and I'm not sure if you're referring to    16   A   Uh-huh, yeah.
  17       the adolescent chapter as opposed to the child         17   Q   I'm wondering what other conditions you're
  18       chapter, but certainly, you know, when you look at     18       referring to there.
  19       that chapter, it makes reference to -- you know, to    19   A   So when you look broadly at the evidence base that
  20       the literature related to the treatment of             20       we use to support our clinical decisions,
  21       adolescents.                                           21       there's -- sorry, all the lights went out again.
  22   Q   But that literature itself did not go through a        22            When you look broadly at the base of evidence
  23       systematic review for purposes of SOC 8?               23       that we make clinical decisions on, there is a
  24   A   Well, there was a systematic review, meaning that      24       broad range of types of studies, of means of
  25       reviewing the literature, and there was kind of a      25       information, and I think that's true in different
                                                        Page 82                                                         Page 84
   1       big database from that that was available for the       1   fields of health where we are using the information
   2       authors of the various chapters.                        2   that we have and our clinical experience to best
   3   Q   With respect to adolescents?                            3   guide us in terms of care.
   4   A   Yeah. I mean, there was -- I don't know whether         4        And I think about, for example, in taking care
   5       there was a specific systematic review of               5   of adolescents who need psychiatric medications,
   6       adolescents because I wasn't on that chapter, but       6   most psychiatric medicines have only been
   7       there was a very broad systematic review of the         7   demonstrated effective in adults and yet we
   8       literature relating to gender dysphoria more            8   sometimes use them in adolescents because that's
   9       generally because there was this large kind of          9   all the information that we have.
  10       database that made reference to a voluminous number    10        So we don't always have perfect information,
  11       of studies on different subjects related to            11   but we try to utilize the information that we have
  12       transgender health.                                    12   with our clinical experience to make the best
  13            But my focus in Standards of Care 8 was the       13   treatment choices, and I think that is kind of true
  14       mental health chapter. And some chapters had           14   in different fields, different aspects of providing
  15       specific systematic reviews. I think maybe             15   clinical care.
  16       hormones, surgery, endocrinology surgery, had          16 Q Anything besides psychiatric medications for
  17       specific systematic reviews that were presented to     17   adolescents that comes to mind?
  18       them, and then some of those got published. But        18 A Well, you know, when you're talking about
  19       there was also this kind of broader database of        19   systematic -- if you're talking about systematic
  20       literature that was available to people generally.     20   reviews, you know, the fact is that kind of studies
  21   Q   That was -- was that broader database of               21   of the database of systematic reviews have shown
  22       literature, did that constitute a systematic           22   that most systematic reviews -- you know, earlier I
  23       review?                                                23   mentioned the GRADE, the GRADE scores for a
  24   A   Well, that's a good question. It was -- it was a       24   majority of medical interventions are low or very
  25       few years ago when -- even though it just got          25   low in terms of the certainty of the recommendation
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 24 of 73 PageID
                                                  #: 1623
                                                                                                                 Pages 85..88
                                                        Page 85                                                         Page 87
   1   for an intervention.                                        1       Guideline."
   2        And so it's common for most of the conditions          2            (Deposition Exhibit 7 marked.)
   3   that we provide care for that -- that we're dealing         3   Q   Doctor, do you recognize this document?
   4   with an imperfect knowledge base of information,            4   A   Yes.
   5   but where there's evidence and we're combining that         5   Q   What is this document?
   6   with our clinical experience to try to make the             6   A   This document is the -- I assume it's the 2017
   7   best treatment decisions.                                   7       Endocrine Society guidelines for treatment of
   8 Q Well, and you've mentioned specifically psychiatric         8       gender dysphoria.
   9   medications for adolescents, and I'm wondering if           9            MR. FISHER: Shawn, let's scroll down to the
  10   there's any other specific area that comes to mind.        10       bottom so he can see the 2017 so he can just
  11 A Well, like I was looking at the grading of a               11       confirm that.
  12   systematic review for psychotherapy for people who         12   Q   Doctor, does that confirm this is the 2017 version?
  13   have been given a terminal cancer diagnosis, and           13   A   Yeah, yes.
  14   the GRADE score was low certainty for that. And            14   Q   Great, terrific.
  15   yet, you know, if I had a patient who was, you             15            All right. So tell me what the function of
  16   know, just given that diagnosis, it seems like I           16       this document is.
  17   would, you know, at least, you know, recommend that        17   A   So this was a group of experts from the Endocrine
  18   they, you know, might consider getting counseling          18       Society who put together practice guidelines for
  19   as they're trying to grapple with the realities of         19       gender dysphoria from the perspective of
  20   dying.                                                     20       endocrinologists.
  21        So, you know, I think these are kind of issues        21   Q   Do you use this document in your practice?
  22   for all kinds of conditions, and we, as doctors,           22   A   Yes. I would say now maybe Standards of Care 8
  23   and I think especially in mental health, but I             23       more than this because this was in 2017. And there
  24   think even in other areas, don't always have kind          24       was a particular time where it was particularly
  25   of perfect guidance from, you know, a number from a        25       useful because it was more up to date than the 2011
                                                        Page 86                                                         Page 88
   1       study or a radiographic, you know, image that           1       Standards of Care 7. But now, you know, we do have
   2       demonstrates something. And yet we -- you know, we      2       Standards of Care 8 that includes, you know, an
   3       make clinical decisions based on the knowledge that     3       endocrine chapter that just came out last year.
   4       we have from both studies and our clinical              4   Q   What -- is this document, these clinical practice
   5       experience.                                             5       guidelines, are they supported by a systematic
   6   Q   And we've mentioned psychiatric medications for         6       review of literature?
   7       adolescents, psychotherapy for those with a             7            MR. STRANGIO: Object to form.
   8       terminal cancer diagnosis. Any other areas that         8   A   Yes.
   9       come to mind?                                           9   Q   And did it follow the GRADE standard, that
  10   A   Well, as I said, I think if we're talking about        10       systematic review?
  11       systematic reviews of medical interventions, the       11   A   Yes.
  12       majority of medical interventions that are done        12   Q   Where is that systematic review published?
  13       have low or very low certainty for that                13            MR. STRANGIO: Object to form.
  14       recommendation. So I think that this is just very      14   A   So the -- well, you can scroll up or down to see
  15       common in -- you know, in healthcare that this is      15       where it --
  16       an issue.                                              16   Q   Is it -- you say it's --
  17   Q   So nothing else specific comes to mind?                17   A   -- the paper where it's published.
  18   A   Those were some specific examples that came to         18   Q   Yeah.
  19       mind.                                                  19   A   So -- so the Journal of Clinical Endocrinology and
  20            MR. FISHER: All right. Let's mark our next        20       Metabolism, November 2017.
  21       exhibit. What are we up to now, 7? And Shawn,          21   Q   So this is itself, you're saying, a systematic
  22       this is the -- you'll find this probably under         22       review of literature?
  23       No. 19 in the list you got. It says, "Endocrine        23   A   Well, it -- my recollection of this document is
  24       Treatment of Gender-Dysphoric/Gender-Incongruent       24       that it was based on a systematic review of the
  25       Persons: An Endocrine Society Clinical Practice        25       literature, so yes, it's a publication that has as
Case 1:23-cv-00595-JPH-KMB                  Document 48-9            Filed 06/01/23       Page 25 of 73 PageID
                                                  #: 1624
                                                                                                              Pages 89..92
                                                        Page 89                                                     Page 91
   1       its basis a systematic review. And I think it           1   what was excluded, is this properly understood to
   2       includes GRADE scores as part of that.                  2   be a systematic review?
   3   Q   And I guess I'm wondering where -- the systematic       3        MR. STRANGIO: Object to form.
   4       review itself, is it available so that researchers      4 A Well, it's says a systematic review was done, but
   5       can examine the literature that was part of that        5   what was published here is -- are the clinical
   6       systematic review?                                      6   practice guidelines where the systematic review
   7            MR. STRANGIO: Object to form.                      7   was -- the systematic reviews, there were two of
   8   A   So I think that the -- if you keep on scrolling on      8   them, were used as a basis for the recommendations
   9       this document, that they -- that the systematic         9   that they made.
  10       review is discussed. They have a part where            10 Q If somebody wanted to go and analyze the studies
  11       they -- well, see where they have the -- so they       11   that were included versus those that were excluded
  12       say that there's a systematic review, and then they    12   that, you know, formed the systematic review that
  13       have a -- I think a GRADE score for kind of            13   supports this document, where would they go to find
  14       certainty of a particular recommendation.              14   that?
  15            MR. FISHER: Chase, do you have the full           15 A If I wanted to do that, I would probably contact
  16       document? I wonder if it would be easier for the       16   the author. But maybe there is -- I don't know if
  17       doctor to just look at it, scroll through it           17   there is anything in the paper that says where to
  18       himself, and tell us where he's talking about.         18   find the 29 that were included versus those that
  19   A   See there, it says, "commission systematic review."    19   were excluded.
  20   Q   There we go. Yep.                                      20        It's possible that they were published
  21            MR. STRANGIO: I have handed him the paper,        21   separately, like -- you know, like a few of the
  22       the printed version, but it sounds like we're in       22   WPATH systematic reviews that were separately
  23       the spot on the screen as well. So I don't know if     23   published, but I don't know.
  24       that's useful, but ...                                 24        MR. STRANGIO: Okay. Mr. Fisher, we're at
  25   A   Okay. Yeah, where it says "commission systematic       25   12:10 here. Do you want to break for lunch now or
                                                        Page 90                                                     Page 92
   1       review," and it describes a -- the two systematic       1   do you want to finish with this document?
   2       reviews that they did as part of this -- you know,      2        MR. FISHER: Yeah, just give me a second,
   3       the endocrinology literature.                           3   Chase. Well, we can -- I just want to see if I've
   4   Q   But does it tell us what literature was included in     4   got anything else on this or WPATH before we break,
   5       that systematic review versus what literature was       5   but probably here in just a minute.
   6       not included?                                           6        MR. STRANGIO: Yeah, sounds good.
   7   A   It says 29 eligible studies, and typically it will      7 Q Oh, Doctor, I'm not sure we have to go back and
   8       have like a CRISMA -- it'll have some listing of        8   look at it, but with reference to WPATH 8, my
   9       what was included and what wasn't, but I don't know     9   understanding is that it removed the minimum age
  10       where that is.                                         10   limit for a child to take puberty blockers,
  11   Q   There's a table at the end that says, "References."    11   cross-sex hormones, or have gender transition
  12   A   Yeah, there's references, but there's also a           12   surgery.
  13       particular kind of little graph, but systematic        13        Are you aware of that change?
  14       reviews sometimes use, of all the papers that were     14        MR. STRANGIO: Object to form.
  15       included among the 29. But I'm not sure if -- I'm      15 A So there was no difference for puberty blockers,
  16       not sure if that's there or not.                       16   because there's not an age. It's Tanner stage 2.
  17   Q   And if you could flip through it, either on the        17   And there was a prior version of the adolescent
  18       screen here or the copy Mr. Strangio has, and tell     18   chapter that included ages for -- recommended ages
  19       us whether that is included here.                      19   for hormones, chest surgery, I think, and
  20   A   So I see a lot of data about their recommendations     20   vaginoplasty. And then in the end, because it's a
  21       and references, but I don't see a specific listing     21   consensus document and there wasn't consensus on
  22       of the -- sometimes they do list that -- which the     22   those ages, it was left to clinical judgment and
  23       studies that were included and those that were         23   there weren't specific ages that were put.
  24       excluded, and I don't see that as part of this.        24        But they did state that any interventions
  25   Q   Well, without a listing of what was included and       25   should be age appropriate and that the adolescent
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 26 of 73 PageID
                                                  #: 1625
                                                                                                                 Pages 93..96
                                                        Page 93                                                         Page 95
   1       should have the maturity to not only -- to get the      1   Q Why not?
   2       procedure, but to have the kind of cognitive            2   A So I think that it is -- that generally it is
   3       understanding to assent to the procedure with the       3     appropriate for them to reach a particular level of
   4       consent of the parents of the adolescent. And so,       4     maturity to -- that, particularly, genital surgery
   5       but without -- without saying specific age except,      5     does have some -- depending on the surgery, does
   6       I think, they kept the specific age for                 6     have processes that people have to be able to
   7       phalloplasty at 18.                                     7     participate in where having that extra maturity
   8   Q   Did you agree with that change?                         8     would be helpful. And it also is, you know, maybe
   9   A   So I wasn't part of the process. I wasn't directly      9     reaching, you know, an age, you know, of consenting
  10       involved in the adolescent chapter in terms of         10     for those procedures.
  11       writing it or in terms of the -- you know, I wasn't    11          So I think that there can be circumstances
  12       involved in terms of the Delphi process, and there     12     where genital surgery for minors could be
  13       was a time -- a part of commenting on every            13     appropriate, you know, if there's individual -- an
  14       chapter, but I wasn't a part of the change of          14     individual assessment of a good reason for it. In
  15       changing the age recommendations.                      15     my practice, I haven't recommended it. And the one
  16            I do think that there's strength in the           16     surgery that I have supported people in getting is
  17       document in there being consensus and that with any    17     chest surgery for when people have very significant
  18       group of care providers, there, you know, are          18     dysphoria about their chest.
  19       differences of opinion. And I still think that         19   Q I want to make sure I understand what's involved in
  20       there's a principle of -- you know, of responsible     20     each of these. So chest surgery, what does that
  21       care.                                                  21     entail?
  22   Q   Do you think it's appropriate to prescribe hormones    22   A So that is -- it involves a mastectomy and a male
  23       to adolescents?                                        23     chest reconstruction or, you know, to have a
  24   A   Yes, I think for adolescents for whom it's             24     male-appearing chest after removing -- removal of
  25       clinically indicated, you know, yes, I think           25     breast tissue, and so that's what I meant by
                                                        Page 94                                                         Page 96
   1   gender-affirming medical care can be appropriate.           1       masculinizing chest surgery for people assigned
   2 Q What about surgery?                                         2       female at birth.
   3 A So the one surgery that patients of mine have had,          3   Q   And then you also mentioned vaginoplasty?
   4   while minors, has been masculinizing surgery for            4   A   Yes.
   5   people assigned female at birth, and so --                  5   Q   What does that entail?
   6   masculinizing chest surgery. So there are some              6   A   Vaginoplasty is genital surgery for trans women.
   7   adolescents who have -- assigned female at birth            7   Q   And what does it require?
   8   who have very strong gender dysphoria about --              8   A   Well, it is a surgery that includes orchiectomy and
   9   around their chest, and it sometimes is appropriate         9       creation of a neovagina typically, although for
  10   to -- and patients sometimes receive great benefit,        10       some people only have kind of an external vulva
  11   from having chest surgery.                                 11       created by the surgeon. So that's what -- what
  12        I haven't recommended for my patients who are         12       happens when somebody receives a vaginoplasty.
  13   adolescents having genital surgery before the age          13   Q   I'm sorry, what is an orchiectomy?
  14   of 18, but I think that there could be                     14   A   That's removal of the testes.
  15   circumstances for vaginoplasty of families wanting         15   Q   What about the penis?
  16   to have that surgery perhaps at age 17 before the          16   A   So the penis most commonly is inverted and is used
  17   young person goes away to college so that they can         17       in the creation of a neovagina. The glans penis
  18   be with their family to receive supporting care            18       becomes the clitoris, and the -- some of the skin
  19   during the healing process and then go off to              19       from the penis is inverted after removal -- after
  20   college after surgery.                                     20       replacement of the glans penis and reduction in
  21        So that would be for someone who is quite             21       size to be the clitoris, the remaining -- the skin
  22   mature and where a determination was made that that        22       from the shaft of the penis is inverted and becomes
  23   was, you know, appropriate. So I can see that              23       the vaginal canal.
  24   there could be a few circumstances, but generally          24            MR. FISHER: Okay. I think that's a good
  25   I'm not recommending genital surgery for minors.           25       place to break for lunch.
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 27 of 73 PageID
                                                  #: 1626
                                                                                                                Pages 97..100
                                                        Page 97                                                         Page 99
   1           (Lunch recess taken.)                               1            Do you see that sentence?
   2           MR. FISHER: All right. Let's mark our next          2   A   Can you tell me which paragraph that's in?
   3      exhibit. So I think this will be 8, if my count is       3   Q   Oh, it's in the same paragraph.
   4      right. And this is going to be -- Shawn, you'll          4   A   I see it now. Sorry. I jumped down to the next
   5      find this probably under No. 21 on that list. This       5       paragraph. Okay.
   6      is the Recommendation of the Council for Choices         6   Q   So you see that sentence, and I'm wondering if you
   7      document.                                                7       agree with that sentence.
   8           (Deposition Exhibit 8 marked.)                      8   A   Let me read it. So the sentence says, "Based on
   9   BY MR. FISHER:                                              9       studies examining gender identity in minors,
  10   Q Doctor, do you recognize this document?                  10       hormonal interventions may be considered before
  11   A Yes.                                                     11       reaching adulthood in those with firmly established
  12   Q Can you tell me what this document is?                   12       transgender identity but it must be done with a
  13   A It is recommendations from a government healthcare       13       great deal of caution and no irreversible treatment
  14      agency in Finland.                                      14       should be initiated," which I assume they're
  15   Q And what are those recommendations?                      15       referring to surgery.
  16   A You'll have to show them to me. I can't list them.       16            "Information about potential harms of hormone
  17   Q All right. Do you have a -- have you read this           17       therapies is accumulating slowly and not
  18      document before?                                        18       systematically reported." I'm not -- I don't know
  19   A Yes.                                                     19       what that means, so I can't agree with that.
  20   Q Okay. Did you mention --                                 20            I would say that in this statement, they're
  21   A It was a while back.                                     21       saying that they are continuing to provide
  22   Q Oh, okay.                                                22       gender-affirming care to minors, just doing it more
  23   A I think -- yeah, several -- yeah, it was at least a      23       cautiously.
  24      few months ago.                                         24   Q   Okay. Let's go back a couple of pages under No. 5,
  25   Q Did you mention this document or cite this document      25       where it says, "Risks, Benefits and Uncertainty."
                                                        Page 98                                                        Page 100
   1       anywhere in your report?                                1   A I'm sorry, paragraph No. 5 of this same page?
   2   A   No, I don't think so.                                   2   Q Yeah. No, no, I'm sorry, it's Section 5 of the
   3   Q   So let's go over to page -- well, it's under No. 7.     3     study. I'm sorry. A couple pages back.
   4       It's under "Conclusions." And do you see, Doctor,       4   A Can you -- I only am looking at the screen, so can
   5       it looks like it's the one, two, three, fourth          5     you --
   6       paragraph down, and it says, "In light of available     6          MR. FISHER: Shawn, can we go ...
   7       evidence, gender reassignment of minors is an           7   Q So here I'm looking down at the last paragraph,
   8       experimental practice."                                 8     where it says, "The effect of pubertal suppression
   9            You see that statement?                            9     and cross-sex hormones on fertility is not yet
  10   A   Yes.                                                   10     known."
  11   Q   Do you agree with that statement?                      11          Do you see that sentence?
  12   A   No.                                                    12   A Yes.
  13   Q   Why not?                                               13   Q Do you agree with that sentence?
  14   A   So I assume they mean treatment of gender dysphoria    14   A Well, there are things that are known and things
  15       of minors, and I think that that is something that     15     that are not known. I was -- when I was scanning
  16       has -- people have been providing gender-affirming     16     down there, I got stuck on the previous paragraph
  17       care for minors for decades, and there is both         17     where it says, "This study found that during
  18       evidence of efficacy and clinical experience, and      18     cross-sex hormone therapy, problems in these areas
  19       that's why I don't think it's experimental.            19     did not decrease," and I know the study they're
  20   Q   Okay. Let's go down later in that paragraph. It        20     referring to, and I think they were -- they are
  21       says -- and this, I think, is the penultimate          21     mischaracterizing the study, so -- which, actually,
  22       sentence of the paragraph. "Information about the      22     I think showed substantial benefits from cross-sex
  23       potential harms of hormone therapies is                23     hormones. So it just makes me wonder about the
  24       accumulating slowly and is not systematically          24     bias of the person writing this.
  25       reported."                                             25          But anyway, I think that there are fertility
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 28 of 73 PageID
                                                  #: 1627
                                                                                                              Pages 101..104
                                                       Page 101                                                        Page 103
   1       concerns about pubertal suppression, particularly       1       systematic review that, I think, was maybe meant to
   2       if done very early. And, you know, so I agree that      2       support some recommendations for care of minors in
   3       this concerns why, in Standards of Care 8, part of      3       Sweden. And I think this systematic review was
   4       the recommended process, with informed consent for      4       previously just available in Swedish, but it's now
   5       care, is fertility counseling. And that is kind of      5       just been published in English.
   6       listed again on the summary of recommendations for      6   Q   Let's turn over --
   7       care, because people need to, you know -- certainly     7            MR. FISHER: Shawn, let's go over to page 4
   8       need to know that it's a consideration.                 8       under -- this will be under 3.3, Section 3.3.
   9   Q   Now, as I understand it, one of those                   9       There we go.
  10       recommendations -- so, yeah, let's go to page 10,      10   Q   So I guess, Doctor, I mean, as a systematic review,
  11       right before Section 9.                                11       this is -- as I understand it, at least, this --
  12   A   So I don't have the paper, so I'll have to see it      12       the authors of this paper have made available --
  13       up here.                                               13       you know, they've disclosed the studies they
  14   Q   All right. So I'm looking at the paragraph right       14       included and the studies that they excluded.
  15       before Section 9. It says, "Surgical treatments        15   A   Uh-huh.
  16       are not part of the treatment methods for dysphoria    16            MR. STRANGIO: Object to form.
  17       caused by gender-related conflicts in minors."         17            Yes, Doctor, go ahead.
  18            And I'm wondering if you -- I guess what your     18   A   I take your word for it, but again, I've only kind
  19       reaction is to that statement.                         19       of scanned this paper quickly because it was just
  20   A   So I'm aware from having read this -- there is a       20       published.
  21       paper from Finland that showed very strong benefits    21   Q   Okay. Well, so we have under 3.3, there's a
  22       with gender-affirming care with -- in mental health    22       discussion of studies that examined psychosocial
  23       with hormones, and from that I could see the           23       outcomes and cognitive effects, and, you know, it
  24       protocol in Finland, which was that they would         24       enumerates them briefly in the first paragraph.
  25       start hormones at age 16 and then, but they --         25       And in the second paragraph it talks about the -- I
                                                       Page 102                                                        Page 104
   1       surgery, from their, you know, prior protocol as        1   guess, you know, what reaction these authors had to
   2       well, was reserved for adults within their national     2   those papers.
   3       health system.                                          3        And it says, "Because these studies were
   4            And so I think that that's reflecting the          4   hampered by small number of participants and
   5       government national health system, that they can        5   substantial risk of selection bias, the long-term
   6       get puberty blockers at Tanner stage 2, hormones at     6   effects of hormone treatment on psychosocial health
   7       16, and surgery at 18, if you want to get those         7   could not be evaluated. Of note, the above studies
   8       things, you know, fully paid for through the            8   do not allow separation of potential effects of
   9       national health system.                                 9   psychological intervention independent of hormonal
  10            MR. FISHER: All right. Let's go to what           10   effects."
  11       we'll mark as Exhibit 9. It's, I think, under          11        What do you -- what is your reaction to that
  12       No. 22 on your list, Shawn. It's "A systematic         12   statement?
  13       review of hormone treatment for children."             13 A So I think it's very difficult to draw conclusions
  14            (Deposition Exhibit 9 marked.)                    14   on complex interventions with graded systematic
  15   Q   Doctor, are you familiar with this paper?              15   reviews, and so it's not surprising that -- you
  16   A   I have seen this paper. It was only published very     16   know, that limitations would be found. I would
  17       recently, so I have just scanned it briefly.           17   just add that for systematic reviews of complex
  18   Q   Oh, so you haven't had a chance to fully digest the    18   interventions that it really is the norm for there
  19       paper?                                                 19   to be really significant issues in terms of in the
  20   A   Well, I have a -- I have a sense of it. So you can     20   systematic reviews. So it's -- I don't think
  21       ask me specific questions and, you know, show me       21   transgender health is an outlier in that regard,
  22       what you're referring to on the paper, and then I'm    22   but it's also not a surprising conclusion.
  23       happy to respond.                                      23        But I would say, the additional thing that I
  24   Q   All right. What is your sense of this paper?           24   would say is even if this is what they found on a
  25   A   Well, it's a systematic review. It was a               25   systematic review, which was bringing down 10,000
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 29 of 73 PageID
                                                  #: 1628
                                                                                                              Pages 105..108
                                                       Page 105                                                        Page 107
   1   articles down to 24 and seeing if they, you know,           1       first question is, did you cite this or -- this
   2   could have a statistically significant effect from          2       paper in your declaration in this case?
   3   those 24, even if that's what they found, that              3   A   No.
   4   doesn't mean that there aren't, you know, a number          4            MR. FISHER: Let's turn to page 40 of the
   5   of studies that have shown psychosocial improvement         5       document, please, Shawn. Let's make that just a
   6   with hormone treatment and that our clinical                6       little bit bigger, if we can. Scroll down just a
   7   experience has also been that hormone treatment for         7       little bit. Thank you.
   8   those people who need treatment of gender dysphoria         8   Q   So, Doctor, under the header of 6, where it says
   9   can have dramatically positive effects.                     9       "Discussion," the first sentence says, "A key
  10        So I think there's a limitation in just, you          10       limitation to identify the effectiveness and safety
  11   know, using this particular kind of analysis, but          11       of GnRH analogues for children and adolescents with
  12   it's not a limitation that is restricted among the         12       gender dysphoria is the lack of reliable
  13   medical interventions that we do, you know, all the        13       comparative studies."
  14   time. It's not necessarily restricted to                   14            Do you see that statement?
  15   transgender health, and it's not fully reflective          15   A   Yes.
  16   of, you know, our experience of -- you know, and           16   Q   Do you agree with that statement?
  17   the number of studies that have shown a benefit            17   A   Well, my opinion, a little bit, is a little
  18   from hormones for gender-affirming care.                   18       different about GnRH analogues. I think there's --
  19 Q So is this study, in your view, relevant to your           19       evidence is very strong that they work in terms of
  20   consideration of safety and efficacy for hormone           20       stopping puberty. The question is when you have
  21   treatment for minors?                                      21       studies that are looking for more than that, you
  22        MR. STRANGIO: Object to form.                         22       end up with this complex intervention -- complex
  23 A So, you know, WPATH, certainly, and others have            23       outcome where it's more difficult to find high
  24   used, you know, systematic reviews. They can be            24       certainty evidence on a systematic review.
  25   helpful. I'm not sure about a -- there was a               25            So I think that the evidence is very strong
                                                       Page 106                                                        Page 108
   1       government process that I'm somewhat skeptical          1   that if you give somebody a puberty blocker, it
   2       about, but I would need to read the article further     2   will block -- it will effectively block their
   3       to draw more conclusions on its utility.                3   puberty. The question is, you know, what other
   4   Q   Were you aware of this paper when you wrote your        4   outcomes, you know, should you be looking for in --
   5       declaration for this case?                              5   you know, in those patients.
   6            MR. STRANGIO: Object to form.                      6 Q So then the next paragraph says, "The studies
   7   A   This paper had not been published when I wrote my       7   included in this evidence review are small,
   8       declaration.                                            8   uncontrolled observational studies, which are
   9   Q   I see. Okay.                                            9   subject to bias and confounding, and are of very
  10   A   It was only -- it was published three weeks ago.       10   low certainty as assessed using modified GRADE."
  11            MR. FISHER: Okay. So let's mark Exhibit 10.       11        So what about that sentence -- I mean, I guess
  12       And this one, Shawn, you'll find, I think, at          12   I'm wondering, first of all, if you've studied this
  13       No. 23 on your list. It says, "Evidence review:        13   enough to know what studies were included in the
  14       Gonadotrophin releasing hormone analogues."            14   systematic review to be able to assess that
  15            (Deposition Exhibit 10 marked.)                   15   statement.
  16   Q   Doctor, do you recognize this paper?                   16 A Yeah, I --
  17   A   Yes.                                                   17        MR. STRANGIO: Object to form.
  18   Q   All right. What do you understand this paper to        18 A I don't recall which ones were included or excluded
  19       be?                                                    19   in this study. Again, a systematic -- systematic
  20   A   My recollection is that it's a systematic review of    20   reviews of complex interventions, and especially
  21       effects of GnRH agonists in treatment of               21   when you're looking for a mental health outcome,
  22       adolescents with gender dysphoria.                     22   that those -- that you never get high certainty on
  23   Q   And have you read this paper before?                   23   GRADE. There was a study where no GRADE for
  24   A   Yes, but it's been a little while.                     24   systematic reviews of any interventions, that were
  25   Q   All right. So let's turn -- well, actually, my         25   complex interventions, showed a high certainty and
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 30 of 73 PageID
                                                  #: 1629
                                                                                                              Pages 109..112
                                                       Page 109                                                        Page 111
   1       that most -- even most overall GRADE scores for         1        They have published long-term data with
   2       systematic reviews of medical interventions are low     2   adults, but if you're talking about minors, it's --
   3       or very low certainty.                                  3   I think, you know, most of the data is of shorter
   4            So it's -- you know, of course more of it is       4   duration. Although six years is still a long time.
   5       the better, and there is a little bit more, a           5   There was a study in the U.S. where -- from
   6       little bit larger study that's come out after this,     6   University of Virginia where they actually went
   7       but it's not, you know, surprising that doesn't get     7   back and found patients who had been part of their
   8       a high GRADE score.                                     8   gender program 40 years ago and found, among the 15
   9            MR. FISHER: All right. Let's mark the next         9   people they could still find 40 years later, that
  10       one. So this will be Exhibit 11, and this is --        10   people had, you know, very positive effects.
  11       should be the next document, Shawn, "Evidence          11        So it's not that there's an absence -- you
  12       review: Gender-affirming hormones for children and     12   know, full absence of long-term care. Those
  13       adolescents with gender dysphoria."                    13   patients in Virginia, when last seen, were adults,
  14            (Deposition Exhibit 11 marked.)                   14   although I think some people had started their care
  15   Q   Doctor, do you recognize this document?                15   as minors, but it was a follow-up of those who had
  16   A   Yes. Again, it's been a little while since I've        16   received surgery as adults.
  17       reviewed it, but yes.                                  17 Q So I'm wondering with respect to these last two
  18   Q   What do you understand this document to be?            18   documents, the two British systematic reviews, do
  19   A   That it provided a systematic review of                19   you recall having any concerns about the papers
  20       gender-affirming hormones for adolescents with         20   selected when you read these, when you studied
  21       gender dysphoria.                                      21   these documents before?
  22   Q   So if we go over to page 13, please, under the         22        MR. STRANGIO: Object to form.
  23       header of "Discussion," the third paragraph down.      23 A I don't recall which papers were selected or not
  24       So the third paragraph down, it says, "The included    24   selected. Here I would have to review the
  25       studies have relatively short follow-up, with an       25   document, but I think that -- that I do have
                                                       Page 110                                                        Page 112
   1   average duration of treatment with gender-affirming         1       concerns about just that when systematic reviews
   2   hormones between 1 year and 5.8 years."                     2       are used supporting banning gender-affirming care
   3        I'm wondering if you know of any studies that          3       when I don't think that was the purpose or even the
   4   have done follow-up beyond six years.                       4       purpose in -- for example, in the United Kingdom,
   5 A Well, the Dutch presented some of their data in             5       of using them. All of the European countries are
   6   Montreal, because they have been following                  6       still providing gender-affirming care to minors,
   7   people -- they've continued to follow people, and           7       even if there have been processes that might make
   8   so I think there is more that is -- you know, is            8       access to care less than optimal.
   9   coming out. The largest multicenter study in the            9   Q   Do you find these systematic reviews, the British
  10   United States is still presenting, you know, two           10       ones in particular, are they relevant for your
  11   years' worth of data just because, you know, it            11       consideration about the safety and efficacy of
  12   takes time to -- from the initiation of a study to,        12       either puberty blockers or hormone treatment?
  13   you know, its completion.                                  13   A   You know, I'm not discounting them, but I would say
  14        The Dutch group has been doing this work for          14       that the conclusions drawn were continuing
  15   the longest, and so they have the longest                  15       gender-affirming care in the United Kingdom, even
  16   experience.                                                16       though they, you know, have had -- have had
  17 Q The Montreal data that you referenced, do you know         17       problems with access, they were not proposing as a
  18   when that will be published?                               18       conclusion of the Cass support to ban
  19 A No. But they have continued to publish -- they             19       gender-affirming care, they were actually talking
  20   have continued to publish data. I'm not sure what          20       about expanding the number of clinics that provided
  21   the longest number is, but they are continuing to          21       gender-affirming care for minors.
  22   follow patients, and they, you know, have been             22   Q   So you do find them relevant, then?
  23   providing gender-affirming care for minors for many        23            MR. STRANGIO: Object to form.
  24   years now. So I think they have the best chance of         24   A   Relevant in terms of, you know, there's a larger
  25   publishing, you know, more long-term effects.              25       database of publications and, you know, they exist
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 31 of 73 PageID
                                                  #: 1630
                                                                                                              Pages 113..116
                                                       Page 113                                                        Page 115
   1       in that context yes.                                    1            And when you do the statistical analysis to
   2   Q   Let's go back to your declaration, which is             2       compare before people got care to those who did
   3       Exhibit 4. And I want to look at paragraph 47.          3       receive gender-affirming care showed significant
   4       There we go. Okay.                                      4       improvements in mental health outcomes. And then
   5            Doctor, you make two statements in paragraph       5       there's all the Dutch data where they've shown
   6       47, if you could just look at them, just refresh        6       mental health improvements with gender-affirming
   7       your recollection for a second.                         7       care in adolescents.
   8   A   Uh-huh.                                                 8   Q   The third one you mentioned, Tordoff, did you say?
   9   Q   And you don't have any inline citations here, and       9   A   Tordoff.
  10       I'm wondering if you -- if this is just meant to be    10   Q   Can you spell that for me.
  11       an introduction to what follows or if these are        11   A   T-O-R-D-O-F-F.
  12       supposed to be standalone statements about evidence    12   Q   Okay, great. Is that cited in your -- I guess your
  13       that -- for which there's support that you can         13       Appendix B or Exhibit B?
  14       cite.                                                  14   A   You know, I was just looking and realizing, even
  15   A   So I think I did a briefer statement here than I       15       though it wasn't cited, I cited Inwards-Breland,
  16       sometimes have. There is a little more detail in       16       which was the same study, but that was -- before it
  17       the pages to follow, and so I think in between here    17       was published, that was when -- from the abstract
  18       and page 16 there are more citations. But, you         18       at American Academy of Pediatrics. And then it was
  19       know, I'm happy to talk about, you know, whatever      19       under a different author, it was published and is
  20       you want to ask about.                                 20       missing maybe. In editing my statement, I didn't
  21   Q   Sure. Great. All right. Well, let's go to 49.          21       include -- it looks like I didn't include Tordoff.
  22       And there we go.                                       22       I sometimes have. And so then it didn't -- I must
  23            So here in 49 again you have a series of          23       not have gotten it into the bibliography.
  24       statements and no inline citations, and I want to      24   Q   Okay, I just want to make sure I understand. Is
  25       know what studies support each of these statements.    25       Inwards-Breland the same study or under a
                                                       Page 114                                                        Page 116
   1 A So, well, unlike 47 when, you know, we could                1       different --
   2   discuss the articles involved, 49, I was talking            2   A   Yeah. It's the same study, it was just -- it was
   3   about my own clinical experience.                           3       presented at a couple of conferences. I saw one of
   4 Q Well, 49, the first sentence says, "The studies on          4       the times it was presented, and there was a
   5   gender-affirming care for adolescents with gender           5       published abstract. And so that was just based on
   6   dysphoria are consistent with decades of clinical           6       that published abstract. But then later it did get
   7   experience of mental health providers across the            7       published, but under a different name, under a
   8   U.S. and around the world."                                 8       different first author.
   9        So I'm wondering what studies you're talking           9   Q   Okay. All right. And then the rest of paragraph
  10   about.                                                     10       49 is you're talking about your clinical
  11 A Yeah, and so -- you know, we could talk about --           11       experience, as I understand it. And then in 50 you
  12   and there are a number of studies. Luke Allen's            12       have a series of statements, and I'm wondering, is
  13   study from Kansas City Children's. They did --             13       this about clinical experience or is this based on
  14   where it was a series where people received --             14       studies as well?
  15   adolescents received gender-affirming care showed          15   A   So I think it's both. I think in -- there's,
  16   mental health benefits.                                    16       certainly, from the Dutch studies, as well as the
  17        There's the large multicenter study that was          17       American studies, benefits do outweigh the risks.
  18   published by Diane Chen where there was improvement        18       It's not that there have been no adverse outcomes,
  19   of body congruence, and there was improvement in           19       but I think the conclusion of various papers have
  20   mental health outcomes with hormones. There's the          20       been that benefits outweigh the risks for
  21   Tordoff study where they were comparing people who         21       treatment.
  22   had received puberty blockers and hormones with            22   Q   Can you give me the specific studies that you're
  23   people who -- in that same clinic who hadn't               23       thinking of there?
  24   received care yet and -- but over the course of the        24   A   So I think that the ones that I just cited --
  25   study did.                                                 25       Allen, Chen, Tordoff -- all showed benefits of
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23       Page 32 of 73 PageID
                                                  #: 1631
                                                                                                             Pages 117..120
                                                       Page 117                                                      Page 119
   1       care. Then the various Dutch studies, including         1   A And I don't think they used GRADE in that
   2       de Vries, also -- you know, certainly de Vries 2014     2     publication.
   3       Pediatrics showed great benefit from care. There        3   Q Okay. Anything else that you want to point me to
   4       was one adverse outcome in that study from              4     that supports the statements in 47?
   5       complications of surgery on one patient, but -- but     5   A Well, those are what -- you know, those are some
   6       overall the study showed great benefit for the          6     studies that come to mind. And there was -- I
   7       patients in that study.                                 7     guess if we're thinking of other studies, there
   8   Q   Any others?                                             8     were a couple of studies for chest surgery in
   9   A   Well, I think if you -- you can look at -- you can      9     transgender youth, one by Jo Olson-Kennedy that
  10       look at the -- at a number of the -- the Dutch have    10     showed a substantial reduction in body incongruence
  11       published a number of studies with benefit. I          11     with chest surgery. Those are kind of -- some of
  12       think the systematic review that was part of           12     the cites off the top of my head.
  13       Standards of Care 8 that Baker, et al., authored       13   Q Doctor, you mentioned one of the studies for both
  14       showed benefits. It included, I think, a couple        14     paragraphs 49 and 50, a study by Luke Allen.
  15       adolescent studies, but mostly adults in the           15   A Yes.
  16       systematic review. So I think that there have been     16   Q And I think we've got that. It may not be in the
  17       a number of studies that have shown benefit --         17     stuff that's been uploaded, though.
  18       benefits from care.                                    18          MR. FISHER: Melinda, can you go ahead and
  19   Q   Okay. The Baker that you just mentioned, is that       19     send that -- or maybe even post it in the chat or
  20       cited in your Exhibit B?                               20     something. I don't know if that's something you
  21   A   Let's see. No. Again, I think that this was maybe      21     can do or if that's something maybe Shawn has to
  22       a shorter declaration because I have cited it in       22     do.
  23       other declarations, but it may have been for the       23          SHAWN WEYERBACHER: If you could post that
  24       sake of brevity in this particular one that that       24     document in the chat, then I could display that.
  25       wasn't cited.                                          25          MR. FISHER: Okay.
                                                       Page 118                                                      Page 120
   1   Q So let's now go back to paragraph 47 now that we've       1           MS. HOLMES: I'm sorry, you said Allen.
   2     gone through 49 and 50. And have we covered               2           MR. FISHER: Yeah.
   3     everything that supports the statements in                3           MS. HOLMES: Could that be on No. 28, or are
   4     paragraph 47 or are there additional studies that         4      we talking about a different study?
   5     support those statements?                                 5           MR. FISHER: Oh, is it in there? Oh, maybe
   6   A Well, I told you some. I didn't here do an                6      not. Maybe it's there.
   7     exhaustive review. There is this Cornell What We          7           SHAWN WEYERBACHER: Is this it right here?
   8     Know review that lists predominantly studies of           8           MR. FISHER: Well, I think that's the one I
   9     adults, but lists a pretty exhaustive review with         9      had my eye on, so thank you, yes. Let's mark this
  10     links to each study of outcome studies for               10      one now. I don't remember now what we're up to
  11     gender-affirming care from the 1990s through 2017.       11      now. I hope somebody does.
  12     And that has dozens of studies. And their overall        12           12. I'm hearing 12. Great, thank you.
  13     conclusion was that gender-affirming care improved       13           (Deposition Exhibit 12 marked.)
  14     quality of life and measures of mental health.           14   BY MR. FISHER:
  15   Q I remember seeing the Cornell review. Oh, is it --       15   Q Doctor, is this the Allen study that you were
  16     yeah, I think we've got it. Maybe it's -- I'm not        16      referring to?
  17     sure if it's in Exhibit B, but maybe it's cited          17   A Yes.
  18     elsewhere in the paper. But just tell me a little        18   Q What was the sample size for this study? Actually,
  19     bit about that Cornell review. Is that a                 19      let's just start at a higher level question.
  20     systematic review?                                       20           What is this study purporting to tell us?
  21   A It was a systematic review of papers that had            21   A So it was -- they looked at -- for youth who were
  22     outcome measures for gender-affirming care, you          22      at this transgender clinic in Kansas City. They
  23     know, from the '90s through the time of                  23      looked at mental health measures as it related to
  24     publication.                                             24      the youth receiving gender-affirming hormones.
  25   Q And does it have a high GRADE score?                     25   Q What is -- what kind of a study is it?
Case 1:23-cv-00595-JPH-KMB                 Document 48-9              Filed 06/01/23        Page 33 of 73 PageID
                                                 #: 1632
                                                                                                             Pages 121..124
                                                      Page 121                                                        Page 123
   1   A So it is -- well, it's a randomized control trial.       1       that's de Vries 2014.
   2     It's described as a longitudinal evaluation in the       2   Q   Yeah, okay.
   3     study.                                                   3            MR. FISHER: And I think that we can mark
   4   Q Then how many people did it study?                       4       that. But I think that that is -- well, yes. I
   5   A It just says here 47 youth were assessed before          5       think that's behind -- that's at No. 11, perhaps,
   6     treatment and then at least three months                 6       Shawn. Let's bring that up, and we can mark that
   7     afterwards.                                              7       13.
   8   Q At least three months. About what was the -- do          8            (Deposition Exhibit 13 marked.)
   9     you know what the -- I guess -- well, it says --         9   Q   So, Doctor, is this the de Vries 2014 study?
  10     I'm not sure if it's -- does it tell us how -- what     10   A   Yes.
  11     the mean was for how many months they were              11            MR. STRANGIO: Sorry, just for clarity, can we
  12     followed?                                               12       scroll down.
  13   A I don't recall. One would have to, you know, look       13            MR. FISHER: Oh, sure.
  14     at the study for that number.                           14            MR. STRANGIO: Thanks.
  15   Q And is it accurate to say, from your understanding      15   Q   And what -- can you tell us about this study? What
  16     of this study, that the patients that received the      16       is it purporting to tell us?
  17     medical intervention also received psychological        17   A   So this was a study where they followed -- well,
  18     support?                                                18       there were a total of 55 people who remained in the
  19          MR. STRANGIO: Object to form.                      19       study to adulthood, it looks like, but who had
  20   A I don't recall what other interventions were            20       received pubertal suppression during adolescence,
  21     received or how -- you know, were received by those     21       and then received cross-sex hormones, and then as
  22     youth. So what kind of support they received or         22       adults received gender reassignment surgery, it
  23     didn't receive.                                         23       says.
  24          MR. FISHER: Okay, great. Melinda, do we have       24            And so they followed mental health measures of
  25     Chen in the collection or should we post that one       25       these 55 transgender people from pubertal
                                                      Page 122                                                        Page 124
   1      to the chat?                                            1       suppression to a year after gender-affirming
   2           MS. HOLMES: I don't know if we have a Chen         2       surgery and found that mental health measures
   3      study at all. It wasn't in the exhibits as far as       3       were -- were quite good in those adolescents, that
   4      I saw.                                                  4       they improved with intervention, and that
   5           MR. FISHER: That's okay, I think I've got it       5       well-being was similar to cisgender controls.
   6      here. Hopefully I can figure out a way to make          6   Q   What was the kind of -- generally speaking, what
   7      this available.                                         7       was the structure of the study? What kind of a
   8           So Chen -- indeed, I don't see Chen in             8       study was it?
   9      Exhibit B.                                              9   A   So it was a prospective -- it was a prospective
  10   BY MR. FISHER:                                            10       longitudinal study that they've been doing in the
  11   Q Is Chen listed somewhere in Exhibit B, Doctor?          11       Netherlands now for many years and of providing
  12   A Oh, so Chen is not in my bibliography. Again, I         12       gender-affirming care from pubertal suppression on,
  13      think it may have been something kind of edited for    13       and then collecting data on those -- on those
  14      brevity, because I don't cite -- I don't do a          14       patients. So these were patients who were -- it
  15      review of the studies and citations of the studies     15       looks like it was followed for a mean of just over
  16      in my declaration, though it's -- yeah, I don't --     16       seven years from the start of pubertal suppression
  17      you're asking about some of the studies for me to      17       to a year after gender-affirming surgery.
  18      form the opinions. I didn't -- part of my              18   Q   Is it accurate to say that the subjects of the
  19      declaration wasn't an exhaustive list of -- you        19       study also received psychiatric treatment during
  20      know, of the research.                                 20       the study period?
  21   Q Then you mentioned de Vries 2014. Is that -- oh, I      21            MR. STRANGIO: Object to form.
  22      think I see that at the bottom of page 2 of your       22   A   So I think in the Netherlands certainly mental
  23      Exhibit B. Is that the de Vries study you were         23       health support is available. I don't know the kind
  24      mentioning before?                                     24       of extent of it over all of those -- over all of
  25   A So there are -- yeah, so at the bottom of page 2,       25       those years.
Case 1:23-cv-00595-JPH-KMB                Document 48-9              Filed 06/01/23        Page 34 of 73 PageID
                                                #: 1633
                                                                                                            Pages 125..128
                                                     Page 125                                                        Page 127
   1   Q Is it your understanding that this study controls       1       subjective well-being. Let's see, Table 4. So
   2     for psychiatric treatment?                              2       they do -- I just want to see what's included.
   3          MR. STRANGIO: Object to form.                      3            So, you know, they did -- they did, as each
   4   A So I think that, you know, whenever you do a study,     4       study does, they talk about limitations, but their
   5     it's a consideration that people, you know, can         5       conclusions were that this protocol that they had
   6     have other interventions, including mental health       6       of puberty blockers, gender-affirming hormones, and
   7     help. But I, you know, would point out that when        7       then gender-affirming surgery, led to improved
   8     you have studies of before and after, that people       8       psychological functioning of transgender
   9     may well have been receiving mental health help         9       adolescents and were recommending early
  10     before whatever the intervention is.                   10       intervention, you know, in appropriate youth.
  11          And so, for example, in Luke Allen's paper, it    11   Q   So led to, does that establish causation?
  12     was a shorter intervention than seven years, that      12   A   I'm sorry?
  13     they may well have been -- already been receiving      13   Q   You said that they say -- and maybe you could just
  14     mental health help. And in my clinical experience,     14       tell me where they say it specifically -- that it
  15     I've taken care of a lot of patients who haven't       15       led to those outcomes.
  16     been able to get gender-affirming care. And even       16   A   So it says, "Results of this study provide first
  17     though they get mental health help, it's not a         17       evidence that, after gender-affirming hormones and
  18     substitute for receiving gender-affirming care when    18       gender reassignment surgery, a treatment protocol
  19     they need it, when they're having dysphoria about      19       including puberty suppression leads to improved
  20     their bodies.                                          20       psychological functioning of transgender
  21   Q So does this paper establish causation between the     21       adolescents."
  22     medical intervention and the outcomes?                 22            And so that was their wording, was that it
  23          MR. STRANGIO: Object to form.                     23       leads -- it leads to.
  24   A So I -- you know, you're only on the first page,       24   Q   Is it -- do you understand them to be claiming
  25     and I would have to review how they worded their       25       causation?
                                                     Page 126                                                        Page 128
   1   results, but their results from the, you know,            1        MR. STRANGIO: Object to form.
   2   abstract on the first page says that gender               2 A They're claiming that this intervention leads to
   3   dysphoria was alleviated, psychological function          3   improved psychological functioning, and it also
   4   had steadily improved, well-being was similar or          4   says that -- it says, "While enabling" -- the next
   5   better than same age adults in the general                5   sentence says, "While enabling them to make
   6   population. And that's not typical of transgender         6   important age appropriate developmental
   7   people who -- transgender youth who haven't               7   transitions, it contributes to a satisfactory
   8   received gender-affirming medical and surgical            8   objective and subjective well-being in young
   9   care.                                                     9   adulthood."
  10        MR. FISHER: Okay. So Chase, do you have             10        So they feel that -- I think they do, you
  11   the -- so that we -- the doctor can look through it      11   know, assert a causality that their interventions,
  12   at his own pace, do you have it available there?         12   you know, really benefited the youth who received
  13        MR. STRANGIO: I can look. I printed out             13   the interventions.
  14   everything, but it may take me a second.                 14 Q Given the design of the study and the limits of the
  15        MR. FISHER: Okay.                                   15   study, do you think it was appropriate for them to
  16        MR. STRANGIO: We only have -- sorry, I was          16   make a conclusion about causality?
  17   going off of the exhibits from yesterday, but I          17        MR. STRANGIO: Object to form.
  18   didn't see your exhibits from this morning.              18 A Well, they did have quite dramatic results,
  19        MR. FISHER: Yeah. It's okay.                        19   especially when we look at so many studies of
  20        THE WITNESS: That's it?                             20   transgender adolescents who have co-occurring
  21        MR. STRANGIO: Yeah.                                 21   mental health concerns, including suicidality. And
  22        THE WITNESS: Okay.                                  22   they -- their data is showing that in this cohort
  23 A So just paging through it, it looks like they have       23   that -- that they treated, ended up with mental
  24   data with a number of effects where they do see a        24   health outcomes comparable to cisgender controls,
  25   significant improvement in mental health and             25   and that's a pretty strong improvement.
Case 1:23-cv-00595-JPH-KMB                  Document 48-9            Filed 06/01/23       Page 35 of 73 PageID
                                                  #: 1634
                                                                                                           Pages 129..132
                                                       Page 129                                                    Page 131
   1   Q Okay. But I'm just wondering if their causation           1 Q And I'm just wondering if you agree with the
   2     conclusion is supported by the design and                 2   statement that predicting individual persistence at
   3     limitations of their study, in your view.                 3   a young age will always remain difficult.
   4          MR. STRANGIO: Object to form.                        4 A Well, this was before the Kristina Olson group set
   5   A You know, there's always limitations, but I think         5   of papers, which -- where they did demonstrate a
   6     that this paper provided strong evidence, and I           6   cohort of prepubertal transgender youth, youth with
   7     think it was received as such because, you know,          7   transgender identity, that was very stable, with
   8     the -- first the Dutch group is a very kind of            8   very little desistance.
   9     academic and responsible researchers. They have a         9        So I think it depends on what population you
  10     lot of data, and the data showed pretty strong           10   are following, and even within the same Dutch
  11     improvement. So I think all of those things were         11   group, within -- Thomas Steensma published not long
  12     taken seriously.                                         12   before this, they found -- even though they found
  13   Q Yeah, but my question is, do you think that they         13   substantial prepubertal desistance, they found that
  14     were -- that they appropriately and properly, given      14   one could distinguish essentially factors that were
  15     the design and limits of this study, found               15   associated with persistence.
  16     causation?                                               16        But even when you get out of the prepubertal
  17          MR. STRANGIO: Object to form.                       17   desistance conversation, post pubertally it's clear
  18   A You know, I think that they assert that -- you           18   that there are very high rates of persistence when
  19     know, that their intervention was responsible for        19   somebody gets a gender dysphoria diagnosis in
  20     the benefit, and I think there's a strong argument       20   adolescence and adulthood.
  21     for that because it's -- it would be unusual just        21 Q Okay. So a couple of lines down, it says -- and
  22     randomly for transgender adolescents to make such a      22   this is the final sentence in that column,
  23     dramatic improvement.                                    23   "Therefore, psychological maturity and the capacity
  24   Q I understand that. I really just want a                  24   to give full informed consent may surface as the
  25     straightforward answer. Do you agree with their          25   required criteria for puberty suppression and CSH
                                                       Page 130                                                    Page 132
   1       conclusion that their evidence and their design and     1   in cases that meet other eligibility criteria."
   2       limits demonstrates causality?                          2        Do you see that?
   3            MR. STRANGIO: Object to form.                      3 A Yes.
   4   A   I think -- I think I've answered your question.         4 Q What do you make of that sentence?
   5   Q   Okay.                                                   5 A Well, the -- the author -- the first author of this
   6            MR. STRANGIO: We've been going about -- are        6   paper was also the chapter co-lead for the
   7       you done with this? Sorry.                              7   adolescent chapter in Standards of Care 8,
   8            MR. FISHER: No, I've just got -- let me            8   Annelou de Vries. And that chapter lays out the
   9       finish this paper, and then we can take a break.        9   assessment of the adolescent and certainly in this
  10            MR. STRANGIO: Yeah.                               10   country, so in most of this country, until a minor
  11   Q   So let's look at the same page with the                11   is 18 years old, it's the parents who consent, and
  12       conclusions. And the --                                12   so there is an assessment of the youth's ability to
  13            MR. FISHER: So Shawn, can we scroll down,         13   get -- to assent to care, to agree with the
  14       page 703. There we go.                                 14   parents' informed consent.
  15   Q   Okay. So in the note, the second of those three        15        But, so I'm not sure about the -- exactly
  16       columns of text, right before footnote 44, you're      16   about the wording of that sentence, but I think
  17       following with me, it says, "Predicting individual     17   it's laid out in more of a detail, but the process
  18       persistence at a young age will always remain          18   for making that assessment in adolescence.
  19       difficult."                                            19        MR. FISHER: Okay. Let's go ahead and take a
  20            Do you see that?                                  20   five-minute break, if we can. Actually, just give
  21   A   Yes. When they're talking about prepubertal            21   me ten. Let's do ten minutes, if that's okay.
  22       persistence or desistance. But the Dutch group         22        MR. STRANGIO: Yeah, ten is great. So
  23       certainly has had -- you know, demonstrated very       23   5:25ish?
  24       high rates of persistence in those people who have     24        MR. FISHER: Yes, sounds good. Thanks.
  25       gender dysphoria adulthood diagnoses.                  25        (Recess taken.)
Case 1:23-cv-00595-JPH-KMB                 Document 48-9              Filed 06/01/23        Page 36 of 73 PageID
                                                 #: 1635
                                                                                                             Pages 133..136
                                                      Page 133                                                        Page 135
   1   BY MR. FISHER:                                             1   been in the -- you know, studies showing benefits
   2   Q So, Doctor, earlier you mentioned in connection          2   for gender-affirming care. There is -- you know,
   3      with paragraphs 49 and 50 of your declaration --        3   can be a reduction in suicidality.
   4           MR. FISHER: And maybe we could, Shawn, go          4        So when you're following a cohort, in this
   5      ahead and pull that back up. That's Exhibit 4.          5   case of over 300 trans youth, when suicidality and
   6   Q So I was asking you about what studies supported         6   suicide attempts in that population are so high,
   7      the statements in these paragraphs, and one of them     7   you know, the fact that there are suicides is
   8      that you mentioned was Chen.                            8   tragic and I'm sure devastating for the clinicians
   9   A Yes.                                                     9   working with those youth, but not entirely
  10   Q And I was trying to figure out which Chen. Was it       10   unexpected because there is so much suicidality in
  11      Chen 2023 or was it a different one?                   11   that -- particularly in the population of
  12   A No, that would be the Chen that -- Diane Chen,          12   transgender adolescents.
  13      et al., study of the four center longitudinal          13 Q Let's see. Oh, I know what I wanted to ask you.
  14      study.                                                 14   It's about paragraph 50. We are still there. And
  15   Q Right. Well, the title I've got is "Psychosocial        15   I think in the middle of the paragraph, it says --
  16      functioning in transgender youth after two years of    16   well, maybe it's the second or third sentence. "In
  17      hormones 2023."                                        17   addition, a treating doctor will not offer
  18   A Yes.                                                    18   gender-affirming medical treatments unless they
  19   Q Is that the one or is it different? That's the          19   have concluded after weighing the risks and
  20      one?                                                   20   benefits of care that treatment is appropriate."
  21   A Uh-huh.                                                 21        Do you see that sentence?
  22   Q Was that a control group study?                         22 A Yes.
  23   A So that did not have randomized controls. It was a      23 Q And then you talk about how the risks and benefits
  24      prospective longitudinal study.                        24   of care are discussed with the minor's parents,
  25   Q So is it possible to draw causal conclusions from       25   et cetera.
                                                      Page 134                                                        Page 136
   1     it?                                                      1            And so I'm wondering about the risks, and
   2          MR. STRANGIO: Object to form.                       2       you've alluded to them in your testimony today.
   3   A Well, it was a large study. They had over 300            3       But in your declaration, in the second sentence,
   4     youth and, you know, we can draw conclusions when        4       you say, "The risks of withholding care for
   5     there's statistically significant differences            5       transgender youth and gender dysphoria are clear as
   6     between groups, you know, within the limitations         6       described and referenced above."
   7     that the authors, you know, provide for drawing          7            And I wasn't sure where -- what you were
   8     conclusions.                                             8       referring to about "above." And maybe you've got
   9   Q Okay. So I just want to make sure I understand.          9       your report there. You can leaf through it and
  10     Do you think that that study shows causality?           10       tell me.
  11          MR. STRANGIO: Object to form.                      11   A   Yeah, what -- I'm sorry, what page? Where are you
  12   A I think that's a simplification, so that's -- it's      12       referring to?
  13     not necessarily how I would describe it. But I          13   Q   Oh, this is in paragraph 50 on page 13.
  14     think it provides evidence for benefit.                 14   A   Oh, okay. Okay, well, I may have edited it out, as
  15   Q My understanding is that two individuals committed      15       I said, in some of the papers that we discussed,
  16     suicide during that study; is that your                 16       but --
  17     understanding?                                          17   Q   Well, so I guess --
  18   A Yes.                                                    18   A   Yeah.
  19   Q Are you at all surprised that didn't put a stop to      19   Q   Is there --
  20     the study?                                              20   A   But in terms of -- in terms of risks, there are
  21          MR. STRANGIO: Object to form.                      21       risks of not receiving care. One example -- you
  22   A So I take care of adolescents with gender               22       know, in addition to when the, you know,
  23     dysphoria, and there is a tremendous amount of          23       comparisons of people, of youth before and after
  24     suicidality in that population that is, you know,       24       they received care in some of the studies we talked
  25     without treatment. So -- and, you know, there has       25       about before, there is some large surveys. One was
Case 1:23-cv-00595-JPH-KMB                  Document 48-9              Filed 06/01/23        Page 37 of 73 PageID
                                                  #: 1636
                                                                                                              Pages 137..140
                                                       Page 137                                                        Page 139
   1       from the U.S. Transgender Survey, and another one       1       desistance is a phenomenon in a prepubertal youth,
   2       was from the Trevor Project, where lack of access       2       so it's not a risk for treatment because it happens
   3       to care has been associated with increased              3       before treatment is given.
   4       suicidality.                                            4   Q   Okay. So desistance is not in any sense a risk as
   5   Q   Yeah, I'm interested in the risks of receiving          5       far as you're concerned once treatment is started?
   6       care, which you allude to again in paragraph 50,        6            MR. STRANGIO: Object to form.
   7       risks and benefits of care. And so, first of all,       7   A   There's -- at least the evidence is that -- that
   8       I just want to confirm, there's no discussion of        8       it's very uncommon after the start of puberty, and
   9       the risks before paragraph 50 of your declaration;      9       that's certainly also been my clinical experience,
  10       is that correct?                                       10       that it is very uncommon for -- or that gender
  11   A   When I'm talking about the risks and benefits of       11       dysphoria that persists into adolescence is very,
  12       care, I was talking about the discussion of            12       very likely to continue, you know, for -- through
  13       informed consent, which of course is central to        13       the life span of the patient.
  14       receiving gender-affirming care. And when I was        14   Q   Would desistance in your view amount to a negative
  15       talking about a treating doctor not offering a         15       outcome for somebody who's undergone medical
  16       treatment unless they conclude that the benefits       16       treatment for gender dysphoria?
  17       outweigh the risks, that's true for any care, not      17            MR. STRANGIO: Object to form.
  18       just gender-affirming care. A doctor provides care     18   A   So again, desistance is really a prepubertal
  19       concluding that the benefits of providing that care    19       phenomenon. There are -- you can start to get into
  20       outweigh the risks.                                    20       worrying, but, you know, later in life you might
  21   Q   Yes. So then in the following paragraphs, 51, 52,      21       refer to detransition in terms of people who have
  22       53, 54.                                                22       started transitioning and stopped. That, you know,
  23            MR. FISHER: If you could scroll down, Shawn.      23       I -- it's a risk when there's -- if there's regret.
  24       The doctor probably has it in front of him anyway.     24            But more commonly, if somebody does stop
  25   Q   Here you're talking about regret and regret rates      25       hormones, it's not necessarily for regret, but
                                                       Page 138                                                        Page 140
   1   in 51 and 52. And then in 53 you're talking about           1       because they've met their transition goals. For
   2   desistance. And then 54 you're talking about                2       example, if they're nonbinary. You know, sometimes
   3   desistance. Do you consider desistance to be a              3       people will be on hormones for a period of time but
   4   risk of medical intervention for gender dysphoria           4       not want to make a binary transition.
   5   in youth?                                                   5   Q   Are you familiar -- I don't have it right in front
   6        MR. STRANGIO: Object to form.                          6       of me, but -- well, let me just see if I can find
   7 A So desistance as I talk about is a prepubertal              7       it.
   8   phenomenon. I do think that regret is a risk, and           8            Are you familiar with a statement from
   9   it is one that I discuss with my patients and their         9       Dr. Hilary Cass -- first of all, are you familiar
  10   families. It's a small risk, you know, as I, you           10       with Dr. Hilary Cass?
  11   know, describe here in these studies.                      11   A   Yes.
  12        The percent of people who regret                      12   Q   Okay. Are you familiar with a statement from her
  13   gender-affirming care is quite small and smaller           13       that she's wondering whether children who start on
  14   than kind of equivalent care that's given to               14       puberty blockers are effectively locked into a
  15   cisgender people. But it is a risk and, you know,          15       treatment pathway? Does that ring a bell with you?
  16   it's just something that -- you know, that I               16            MR. STRANGIO: Object to form.
  17   discuss with people, that, you know, there are             17   A   No. You can -- if you could show me the statement,
  18   small numbers of people who regret receiving               18       but I don't recall that.
  19   gender-affirming care and that that's something,           19   Q   That's not -- okay, that's not something you're
  20   you know, among their considerations in making an          20       familiar with? That's okay. We don't need to go
  21   informed consent.                                          21       any further into that.
  22 Q And apart from regret, you talk about desistance.          22            MR. FISHER: Okay. We may be just about done
  23   And so I'm wondering, in what sense is desistance          23       here, Chase. Let me just take a few minutes.
  24   itself a risk?                                             24            MR. STRANGIO: Okay.
  25 A So desistance happens before treatment. So                 25            (Recess taken.)
Case 1:23-cv-00595-JPH-KMB                   Document 48-9              Filed 06/01/23        Page 38 of 73 PageID
                                                   #: 1637
                                                                                                              Pages 141..144
                                                        Page 141                                                          Page 143
   1        MR. FISHER: Doctor, thank you very much. I              1   STATE OF INDIANA

   2   don't have any additional questions, but                     2   COUNTY OF HENDRICKS

   3   Mr. Strangio might.                                          3

   4        MR. STRANGIO: No questions from me.                     4           I, Debbi S. Austin, a Notary Public in and for

   5        So Debbi, we can just have the doctor read and          5   said county and state, do hereby certify that the

   6   sign.                                                        6   deponent herein was by me first duly sworn to tell the

   7        (The deposition concluded at 5:52 p.m.)                 7   truth, the whole truth, and nothing but the truth in

   8                                                                8   the aforementioned matter;

   9                                                                9           That the foregoing deposition was taken on

  10                                                               10   behalf of the Defendants; that said deposition was

  11                                                               11   taken at the time and place heretofore mentioned

  12                                                               12   between 12:00 p.m. and 5:52 p.m.;

  13                                                               13           That said deposition was taken down in

  14                                                               14   stenograph notes and afterwards reduced to typewriting

  15                                                               15   under my direction; and that the typewritten

  16                                                               16   transcript is a true record of the testimony given by

  17                                                               17   said deponent;

  18                                                               18           And thereafter presented to said witness for

  19                                                               19   signature; that this certificate does not purport to

  20                                                               20   acknowledge or verify the signature hereto of the

  21                                                               21   deponent.

  22                                                               22           I do further certify that I am a disinterested

  23                                                               23   person in this cause of action; that I am not a

  24                                                               24   relative of the attorneys for any of the parties.

  25                                                               25

                                                        Page 142                                                       Page 144
   1                   UNITED STATES DISTRICT COURT                 1           IN WITNESS WHEREOF, I have hereunto set my
                       SOUTHERN DISTRICT OF INDIANA
                                                                    2   hand and affixed my notarial seal this 22nd day of
   2                       INDIANAPOLIS DIVISION
   3                                                                3   May, 2023.
   4                                                                4
       K.C., ET AL.,                )
   5                                )                               5
                    Plaintiffs,     )                               6
   6                                )
                -v-                 ) CASE NO.                      7
   7                                ) 1:23-cv-00595-JPH-KMB         8
       THE INDIVIDUAL MEMBERS OF    )
   8   THE MEDICAL LICENSING BOARD )                                9
       OF INDIANA, in their official)                              10
   9   capacities, et al.,          )
                                                                   11
                                    )
  10                Defendants.     )                              12
  11
                                                                   13   My Commission Expires:
  12                       Job No. 181268
  13                                                                    July 13, 2023
  14           I, DAN H. KARASIC, M.D., state that I have          14
       read the foregoing transcript of the testimony given
  15   by me at my deposition on May 18, 2023, and that said       15   Job No. 181268
       transcript constitutes a true and correct record of         16
  16   the testimony given by me at said deposition except as
       I have so indicated on the errata sheets provided           17
  17   herein.                                                     18
  18
  19                                                               19
  20                                 _________________________     20
                                     DAN H. KARASIC, M.D.
                                                                   21
  21
  22                                                               22
  23               STEWART RICHARDSON & ASSOCIATES
                                                                   23
                  Registered Professional Reporters
  24               One Indiana Square, Suite 2425                  24
                       Indianapolis, IN 46204                      25
  25                        (800)869-0873
Case 1:23-cv-00595-JPH-KMB              Document 48-9           Filed 06/01/23     Page 39 of 73 PageID
                                              #: 1638
                                                                                                         Index: 0.5..9
                                                                                 127:1 133:5
                Exhibits                                  2
                                                                              40 107:4 111:8,9
  Dan Karasic Ex 01 3:10 6:6            2 7:4,5 11:12 39:24 40:3 41:3,13      44 130:16
                                         92:16 102:6 122:22,25                47 113:3,6 114:1 118:1,4 119:4
  Dan Karasic Ex 02 3:11 7:4,5
                                        20 72:1                                  121:5
  Dan Karasic Ex 03 3:14 8:12,13
                                        2000s 61:19                           480 8:12
  Dan Karasic Ex 04 3:15 12:7,9
   41:21 79:19 113:3 133:5              2003 61:11,23 62:3,6,10               49 113:21,23 114:2,4 116:10 118:2
                                                                                 119:14 133:3
  Dan Karasic Ex 05 3:17 69:3,9         2010s 65:2,20
  Dan Karasic Ex 06 3:19 72:3,4         2011 69:13 70:18 87:25                                    5
  Dan Karasic Ex 07 3:20 87:2           2012 63:17 69:13
                                                                              5 69:3,9 99:24 100:1,2
  Dan Karasic Ex 08 3:23 97:8           2013 62:6,10,14 63:24 64:6,10 65:10
                                                                              5.8 110:2
  Dan Karasic Ex 09 4:3 102:11,14       2014 117:2 122:21 123:1,9
                                                                              50 116:11 118:2 119:14 133:3
  Dan Karasic Ex 10 4:5 106:11,15       2015 42:24
                                                                                 135:14 136:13 137:6,9
  Dan Karasic Ex 11 4:8 109:10,14       2017 87:6,10,12,23 88:20 118:11
                                                                              51 137:21 138:1
  Dan Karasic Ex 12 4:11 120:13         2018 64:6 65:10,21,22 66:2
                                                                              52 137:21 138:1
  Dan Karasic Ex 13 4:13 123:8          2020 9:14
                                                                              53 137:22 138:1
                                        2023 5:4 65:21 66:2 133:11,17
                                                                              54 73:11 137:22 138:2
                      0
                                        21 97:5
                                                                              55 123:18,25
  0.5 66:11                             22 102:12
                                                                              5:25ish 132:23
  0.7 66:12                             23 106:13
                                                                              5:52 141:7
                                        24 105:1,3
                      1                 2425 5:3                                                  6

  1 6:6 66:10 110:2                     25 61:14
                                                                              6 25:16,19,21 72:3,4,6 107:8
  10 33:24 79:21 101:10 106:11,15       27 25:16,21

  10,000 104:25                         28 28:9 41:22 52:16 56:11 120:3                           7

  11 33:23 109:10,14 123:5              29 9:18 90:7,15 91:18
                                                                              7 69:12,19,22 70:17,18 73:21 86:21
  12 11:13 61:14 120:12,13                                                       87:2 88:1 98:3
                                                          3
  12:00 5:5                                                                   703 130:14
  12:10 91:25                           3 8:12,13
                                        3.3 103:8,21                                              8
  13 109:22 123:7,8 136:13
  15 111:8                              30 10:11 37:16                        8 36:11 69:19,22,25 70:15,24 71:1,4,
  16 101:25 102:7 113:18                300 134:3 135:5                          7,23 72:6,7,8,10,19 73:22 75:25
                                                                                 76:9 80:23 81:9,14,23 82:13 87:22
  17 94:16                              34 70:21                                 88:2 92:8 97:3,8 101:3 117:13 132:7
  18 5:4 11:5 93:7 94:14 102:7 132:11   35 79:21 83:10
                                                                                                  9
  19 12:21,22 86:23
                                                          4
  1990s 10:10 61:12,14,22,24 118:11                                           9 73:16 74:1 75:1,7 79:21 101:11,15
  1991 10:8                             4 12:7,9 41:21 79:19 103:7 113:3         102:11,14
Case 1:23-cv-00595-JPH-KMB               Document 48-9         Filed 06/01/23       Page 40 of 73 PageID
                                               #: 1639
                                                                                                     Index: 90s..also
  90s 118:23                             across 18:5 56:19 114:7                 109:16 113:23 117:21 122:12 137:6
                                                                                 139:18
                                         Act 8:12
                    A                                                           against 63:25
                                         actual 39:1
                                                                                age 11:4 60:13 61:13 67:18 68:5
  ability 20:15 132:12                   actually 21:15 32:17 39:23 40:10
                                                                                 92:9,16,25 93:5,6,15 94:13,16 95:9
                                          60:5 61:24 64:5 100:21 106:25
  able 23:19,21 24:6 25:4 46:9,24 53:2                                           101:25 126:5 128:6 130:18 131:3
                                          111:6 112:19 120:18 132:20
   68:1 95:6 108:14 125:16                                                      agency 97:14
                                         add 104:17
  about 6:25 7:2,13 9:7 10:3 11:1,6,7,                                          ages 92:18,22,23
   8,9,10 12:24 15:17 17:6,24 18:19      addition 49:1 73:25 79:14 80:20
   19:5,8,23 20:4,24 23:4,5,13 24:11      135:17 136:22                         ago 14:6 82:25 97:24 106:10 111:8
   25:1,13,24 28:10 29:3,6 30:4,19       additional 104:23 118:4 141:2          agonists 106:21
   31:21 32:8,15 33:1,9,11 38:12,18
   39:15,16 40:8,16 41:25 42:6 43:13     address 44:22                          agree 18:12,15 19:13,18 53:24 55:5,
   44:23 45:11,15,18,20,24 46:3,9,14,                                            16 56:5 73:8,25 76:18 93:8 98:11
                                         addressed 79:15
   15,16,18 47:19 48:6,8,19,22 49:1,2                                            99:7,19 100:13 101:2 107:16 129:25
   54:6 55:20 56:21 59:8,14,20 62:8,12   adolescence 68:2,15 123:20              131:1 132:13
   65:7,8,21 66:17 67:8,9,18 68:3         131:20 132:18 139:11
                                                                                agreement 72:17 73:2
   70:14,17,23 73:23 74:7 76:2,7 78:9,
                                         adolescent 81:17 92:17,25 93:4,10
   23 80:7 84:4,18,19 86:10 89:18                                               ahead 7:3 8:11 12:6,20 41:14 69:6
                                          117:15 132:7,9
   90:20 94:2,8 95:18 96:15 98:22                                                103:17 119:18 132:19 133:5
   99:16 100:23 101:1 103:25 105:25      adolescents 61:13,21 62:19,21
                                                                                AIDS 10:9
   106:2 107:18 108:11 111:2,19           81:21 82:3,6 84:5,8,17 85:9 86:7
   112:1,11,20 113:12,19,20 114:3,10,     93:23,24 94:7,13 106:22 107:11        aligned 49:19
   11 116:10,13 118:19 120:4 121:8        109:13,20 114:5,15 115:7 124:3
                                                                                aligns 44:15
   122:17 123:15 125:19 127:4 128:16      127:9,21 128:20 129:22 134:22
   130:6,21 132:15,16 133:6 135:14,23     135:12                                all 7:12 8:11 10:21 11:13 12:21 13:8
   136:1,8,25 137:11,12,15,25 138:1,2,                                           14:5,13 15:7 18:13,23 26:7,23 29:15
                                         adult 68:17
   7,22 140:22                                                                   30:12 38:9 41:14,16 45:12 53:18
                                         adulthood 99:11 123:19 128:9            55:4,13 56:3 58:3 62:2,4 66:5 68:24
  above 104:7 136:6,8
                                          130:25 131:20                          73:6 79:19 80:13,20 83:21 84:9
  absence 111:11,12                                                              85:22 86:20 87:15 90:14 97:2,17
                                         adults 11:8,9 34:16 61:13 62:20
                                                                                 101:14 102:10,24 105:13 106:18,25
  absolutely 78:19                        68:13,14 84:7 102:2 111:2,13,16
                                                                                 108:12 109:9 112:5 113:21 115:5
                                          117:15 118:9 123:22 126:5
  abstract 115:17 116:5,6 126:2                                                  116:9,25 122:3 124:24 129:11
                                         advance 77:7                            134:19 137:7 140:9
  abuse 57:11,15
                                         advantage 77:6                         Allen 116:25 119:14 120:1,15
  academic 129:9
                                         adverse 116:18 117:4                   Allen's 114:12 125:11
  Academy 115:18
                                         advise 6:24                            alleviated 126:3
  accepted 63:12
                                         affect 67:14                           allow 104:8
  access 7:9 65:17,23 67:25 68:1,17
   112:8,17 137:2                        after 14:3 21:13 37:17 47:21 59:21     allowed 32:18
                                          94:20 95:24 96:19 109:6 124:1,17
  accessing 66:16 67:11 68:18                                                   allude 137:6
                                          125:8 127:17 133:16 135:19 136:23
  accumulating 98:24 99:17                139:8                                 alluded 136:2
  accurate 12:25 13:21 34:9 40:10        afternoon 5:25                         along 12:17
   70:6 121:15 124:18
                                         afterwards 121:7                       already 125:13
  accurately 30:14                       again 11:6 16:7,12,24 17:9 18:2        also 5:13 10:10 11:20 16:14 17:1
  achieve 45:15                           19:2,12 20:18 21:2 25:12 26:13,24      19:7 20:2 23:3 24:20 30:1 49:11
                                          27:5,18 30:18 34:16 35:3 39:8 40:18    56:17 63:4 70:19 71:13 74:17 76:21
  ACLU 5:11,13,14                         48:3 51:19 56:6,10 68:17 70:9 72:22    82:19 90:12 95:8 96:3 104:22 105:7
                                          75:15 83:21 101:6 103:18 108:19        117:2 121:17 124:19 128:3 132:6
Case 1:23-cv-00595-JPH-KMB               Document 48-9         Filed 06/01/23        Page 41 of 73 PageID
                                               #: 1640
                                                                                                   Index: although..are
   139:9                                  24 66:12,17,23,24 67:7,12,13,19,25     anything 9:1 12:24 13:6 39:15
                                          68:5 69:4,7,13,17,20 70:14,21 71:7,     48:24 60:14 67:17 71:1 72:10 81:4
  although 96:9 111:4,14
                                          8,11,13,19,20 72:2,14,15,16 73:1,8      84:16 91:17 92:4 119:3
  always 23:3 29:25 43:7 58:23 84:10      74:17,19 75:8,15,20,24 76:5,20,23,
                                                                                 anyway 100:25 137:24
   85:24 129:5 130:18 131:3               25 77:1 78:8 79:7,20,21 80:16,17,
                                          18,19 81:10,16,25 82:14,18 83:25       anywhere 98:1
  am 10:3 29:2 73:23 100:4                84:2,4,7,13 85:2,5,8,9,13,14,22,23
                                          86:2,4,6,21 87:23 88:9,19 89:1,3,12,
                                                                                 APA 30:21 35:25
  ambiguity 16:24
                                          18 90:1,7,9,17,18,21,23,24,25 91:10    apart 31:3 138:22
  ambivalent 78:9                         92:7,17,19,20,21,22,25 93:4,12,17,
                                          19 94:5,9,10,19,22 95:8,15,22,25       appear 17:13 46:17,20 73:21
  American 28:14 42:23 115:18
   116:17                                 96:3,7,8,16,18,20,22 97:4,15 98:4,6,   appearance 16:3 17:20 23:10 28:2
                                          15,17,18,21,24 99:6,13,17,25 100:9,     46:15,22 73:21
  among 23:25 66:20 68:4 90:15            14,19,20 101:2,5,18,23,25 102:4,7,
   105:12 111:8 138:20                    21,22 103:3,14,23,25 104:3,4,15        appearing 45:22
  amount 69:6 70:11 134:23 139:14         105:1,6,15,16,20,23 106:12,23          appears 21:9
                                          107:10,11 108:9,20,25 109:5,10,12
  an 5:1 8:17 11:23 12:2 14:23 18:18      110:2,7,15,22 111:7,8 112:11,25        Appendix 115:13
   19:21 20:18 26:10 27:11,20 31:13,      113:3,9,17,18,22,24 114:8,11,12,19,    applicable 70:23
   16 33:15 34:25 38:12 39:6,11 42:17     22,24 115:1,4,14,18,19,22 116:4,5,
   43:10 44:15 47:9 55:4 56:16 59:5       9,11,12 118:2,12,14,25 119:1,6,14,     applied 68:10,13
   60:11,22 61:1 63:21 64:12 65:8         16,18 121:6,15 122:15 123:3,6,15,
   66:22 67:7 68:17 77:14 80:17,19
                                                                                 applies 70:9
                                          21,24 124:2,4,11,13 125:8,11,14,16,
   81:10 85:1,4 86:16,25 88:2 92:16       22,25 126:6,8,25 127:6,9,13,17,22      apply 60:12
   95:9,13 96:10,13 98:7 104:21           128:3,8,14,21,25 129:2,6,9,10,14,
   109:25 111:11 113:11 118:6 122:19                                             appropriate 78:2 79:2 92:25 93:22
                                          15,20 130:1,9,12 131:1,10,20,21,23,     94:1,9,23 95:3,13 127:10 128:6,15
   132:12 138:20                          25 132:8,9,11,19 133:3,4,5,7,10         135:20
  analogues 106:14 107:11,18              134:4,23,25 135:5,8,14,19,23 136:1,
                                          5,6,7,8,9,23 137:1,7,11,14,25 138:1,   appropriately 129:14
  analysis 26:10 105:11 115:1             2,8,9,13,15,19,22,23 139:8,22 141:5    approval 71:6,8
  analyze 91:10                          androgen 17:11 21:3,8 22:10             approval/disapproval 71:13
  anchor 58:7                            androgens 21:23                         approximates 62:17
  and 5:8,13,14,21,22 6:2,11,14,23       animals 18:18,20 19:25 20:6,16,19
   7:3,13,16 8:5,8,11,20,24 9:15 10:9,                                           are 5:13 6:11 8:6 10:21,23 11:1,2,4,
   17,25 11:4,9,13,15,20,21 12:6,17,20   Annelou 132:8                            13 14:8,13,16,17 15:2,15 16:14
   13:2,18,19,21,22 15:3,4,9 16:21                                                17:1,10,13,24 18:3,6,24 19:3,16,25
                                         another 25:8,15 28:17,18 32:10           21:6,24 22:12 23:9,16,25 24:3
   17:1,3,5,13 18:9,10,11 19:6,11,16,     35:12 40:20 42:3 72:9 137:1
   22 20:12,19,25 21:9,16,21,24,25                                                26:16,18,22 28:19,25 29:8,15,22
   22:1,8,17,18,23 23:5,6,10 25:10,13,   answer 20:20 36:24 48:5 55:4 56:3,       30:13 31:17,18,22 32:2 33:12 34:23
   24 26:2,3,4,9,17 27:1,5,6,11,12,14,    7 129:25                                35:3,7 36:6,10,16 37:10,19 38:1
   15 28:8,12,18 29:5,8,14,19,22                                                  39:18 42:15,18 44:21 45:6,7 46:3,6
                                         answered 36:18 130:4                     50:23 53:13 54:22 56:17,24 57:9,13,
   30:13,17 31:1,7,8,22 32:15,17,20,25
   33:10,11,24 34:1,16,23 35:7,12,21     answering 18:24                          16,21,22,24 58:9,16 59:11,19,20
   36:3,10,13,17 37:7,14,15,17,23,24,                                             60:1,21 64:19 66:8,9,11,16 67:10,
                                         anxiety 44:6 77:10,13                    16,22 68:18 69:20,25 70:1 71:17
   25 38:1,3,8,9 39:3,4,5,10,13,20,23
   40:1,15,18 41:8,9,14,24 42:4,8,14,    any 5:9 6:14 10:14 12:1 29:16 32:4       72:10,12,13,15,18,23 75:7 76:4,9,
   15,18,22 43:1,8,15,20 44:4,8,11        36:19 37:8 41:11 46:19 56:24 57:24      16,22 77:12,15,16,17 78:6 79:10,11,
   45:11,15,25 46:6,15,17,18 47:10        58:10,16 59:3,11 60:14 67:17,20         13 80:16 81:9 84:1,24 85:21 86:12,
   48:4,5,16,23 49:14,21 50:1,11,12,      68:3 70:12 83:6,7 85:10 86:8 92:24      21 88:5 91:5 92:13 93:18 94:6,12
   13,22,24,25 51:6,20 52:5,11,14,19,     93:17 108:24 110:3 111:19 113:9         97:15 99:21 100:14,15,20,25 101:16
   21,22,25 53:1,5,11,16,19 54:13,16,     117:8 137:17 139:4 140:21 141:2         102:15 107:21 108:7,8,9 109:2
   18,19,22,25 55:2,3,4,13 56:10,21,22                                            110:21 112:2,5,10 113:11,18 114:6,
                                         anybody 23:25 77:20,25                   12 118:4 119:5,11 120:3 122:25
   57:8,22 58:25 60:4,5,6,10,16 61:1,
   13,14 62:5,7,19,25 63:5,17,19         anyone 9:6 34:22 80:3                    130:6 131:10,18 134:19 135:6,7,14,
   64:13,16,21,23,24,25 65:12,16,18,                                              24 136:5,11,20 138:17 139:19
Case 1:23-cv-00595-JPH-KMB               Document 48-9          Filed 06/01/23      Page 42 of 73 PageID
                                               #: 1641
                                                                                                         Index: area..be
   140:5,8,9,12,14                       assigned 15:21 16:10,14,18 23:2         103:4,12 122:7 124:23 126:12
                                          27:7,19,23 28:5 29:18 43:18 44:15
  area 11:24 34:25 85:10                                                        average 110:1
                                          45:3 49:19 51:22 58:5 67:10,12,13
  areas 11:15 85:24 86:8 100:18           68:12 74:16 75:8,18 94:5,7 96:1       avoidance 64:12
  aren't 41:7 68:1 105:4                 assist 83:7                            avoiding 63:22
  argument 129:20                        associate 5:2 46:21                    aware 34:4 56:24 57:7,9,16,24 58:9,
                                                                                 16 59:3,11,14 72:10 76:9,16 92:13
  Arnold 18:10                           associated 24:7 131:15 137:3
                                                                                 101:20 106:4
  around 47:4 51:1 62:1 63:15,17         Associates 5:2
                                                                                awareness 12:2 30:5
   64:3 70:15 94:9 114:8
                                         Association 28:14
                                                                                away 41:8 53:13 94:17
  article 106:2
                                         Association's 42:24
  articles 105:1 114:2
                                         assume 6:21 35:24 87:6 98:14                             B
  as 5:22 9:20 15:6,8 16:5 17:1,14,19     99:14
   19:3 25:1,4,7,12 27:2,5,7 28:7,21                                            babies 47:21
                                         at 9:12,18 10:25 12:3 14:3 15:7,22
   29:2,13 30:7,19,21 31:17 33:18,21
                                          16:10,14,18 18:6 19:21 21:5 23:2      baby 16:2 21:1,4 22:23 23:1,7
   35:4,16 37:13 38:1 39:9,21 40:9
                                          27:7,19,23 28:6,9 29:19 30:13 31:14    46:10,25 47:6,8 48:13
   42:8,11,12,16 43:8,10,11,20 45:19,
                                          34:11,12 35:16 40:5,13,17 41:22
   21,23 46:23 48:12 49:9,12,18 50:4,                                           baby's 20:25 23:6
                                          43:18 44:16 45:3 49:19 50:4,12
   13,17,23 51:1,15,20,24 52:3 54:22,
                                          51:22 54:12 58:5 59:24 60:5,23        back 10:25 12:2 26:13 41:21 51:19
   24 55:1,22,25 58:6,13 59:2,5,19
                                          61:1,6 62:6,23 63:17 64:11 66:25       54:18 79:19 92:7 97:21 99:24 100:3
   63:2 65:14,25 66:9,11,15,22 68:14,
                                          67:5,11,12,13,24 68:5,12 72:1 73:16    111:7 113:2 118:1 133:5
   20 69:3,16 71:4 72:2 73:4,6 74:3,7,
                                          74:12,16 75:1,8,19 76:3 79:23 80:16
   17,20,23,24 75:14,19 76:5 81:17                                              background 9:10
                                          81:18 83:19,22 85:11,17 89:17
   85:19,22 86:10 88:25 89:2,23 90:2,
                                          90:11 91:24 92:8 93:7 94:5,7,16       bad 26:22
   24 91:8 101:9 102:1,11 103:10,11
                                          96:2 97:23 100:4,7 101:14,25 102:6,
   108:10 111:15,16 112:17 116:11,14,                                           Baker 80:25 117:13,19
                                          7 103:11 106:12 113:3,6 115:18
   16 120:23 121:2 122:3 123:21 127:3
                                          116:3 117:9,10 120:19,21,22,23        ban 112:18
   129:7 131:24 136:5,14 138:7,10
                                          121:6,8,14 122:3,22,25 123:5
   139:4,5                                                                      Bangasser 18:10
                                          126:12 128:19 130:11,18 131:2
  aside 22:20,21 25:25 30:10              134:19 139:7 141:7
                                                                                banning 112:2
  ask 17:6 26:25 29:22,25 30:3 40:16     attached 13:20                         base 80:8,14,17,20 81:10 83:11,13,
   72:9 73:7 102:21 113:20 135:13                                                19,22 85:4
                                         attacks 31:22,23
  asked 59:20                                                                   based 16:3 24:3,16 86:3 88:24 99:8
                                         attempts 135:6
  asking 23:4 28:25 55:11 56:2,3 57:7                                            116:5,13
                                         Attorney 5:16 6:2
   59:14 75:15 122:17 133:6                                                     basically 6:19
                                         attracted 58:13,14,15 60:25
  aspect 20:21 46:18 56:16                                                      basing 64:21
                                         attraction 58:7 60:3
  aspects 23:9 42:18 45:18,21 53:12                                             basis 89:1 91:8
   56:17 76:3,7 84:14                    Austin 5:1
                                                                                battery 37:4
  assent 93:3 132:13                     author 91:16 115:19 116:8 132:5
                                                                                be 6:2,9 7:10 8:2,16 14:22 17:12
  assert 128:11 129:18                   authored 117:13                         22:9 23:19,21 24:6 25:4,18 28:6
  asserted 30:14                         authors 18:6,10 69:17 70:21 82:2        29:4,12 30:4,21,23 31:4,9,19,20
                                          83:6 103:12 104:1 134:7                33:13 34:9 35:13 37:11 38:25 46:6,
  assess 32:2 108:14                                                             14,15,20,24 49:2,7,9,12 50:8,11,12,
                                         autism 57:17,21                         14 53:1,11,16,22 54:3,13,16,21
  assessed 108:10 121:5
                                         automatic 63:21                         56:12 58:3 61:5 62:8 63:9 64:4,13,
  assessing 32:11,22                                                             14,17 67:13 68:16 69:4 74:10,23
                                         availability 67:14                      76:19 77:2,5,14,22 78:2,12,13,17,
  assessment 33:4 34:23 37:5 71:20
   72:14,24 95:14 132:9,12,18            available 47:18 82:1,20 89:4 98:6       19,25 79:4,14 83:6 89:16 91:2 92:25
                                                                                 94:1,14,18,21,24 95:6,8,11,12 96:21
Case 1:23-cv-00595-JPH-KMB               Document 48-9          Filed 06/01/23      Page 43 of 73 PageID
                                               #: 1642
                                                                                                   Index: became..but
   97:3,4 99:10,12,14 103:8 104:7,16,    benefit 77:8,11,16 94:10 105:17        bodies 125:20
   19 105:24 106:19 108:4,14 109:10,      117:3,6,11,17 129:20 134:14
                                                                                body 44:23 45:21,24 46:16,21,22
   11,18 110:18 113:10,12 119:16
                                         benefited 128:12                        48:23 49:1,2 76:3,8 114:19 119:10
   120:3 127:24 129:21 133:12 135:3
   138:3 140:3,22                        benefits 76:25 99:25 100:22 101:21     born 47:21
                                          114:16 116:17,20,25 117:14,18
  became 63:11                                                                  Boston 61:7,17
                                          135:1,20,23 137:7,11,16,19
  because 16:16,25 19:9 26:16 27:19                                             both 16:25 49:10 58:15 60:9 66:23
                                         besides 42:4 48:21 84:16
   28:9 30:7 33:6 35:3,5,6 41:12 46:24                                           86:4 98:17 116:15 119:13
   49:11 50:16 55:19 58:4 59:22 61:6     best 6:23 23:24 44:10 51:16 84:2,12
   62:13,23 63:20 64:18 69:5 70:24
                                                                                bottom 87:10 122:22,25
                                          85:7 110:24
   74:19 75:16 76:1 77:11 78:9 79:12,                                           boy 46:23 56:13
   13,25 82:6,9 84:8 87:23,25 92:16,20
                                         better 51:19 65:23 77:12 109:5
   101:7 103:19 104:3 110:6,11 117:22
                                          126:5                                 boys 12:5
   122:14 129:7,21 135:10 139:2 140:1    between 25:10 35:11 51:5 110:2         brackets 28:18,19
                                          113:17 125:21 134:6
  become 38:10 64:2                                                             brain 26:4
  becomes 96:18,22                       beyond 110:4
                                                                                break 41:15 68:22 91:25 92:4 96:25
  been 5:20 10:10,11 11:15,23 24:11      Bhargava 18:10                          130:9 132:20
   33:8 37:11 38:12 41:1,3 47:2,3,5,21   bias 100:24 104:5 108:9                breaking 38:13
   48:7 52:24 58:12 61:12,19,20 62:1
   64:12,19 65:1 66:4,13,22 68:11 78:9   bibliography 13:22 14:1 115:23         breast 95:25
   84:6 85:13 94:4 98:16 103:5 105:7      122:12
                                                                                brevity 117:24 122:14
   106:7,24 109:16 110:6,14,22 111:7     big 33:20 71:19 82:1
   112:7 116:18,20 117:16,23 119:17                                             briefer 113:15
   122:13 124:10 125:9,13,16 130:6       bigger 26:21 75:5 107:6
                                                                                briefly 102:17 103:24
   135:1 137:3 139:9                     billing 63:8
                                                                                bring 71:23 72:2 123:6
  before 6:17 7:18,25 8:9,14 9:15 10:4   binary 42:14,17 43:19,23 44:20,24
   24:5,23 62:15 78:20 79:1 92:4          45:1,9 50:24 51:20 52:11 76:5 140:4
                                                                                bringing 104:25
   94:13,16 97:18 99:10 101:11,15                                               British 111:18 112:9
   106:23 111:21 115:2,16 121:5          biologic 26:15
   122:24 125:8,10 130:16 131:4,12       biological 11:23 19:6,8                broad 82:7 83:24
   136:23,25 137:9 138:25 139:3                                                 broader 14:11 82:19,21 83:5
                                         bipolar 39:24 40:2,8,22 41:2,9,13
  beginning 67:24                                                               broadly 83:19,22
                                         birth 15:22 16:2,10,15,19 21:5 23:3
  behalf 5:12                             27:7,19,23 28:6 29:19 43:19 44:16     brought 61:7
  behavior 24:4,24,25                     45:3 49:19 51:22 58:5 67:11,12,13
                                          68:12 74:16 75:8,19 94:5,7 96:2       bucket 74:18
  behaviors 24:7                                                                bunch 73:3
                                         birth-assigned 46:4
  behind 123:5                                                                  but 5:21 7:1,12,13 9:3 10:9 13:12
                                         bit 7:2,23,24 12:18 26:21 33:10,18
  being 5:6 6:10 11:22 25:8,15 28:16      46:12 52:15 59:12 69:7 75:5 107:6,     14:11,22 16:13,15 17:2,12,14,22
   29:9,18,20 42:1 45:19,23 46:9 48:10    7,17 109:5,6 118:19                    19:3,9,10,21,25 20:2,12 21:4,9,14
   53:3 54:19,23 55:25 56:21 58:13,21                                            22:7,12,20 23:3,13,19 24:9,21 27:2,
   59:19,20 64:23,24 93:17               blend 28:17 42:2,22 43:4                8 28:14,18 30:1,18,24 31:21 32:8,
                                                                                 19,20 34:4 35:5 36:9,15 37:17 39:1,
  Belgian 67:9                           block 108:2
                                                                                 24 40:15,17 42:10,18,20 43:19,21
  believe 23:17 34:16 80:25              blocker 108:1                           44:6,13 45:1,8,12,23 46:22 47:7,22,
                                                                                 24 48:5 49:10 50:6 51:3,11,22 54:13
  believing 24:22                        blockers 61:8 92:10,15 102:6
                                                                                 56:1,17,20 57:20 59:25 60:8,21
                                          112:12 114:22 127:6 140:14
  bell 140:15                                                                    61:9,11,23 62:1,16 63:24 64:10
                                         board 38:10                             65:12 66:7 69:17,19 70:4,10,22
  below 28:11                                                                    71:17 72:17 73:4,6,9,21 74:3,4,14,
                                         boards 38:5,6
  beneficial 76:19                                                               15,16 75:19 76:3,5 77:4 78:17 80:3
                                                                                 81:18,22 82:6,13,18 83:2,4 84:11
Case 1:23-cv-00595-JPH-KMB               Document 48-9         Filed 06/01/23       Page 44 of 73 PageID
                                               #: 1643
                                                                                                         Index: by..cite
   85:5,23 88:1 89:22,24 90:4,9,12,13,    14,16,22,23 68:1,6,11,13,17,18        chance 102:18 110:24
   15,21 91:4,16,23 92:5,8,24 93:2,5,     69:8,11,19,25 70:3,15,17,18,24
                                                                                change 50:20 51:15 52:18 53:3,7,25
   14 94:14,24 99:12 100:25 101:25        71:1,4 72:5,19 75:25 76:21 77:3
                                                                                 54:8,10 55:7,8,12,13,14,16 56:4
   103:4,18 104:22,23 105:11 106:2,24     79:8 80:9 81:14 82:13 83:12 84:3,4,
                                                                                 64:4 65:16 68:4 92:13 93:8,14
   109:7,17 110:19,21 111:2,15,25         15 85:3 87:22 88:1,2 93:18,21 94:1,
   112:13 113:18 114:24 115:16 116:6,     18 98:17 99:22 101:3,5,7,22 103:2     changed 35:25
   7,19 117:5,15,23 118:9,17,18 123:4,    105:18 110:23 111:12,14 112:2,6,8,
   19 125:7 126:1,14,17 127:4 129:1,5,    15,19,21 114:5,15,24 115:2,3,7
                                                                                changing 43:7 93:15
   13 130:22 131:16 132:15,16,17          117:1,3,13,18 118:11,13,22 124:12     chapter 73:1,16,20 74:1,3,4,9 75:1,
   134:13 135:9 136:3,16,20 138:15        125:15,16,18 126:9 132:7,13 134:22     7 81:17,18,19 82:6,14 83:2,4,9 88:3
   139:20,24,25 140:3,6,18 141:2          135:2,20,24 136:4,21,24 137:3,6,7,     92:18 93:10,14 132:6,7,8
                                          12,14,17,18,19 138:13,14,19
  by 5:24 7:7,20 18:5,10 22:1,18 38:1                                           chapters 71:17,20,21 72:14,15,24
   41:23 43:1 45:20 47:12 48:10,21       case 7:6 8:5 12:13 21:20 22:10,18,      73:3 82:2,14 83:3,7
   49:3,5,12 50:12,16 52:19 54:20         21 23:3 106:5 107:2 135:5
   63:12 64:1 65:22 69:2 70:2 71:6,15                                           characteristics 26:1
                                         cases 9:3 16:18 132:1
   78:22 80:13 81:9 83:6 88:5 95:25                                             Chase 5:11 7:7 13:16 89:15 92:3
   96:11 97:9 101:17 104:4 114:18        Cass 112:18 140:9,10                    126:10 140:23
   119:9,14 120:14 121:21 122:10
   129:2 133:1
                                         categories 10:14                       chat 119:19,24 122:1
                                         categorization 44:13                   checking 38:11
                      C                  causal 133:25                          Chen 114:18 116:25 121:25 122:2,8,
                                                                                 11,12 133:8,10,11,12
                                         causality 128:11,16 130:2 134:10
  California 63:24 64:10 65:7,22
                                         causation 125:21 127:11,25 129:1,      chest 92:19 94:6,9,11 95:17,18,20,
  call 26:8                               16
                                                                                 23,24 96:1 119:8,11
  came 10:8 18:5 53:20 69:20 71:6        cause 63:1                             child 23:18 24:1,5,11,17,21,23 25:2,
   80:24 86:18 88:3                                                              5 81:17 92:10
                                         caused 101:17
  can 6:23 7:13 12:12 13:19 15:20,21                                            child's 24:1,4,10 25:2
   16:9 19:9 20:5,11,20,25 22:22 23:1,   causing 50:19
                                                                                childbirth 47:13
   5 24:15 25:1,12 26:20 28:6 30:17
                                         caution 19:8 99:13
   32:14 38:22 39:19 42:10 45:24                                                children 23:16,24 56:25 57:2,10,17,
   46:12 49:2,4,7,9,16 50:6,19,20,22,    cautiously 99:23                        25 58:17,24,25 59:1,4,9,15,20,22
   25 51:14 53:10 54:3,12,22 55:22                                               60:16 81:4,6,9 102:13 107:11
                                         cells 21:23
   58:3 59:12,23 67:24 68:17 76:6,19                                             109:12 140:13
   79:22 87:10 88:14 89:5 92:3 94:1,     center 133:13
                                                                                Children's 61:7,17 114:13
   17,23 95:11 97:12 99:2 100:4,6
                                         central 137:13
   102:5,20 105:9,24 107:6 113:13                                               choice 55:25
   115:10 116:22 117:9 119:18,21         certain 76:3 83:3
   122:6 123:3,6,11,15 125:5 126:11,
                                                                                choices 84:13 97:6
   13 130:9,13 132:20 134:4 135:3
                                         certainly 16:15,21 18:2 19:20,22
                                                                                chromosomally 16:12,13
                                          23:9 27:18 28:1 29:5,12 31:17 32:8
   136:9 139:19 140:6,17 141:5
                                          36:11 37:17,25 38:2 39:18 40:25       chromosome 16:13 17:4
  can't 19:24 39:11 40:25 48:17 60:21     41:1 43:9 50:14,18 55:22 60:1,22
   72:22 80:3 97:16 99:19                                                       chromosomes 17:10,16,20 21:9,
                                          65:22 69:16 70:10,11 71:9 72:16
                                                                                 11,17,21 23:12 26:1
                                          73:7 81:18 101:7 105:23 116:16
  canal 96:23
                                          117:2 124:22 130:23 132:9 139:9       circumstance 22:20 38:20 40:4
  cancer 85:13 86:8
                                         certainty 24:10,16 84:25 85:14         circumstances 24:24 35:24 78:6,
  cannot 6:14                             86:13 89:14 107:24 108:10,22,25        14 94:15,24 95:11
                                          109:3
  capability 12:20                                                              cisgender 10:20 11:7 47:5,10 50:2
                                         certificate 15:23 16:3                  51:13 55:2 124:5 128:24 138:15
  capacity 131:23
                                         certified 38:10                        citations 113:9,18,24 122:15
  care 8:4,18 11:20,21 36:11 45:8 46:2
   61:13,21 65:17,23 66:16,24 67:11,     cetera 19:15 29:10 46:17 135:25        cite 97:25 107:1 113:14 122:14
Case 1:23-cv-00595-JPH-KMB                Document 48-9         Filed 06/01/23     Page 45 of 73 PageID
                                                #: 1644
                                                                                               Index: cited..constant
  cited 115:12,15 116:24 117:20,22,       comfortable 18:24 52:14 71:16        conclude 137:16
   25 118:17
                                          coming 11:2 31:19 32:1 38:13 110:9   concluded 135:19 141:7
  cites 119:12
                                          commentary 18:19                     concluding 137:19
  City 114:13 120:22
                                          commenting 93:13                     conclusion 53:20 58:21 104:22
  claiming 127:24 128:2                                                          112:18 116:19 118:13 128:16 129:2
                                          comments 70:21
                                                                                 130:1
  claims 64:21
                                          commission 89:19,25
                                                                               conclusions 98:4 104:13 106:3
  clarify 13:22 42:11 54:8
                                          committed 134:15                       112:14 127:5 130:12 133:25 134:4,8
  clarity 123:11
                                          committee 71:7                       concrete 46:6
  clear 6:23 54:13 57:20 63:7,21,25
                                          common 43:9 45:8 47:22 61:8 85:2     conditioned 63:22
   65:13 66:14 131:17 136:5
                                           86:15
                                                                               conditions 32:4 36:19 78:18,22
  clearer 62:8
                                          commonly 47:12 96:16 139:24            83:14,17 85:2,22
  clerk 5:18
                                          communicate 20:16 23:20 24:6         conduct 22:3
  clinic 61:4,6,10,12,15,17,20,23 62:6,    25:5
                                                                               conference 67:5
   8 114:23 120:22
                                          communicates 32:10
                                                                               conferences 116:3
  clinical 9:17,19,24 10:1,2,4,13
                                          communicating 29:12
   11:21 32:2 36:4,20 37:7,22,24 39:2,                                         confine 18:19
   5,11 53:14 54:15 74:13,14 83:20,23     communication 20:12,13,21 21:25
                                                                               confirm 23:21 32:4 87:11,12 137:8
   84:2,12,15 85:6 86:3,4,25 88:4,19       22:2,4,13
   91:5 92:22 98:18 105:6 114:3,6                                              conflicts 101:17
   116:10,13 125:14 139:9
                                          companies 63:13 69:18
                                                                               confounding 108:9
  clinically 93:25                        comparable 83:12 128:24
                                                                               confusing 35:9
  clinician 25:1,4 28:25 29:2             comparative 107:13
                                                                               confusion 58:3
  clinicians 35:19 36:3 38:1 76:10        compare 115:2
   135:8
                                                                               congruence 114:19
                                          compared 67:11
  clinics 63:19 64:16 112:20                                                   connect 40:18
                                          comparing 114:21
  clitoris 96:18,21                                                            connection 133:2
                                          comparisons 136:23
  co-lead 132:6                                                                consensus 92:21 93:17
                                          compiled 80:17
  co-occurring 128:20                                                          consent 93:4 101:4 131:24 132:11,
                                          complaint 7:6 8:3,5
                                                                                 14 137:13 138:21
  cognitive 93:2 103:23                   complete 6:15 17:11 21:3,8 22:10
                                                                               consenting 95:9
  cohort 60:13,17 67:18 68:4,5            completeness 17:5
   128:22 131:6 135:4
                                                                               consider 74:10 85:18 138:3
                                          completion 110:13
  collecting 124:13                                                            consideration 101:8 105:20 112:11
                                          complex 104:14,17 107:22 108:20,       125:5
  collection 121:25                        25
                                                                               considerations 138:20
  college 94:17,20                        complications 117:5
                                                                               considered 99:10
  column 131:22                           component 20:13
                                                                               considering 37:2
  columns 130:16                          comprehensive 64:20
                                                                               consistency 34:15
  combining 85:5                          concern 39:4
                                                                               consistent 34:12 35:21 50:3,9
  come 30:17 35:4 40:2 48:4 52:12         concerned 29:3 139:5                   56:18 75:11 114:6
   54:18 56:13 61:1 86:9 109:6 119:6
                                          concerns 79:4 101:1,3 111:19         consists 75:22
  comes 22:8 29:19 41:8 50:6,7 84:17       112:1 128:21
   85:10 86:17
                                                                               constant 66:4
Case 1:23-cv-00595-JPH-KMB              Document 48-9          Filed 06/01/23     Page 46 of 73 PageID
                                              #: 1645
                                                                                      Index: constitute..depressive
  constitute 82:22                      cover 30:12                           deciding 54:21
  contact 91:15                         coverage 64:1,25                      decision 74:5
  contents 73:11                        covered 118:2                         decisions 83:20,23 85:7 86:3
  context 113:1                         created 96:11                         declaration 7:18 8:24 12:7,13,16,
                                                                                24 13:1,20 14:2 15:3 25:17,23 41:20
  contexts 50:7                         creation 96:9,17
                                                                                54:13 55:14 79:20 106:5,8 107:2
  continue 139:12                       CRISMA 90:8                             113:2 117:22 122:16,19 133:3 136:3
                                                                                137:9
  continued 110:7,19,20                 criteria 34:14,23 131:25 132:1
                                                                              declarations 15:6 117:23
  continuing 99:21 110:21 112:14        cross-gender 24:5,25
                                                                              decrease 100:19
  contracted 80:15                      cross-sectional 67:3
                                                                              deep 28:15,21,23 29:9,17,20 42:1
  contributes 128:7                     cross-sex 24:24 92:11 100:9,18,22
                                         123:21                               deeper 46:23
  control 121:1 133:22
                                        CSH 131:25                            deeply 25:8,14
  controls 124:5 125:1 128:24 133:23
                                        cull 60:14                            Defendant's 6:5
  conversation 15:7 23:14 24:11
   30:2 48:4,16,17 131:17               culture 56:17                         defending 71:19
  conversion 52:25                      cultures 56:19                        defined 25:7
  copy 90:18                            curious 54:6                          definition 15:14 42:24
  Cornell 118:7,15,19                   current 9:11 10:20,22 69:20           degree 24:9 45:23
  corner 73:12                          cut 65:3 79:17                        Dekker 13:3
  correct 8:6 14:20 23:7 33:22 34:3     cuts 79:25                            delivering 16:2
   39:10 137:10
                                        CV 12:17 13:12,19,22 14:3             Delphi 71:5 93:12
  corrections 70:22
                                                                              demographics 66:17
  could 7:22 12:15 17:12 30:23 34:21                       D
                                                                              demonstrate 131:5
   42:10 43:20 44:4,5 50:14 51:14
   52:12 56:19 57:15 62:24 63:1 72:2    Dan 5:7,19                            demonstrated 84:7 130:23
   73:7 74:23 75:20 77:4 79:4,9 83:6
                                        data 56:24 57:9,16,24 58:10,12,16     demonstrates 86:2 130:2
   90:17 94:14,24 95:12 101:23 104:7
   105:2 111:9 113:6 114:1,11 119:23,    59:4,11,14 60:15 67:2,4,17 68:10     Department 63:16,18
   24 120:3 127:13 131:14 133:4          90:20 110:5,11,17,20 111:1,3 115:5
   137:23 140:17                         124:13 126:24 128:22 129:10          depending 95:5

  couldn't 63:19,25                     database 64:20 82:1,10,19,21 83:5     depends 131:9
                                         84:21 112:25                         deponent 5:7
  Council 97:6
                                        date 5:4 87:25                        deposed 6:10
  counsel 5:8 41:10
                                        day 7:12                              deposition 5:6 6:3,5,6,12,17 7:5
  counseling 85:18 101:5
                                        de 117:2 122:21,23 123:1,9 132:8        8:13,23 9:5,7 12:9 69:9 72:4 87:2
  count 97:3                                                                    97:8 102:14 106:15 109:14 120:13
                                        deal 36:19 99:13                        123:8 141:7
  countries 47:20 112:5
                                        dealing 85:3                          depositions 13:2
  country 65:25 132:10
                                        Debbi 5:1 141:5                       depressed 39:24
  couple 6:20 38:15 81:2 99:24 100:3
   116:3 117:14 119:8 131:21            decade 62:5,21                        depression 11:19 41:4 44:5 63:4
                                        decades 98:17 114:6                     77:11,13
  course 10:18 12:1 109:4 114:24
   137:13                               decide 14:25 53:10                    depressive 35:9 39:20 40:1,5,9,11
Case 1:23-cv-00595-JPH-KMB                Document 48-9         Filed 06/01/23      Page 47 of 73 PageID
                                                #: 1646
                                                                                                Index: Deputy..doctors
  Deputy 6:2                              Diane 114:18 133:12                   discussed 55:21 89:10 135:24
                                                                                 136:15
  describe 17:23 51:11 134:13             did 14:25 17:17 25:20 33:21,25
   138:11                                  34:17 35:25 37:14 61:15,18 65:15     discussing 34:7
                                           67:17 73:20 81:14,22 82:22 83:1
  described 22:21 52:8 121:2 136:6                                              discussion 47:23 66:25 67:8 68:9
                                           88:9 90:2 92:24 93:8 97:20,25
                                                                                 103:22 107:9 109:23 137:8,12
  describes 90:1                           100:19 107:1 113:15 114:13,25
                                           115:2,8 116:6 121:4 127:3 128:18     disorder 35:9 39:20,24 40:1,2,5,8,
  descriptor 28:7                          131:5 133:23                          10,22 41:2,9,13 57:18,22 62:18,19,
  design 128:14 129:2,15 130:1            didn't 18:23 39:22 60:6 62:13 65:3
                                                                                 22 63:5,7
  desire 43:21 47:13,15 48:13 49:12,       74:23 79:17 115:20,21,22 118:6       disorders 30:20 77:14
   13,14,18,21,23 53:1                     121:23 122:18 126:18 134:19
                                                                                display 119:24
  desiring 74:17                          differ 19:16 59:1 75:17
                                                                                distant 40:13
  desistance 130:22 131:8,13,17           difference 23:22 25:10 35:11 51:5
                                           92:15
                                                                                distinct 17:25 18:13,24 33:12 35:3,8
   138:2,3,7,22,23,25 139:1,4,14,18
                                                                                 36:10,17
  desperately 53:22                       differences 19:25 93:19 134:5
                                                                                distinction 17:22
  detail 113:16 132:17                    different 15:12,20 17:2 19:9 23:18
                                           25:12 26:16,18,25 27:6 28:5 30:6
                                                                                distinguish 131:14
  detect 20:25                             34:14 35:19 36:2 42:21 43:18 45:2    distress 29:4 30:7,10,22 31:3,21
  detecting 40:21                          51:2,13 54:3 55:18 58:4 61:5 62:15    45:16,18,20 50:19 76:2,7
                                           70:2,4,19 80:1 82:11 83:25 84:14
  detector 15:25                           107:18 115:19 116:1,7,8 120:4        distressed 45:15 46:3,7,9,15,16
  determination 27:24 94:22                133:11,19                            do 6:7,9 7:7 8:2,16 9:24 10:20,22
                                          differential 38:9                      13:11,25 15:12 16:18,23 18:15
  determine 24:1 28:8,21,24 29:8                                                 19:18 20:23 21:21,24 26:5,8 27:10,
  determines 28:25                        differently 30:25                      12 28:8,20,23 29:13,20,22 30:3
                                                                                 32:4,20 34:22 37:3,7,8 38:6,14,17
  detransition 139:21                     difficult 78:14 104:13 107:23
                                                                                 39:2 40:8 41:4,6,13 43:3,4,14,24
                                           130:19 131:3
  devastating 135:8                                                              47:2,14 48:21 49:4,5,13,20 53:23
                                          difficulty 21:5                        54:2,8,22 55:8,13 56:21 61:3,25
  developing 65:2,5 72:17                                                        64:6,7 66:2 69:10,14 71:22 73:18,25
                                          digest 102:18
  development 11:23 52:6 60:2,9,11,                                              74:10 76:18,20 77:7 78:22 80:13
   22 70:3                                Dimensions 61:10,20                    83:15 87:3,21 88:1 89:15 90:22
                                                                                 91:15,25 92:1 93:16,22 97:10,17
  developmental 30:5 128:6                direction 67:20
                                                                                 98:4,11 99:1 100:11,13 104:8,11
  devoted 10:5                            directly 93:9                          105:13 106:16,18 107:14,16 109:15,
                                                                                 18 110:17 111:18,25 112:9,22 115:1
  diagnose 37:1                           disagree 19:20 20:2 55:16 56:5         116:17 118:6 119:21,22 121:8,24
                                           71:2 72:11
  diagnosed 41:2,7 60:17 62:10,22                                                122:14 125:4 126:10,12,24 127:2,24
   64:8 65:9 66:1                         disagreed 71:10                        128:10,15 129:13,25 130:20 132:2,
                                                                                 4,21 134:10 135:21 138:3,8
  diagnoses 33:13 35:22,25 36:13,14       disapproval 71:8
   37:12,18,20,25 63:20 130:25                                                  doctor 6:1,7 7:17,21,25 8:14 9:9
                                          disclosed 103:13                       12:10,16,22 13:11 14:5 22:9,18
  diagnosing 33:16 40:11                  discomfort 48:23 49:1,2,5,6,7          29:17,19 38:17 41:24 61:3 69:10
  diagnosis 30:9,22 31:12 33:7,9,12,                                             72:5 73:16 75:6 79:22 87:3,12 89:17
                                          discounting 112:13                     92:7 97:10 98:4 102:15 103:10,17
   22,23 34:3,6,8,15,17 35:11,12,14,
   18,20 36:3,14,16 37:9 38:4,8,9 39:1,   discover 21:16                         106:16 107:8 109:15 113:5 119:13
   2,6,9,10,12,20 52:3,4 58:18 62:13,                                            120:15 122:11 123:9 126:11 133:2
                                          discriminate 63:25                     135:17 137:15,18,24 141:1,5
   16,24 63:1,7,10,23 64:2,3,5,12,14,
   15,17,24,25 65:18,20 74:21 85:13,      discrimination 50:16                  doctor's 13:19
   16 86:8 131:19
                                          discuss 79:7 114:2 138:9,17           doctors 85:22
  diagnostic 34:18,23 38:18
Case 1:23-cv-00595-JPH-KMB               Document 48-9          Filed 06/01/23       Page 48 of 73 PageID
                                               #: 1647
                                                                                                 Index: document..error
  document 6:7,9 7:25 8:2,8,14 12:10     DSM-5 30:9 35:12                         106:21 110:25 111:10 126:24
   14:4 25:19 69:10 70:7 71:19,25 75:3
                                         duly 5:20                               efficacy 98:18 105:20 112:11
   81:15 87:3,5,6,16,21 88:4,23 89:9,
   16 91:13 92:1,21 93:17 97:7,10,12,    duration 110:1 111:4                    either 38:23 58:9 67:20 69:22 90:17
   18,25 107:5 109:11,15,18 111:25                                                112:12
                                         during 9:20 94:19 100:17 123:20
   119:24
                                          124:19 134:16                          electronic 63:20
  documents 8:24 13:18 111:18,21
                                         Dutch 33:19 35:16 61:7 67:1 68:9        elevation 41:12
  does 12:10 15:18 24:9 28:6 29:17        110:5,14 115:5 116:16 117:1,10
   30:24 31:2,3 42:13 46:8,23 56:12
                                                                                 eligibility 132:1
                                          129:8 130:22 131:10
   60:13 75:15 87:12 90:4 95:5,20                                                eligible 90:7
   96:5,7 118:25 120:11 121:10 125:21
                                         dying 85:20
   127:4,11 139:24 140:15                                                        eliminate 75:8
                                         dysphoria 10:6,24 11:3 29:4 30:9,
  doesn't 27:13 32:17 43:19 54:5 77:1     11 31:20 33:9,12,16,20,24 35:5,7,      eliminated 64:9
                                          11,14 36:7 39:13,16 43:21 44:5,23
   105:4 109:7                                                                   else 9:1 13:6 33:14 48:19,21,24
                                          45:24 48:1,12 52:5 53:4 54:18 56:25
  dog 20:11                                                                       86:17 92:4 119:3
                                          57:3,10,17,25 58:17 59:5,15 60:18
                                          62:7,9,10 64:2,8 65:9 66:2 74:15,16,   elsewhere 74:3 118:18
  doing 39:4 80:16 99:22 110:14
                                          21,22 75:17,18,21,22 76:6,11 77:20,
   124:10                                                                        emeritus 9:12,13,15 10:4
                                          25 78:25 79:14 80:19 82:8 87:8,19
  dominate 26:10                          94:8 95:18 98:14 101:16 105:8          enabling 128:4,5
                                          106:22 107:12 109:13,21 114:6
  don't 6:22 13:14 20:6,19 21:10 31:8                                            end 14:3 71:15 78:11 90:11 92:20
                                          125:19 126:3 130:25 131:19 134:23
   32:18 33:7 40:15 41:2 42:11,16                                                 107:22
                                          136:5 138:4 139:11,16
   43:10 44:12,14,19,20 45:10 50:4
   56:6,7 58:23 59:22 62:1,7,23 64:19    dysphoric 75:14                         ended 128:23
   67:25 71:17 72:13,15 74:8 77:2 81:5                                           endocrine 18:6,7 19:6,7 26:14
                                         dysphorics 66:20
   82:4 84:10 85:24 89:23 90:9,21,24                                              86:23,25 87:7,17 88:3
   91:16,23 98:2,19 99:18 101:12         dysthymia 35:9
   104:20 108:18 111:23 112:3 113:9                                              endocrinologists 87:20
   119:1,20 120:10 121:13,20 122:2,8,                                            endocrinology 82:16 88:19 90:3
                                                          E
   14,16 124:23 140:5,18,20 141:2
                                                                                 endogenous 26:2
  done 9:3 11:17 22:4 31:9 47:5 53:18    each 19:17 20:24 42:18 70:21 71:5
   61:14 86:12 91:4 99:12 101:2 110:4                                            engage 30:2
                                          95:20 113:25 118:10 127:3
   130:7 140:22                                                                  English 103:5
                                         earlier 44:11 84:22 133:2
  down 7:22,23 60:14 73:13 87:9                                                  enough 108:13
   88:14 98:6,20 99:4 100:7,16 104:25    earliest 67:24
   105:1 107:6 109:23,24 123:12                                                  Enrolled 8:12
                                         early 23:19 24:25 101:2 127:9
   130:13 131:21 137:23                                                          entail 95:21 96:5
                                         easier 89:16
  dozens 118:12                                                                  entangled 78:8
                                         easily 27:20
  Dr 12:8 140:9,10                                                               entire 12:16 13:17
                                         Eastern 5:5
  draft 70:21                                                                    entirely 10:5 135:9
                                         edited 122:13 136:14
  drafted 42:20                                                                  entirety 8:8,20
                                         editing 115:20
  dramatic 128:18 129:23                                                         enumerates 103:24
                                         editors 74:5
  dramatically 105:9                                                             episode 40:14
                                         effect 100:8 105:2
  draw 104:13 106:3 133:25 134:4                                                 episodes 39:22 40:9,12,22
                                         effective 84:7
  drawing 134:7                                                                  equivalent 19:22 138:14
                                         effectively 108:2 140:14
  drawn 112:14                                                                   error 32:11,21 33:1,3,15 35:14
                                         effectiveness 107:10
  DSM 31:12 37:8,24 52:4 62:12                                                    36:20,23 40:6,23
                                         effects 103:23 104:6,8,10 105:9
Case 1:23-cv-00595-JPH-KMB              Document 48-9         Filed 06/01/23       Page 49 of 73 PageID
                                              #: 1648
                                                                                                Index: especially..field
  especially 38:2 85:23 108:20          examples 86:18                         external 16:3 17:20 26:1 28:2
   128:19                                                                       56:10,14,20 96:10
                                        except 35:23 93:5
  essentially 131:14                                                           extra 95:7
                                        excluded 90:24 91:1,11,19 103:14
  establish 52:15 125:21 127:11          108:18                                extremely 22:16
  established 33:15 65:24 99:11         excluding 64:1                         eye 120:9
  et 19:15 29:10 46:17 135:25           exclusion 62:24 64:9                   eyes 26:22
  et al 80:25 117:13 133:13             exhaustive 118:7,9 122:19
                                                                                                  F
  eunuch 74:23 75:7,14,17,21            exhibit 6:4,6 7:4,5 8:12,13 12:7,9
                                         13:10,12 14:1,5 15:1 41:21 69:3,9
  eunuchs 73:17 74:1,7,10,13 75:7,                                             faced 50:15
                                         72:3,4 79:19 86:21 87:2 97:3,8
   12
                                         102:11,14 106:11,15 109:10,14         fact 44:22 61:10 84:20 135:7
  European 112:5                         113:3 115:13 117:20 118:17 120:13
                                         122:9,11,23 123:8 133:5               factors 26:2,8,17,18 27:11 131:14
  evaluated 104:7
                                        exhibits 7:8,9 122:3 126:17,18         facts 27:12
  evaluation 121:2
                                        exist 30:24 31:2 32:4 62:13 112:25     fair 44:16 81:8
  even 35:13 40:13,16,18 44:14 47:18
   53:2,21 54:2 56:18 63:18,20 82:25    existed 61:11                          Falk 5:14
   85:24 104:24 105:3 109:1 112:3,7,                                           fall 67:6
                                        exists 41:7
   15 115:14 119:19 125:16 131:10,12,
   16                                   expanding 112:20                       false 38:19

  eventually 23:20                      expect 57:23                           familiar 12:10 18:7 69:16 102:15
                                                                                140:5,8,9,12,20
  ever 6:17 11:23 37:4 46:8             experience 36:10,15 37:24 39:11
                                         47:7,9 53:14 54:15 74:13,14 76:2      families 94:15 138:10
  every 10:19 66:4 71:11 93:13
                                         79:9 84:2,12 85:6 86:5 98:18 105:7,   family 78:8 94:18
  everyone 71:6 76:25 77:1 81:13         16 110:16 114:3,7 116:11,13 125:14
                                         139:9                                 far 46:23 73:12 122:3 139:5
  everything 14:19 63:9 70:10 118:3
   126:14                               experimental 98:8,19                   favor 77:23

  evidence 80:7,13,17,19 81:10,11       expert 12:7,13 18:18 19:22 20:18       features 75:9
   83:11,13,19,22 85:5 98:7,18 106:13    80:16                                 feel 39:8 43:17,20 46:23 48:19 72:23
   107:19,24,25 108:7 109:11 113:12                                             79:12 128:10
                                        expertise 20:2
   127:17 129:6 130:1 134:14 139:7
                                        experts 70:2 80:20 87:17               feeling 31:4
  evolve 50:22
                                        explain 32:14 46:12 49:4 59:12         felt 25:8,14 28:15,22,23 29:9,17,20
  exactly 132:15                                                                42:1 71:15,16
                                        explained 75:24
  exam 37:23                                                                   female 17:6,13,14 21:9,15 25:8,15
                                        explaining 32:16                        27:3 28:16,17 42:2,3,5,12,15,16,22
  examination 5:23 21:12 37:8 39:3,
   5                                    explains 56:8                           43:4,11,15 45:14 46:24 48:21 49:9,
                                                                                12 51:20,25 52:1 56:21 66:19,22
  examine 89:5                          explanation 44:8                        67:10,13 68:4,12 74:17,24 75:19
  examined 5:21 103:22                  explore 49:13                           76:5 94:5,7 96:2

  examining 99:9                        express 39:22 59:24                    females 19:16 46:21 56:22 67:19

  example 17:11 18:20 21:2,3 22:23      expressed 19:8 47:12,15 48:10          feminine 12:5
   24:7 26:13 31:24 33:10 36:12 38:24                                          fertility 21:12 100:9,25 101:5
                                        expressing 48:12
   39:12,19 42:18 46:7 48:22 53:16
   58:13 60:1 71:21 76:21 77:10,14      expression 29:7                        few 47:3 82:25 91:21 94:24 97:24
   78:10 81:1 84:4 112:4 125:11                                                 140:23
   136:21 140:2
                                        extent 124:24
                                                                               field 70:3
Case 1:23-cv-00595-JPH-KMB               Document 48-9          Filed 06/01/23       Page 50 of 73 PageID
                                               #: 1649
                                                                                                   Index: fields..gender
  fields 84:1,14                         following 21:14 53:24 110:6 130:17      formed 91:12
                                          131:10 135:4 137:21
  figure 49:20 51:4 75:16 81:8 122:6                                             found 33:25 71:22 100:17 104:16,24
   133:10                                follows 5:22 113:11                      105:3 111:7,8 124:2 129:15 131:12,
                                                                                  13
  figured 71:23                          footnote 130:16
                                                                                 four 14:4 37:14 73:13 133:13
  file 13:17                             for 5:9 6:1 7:16 8:4,18,23 9:4,18
                                          10:23 11:2,15,18,24 12:13 13:24        fourth 98:5
  filed 13:2
                                          15:10 17:5,11,24 18:20 19:12 21:2,8
                                                                                 Francisco 63:16
  final 7:18 131:22                       22:23 24:6 26:13 28:3,24 29:8 30:8,
                                          11,20,24 31:20,23 32:11,21 33:10,      from 5:11,14 9:19 19:25 20:5 22:16,
  find 40:2 86:22 91:13,18 97:5           15 34:14,17 35:23 36:11,20 37:8         20,21 23:18,22,25 24:17,21 26:1,13
   106:12 107:23 111:9 112:9,22 140:6
                                          38:23 39:19 40:21 41:3,9 42:18 43:8     28:5,10,13 29:6,14 30:6,10 31:3
  fine 7:15 24:15 79:24 80:2,4            44:2,10 45:12 46:7,13 47:13,24          32:7 33:13 35:8 36:17 42:20,21,24
                                          48:22 49:18,23 50:19 51:16 53:16        43:3,18 45:2,24 47:8 49:10 51:2,13
  finish 92:1 130:9                       54:12 56:3 58:12 60:1 61:8,10,13,21     56:13 57:23 61:5 63:19 65:15 67:2,
  Finland 97:14 101:21,24                 63:2,4,8 64:17,22 66:24 68:14,22,23     9,20 69:12 73:13 75:17,18 76:25
                                          70:17 71:6,9,21 73:5 76:10,19,21,24     77:8,11,16 82:1 85:25 86:4 87:17,19
  firmly 99:11                            77:1,3,5,10,18,19 78:2,10,12,19         94:11 96:19,22 97:13 100:22
  first 5:20 6:4 11:17 12:4 13:12 15:9    79:12 81:1,6,9,23 82:1 83:4,13 84:4,    101:20,21,23 102:1 105:2,18 110:12
   28:12,20 30:12 31:11,12 41:25 58:3     16,23 85:1,2,3,9,12,14,22 86:6,7,13     111:5 114:13 115:17 116:16 117:3,
   59:5 61:3,15 62:5 66:5 68:14 73:21     87:7,18 89:13,16 91:8,25 92:10,15,      4,18 118:11,23 121:15 123:25
   78:3 103:24 107:1,9 108:12 114:4       18,19 93:6,24 94:4,12,15,21,25          124:12,16 126:1,17,18 133:25
   116:8 125:24 126:2 127:16 129:8        95:3,10,12,14,17 96:1,6,9,25 97:6       137:1,2 138:22 140:8,12 141:4
   132:5 137:7 140:9                      98:17 101:4,6,16 102:2,8,13 103:2,
                                          18 104:17,18 105:7,18,20,21 106:5
                                                                                 front 7:17 38:7 69:8 137:24 140:5
  Fisher 5:15,24 6:1,4 7:3,7,15,19,20,    107:11,21 108:4,21,23 109:1,12,20      fulfilled 49:24
   22 8:11 12:6,14 13:9,16,23,25 25:18    110:14,23 112:4,10,21 113:7,13
   26:20 28:11 38:14 41:14,17,20,23       114:5 115:10 116:20 117:6,23           full 6:14 7:8 89:15 111:12 131:24
   68:21,24 69:2,4 71:25 73:10 74:25      118:10,22 119:8,13 120:18,21           full-time 10:1
   86:20 87:9 89:15 91:24 92:2 96:24      121:11,14 122:13,17 123:11 124:11,
   97:2,9 100:6 102:10 103:7 106:11       15 125:2,11,18 128:15 129:19,21,22     fully 43:20 44:24 51:3 102:8,18
   107:4 109:9 119:18,25 120:2,5,8,14     131:25 132:6,18 134:7,14 135:2,8        105:15
   121:24 122:5,10 123:3,13 126:10,       136:4 137:17 138:4 139:2,10,12,15,     function 26:4 87:15 126:3
   15,19 130:8,13 132:19,24 133:1,4       16,25 140:1,3
   137:23 140:22 141:1                                                           functionally 20:7
                                         force 54:3
  fit 26:24 43:20 44:10 51:16                                                    functioning 75:10 127:8,20 128:3
                                         forced 54:5                              133:16
  five 14:4 41:17,18 68:24
                                         form 9:22 10:7,16 11:25 14:15           funding 11:19
  five-minute 132:20                      15:11,19 16:6 17:8 18:1,17 19:1,19
                                          20:8,17,22 21:18 22:6,25 23:8,15       further 21:6,21 35:1 46:19 49:4
  flip 90:17
                                          24:2,19 26:12 27:4,17,25 29:11,24       106:2 140:21
  fluctuation 51:10                       30:16 31:5,15 32:6,13 33:5,17 35:2,
  focus 10:12,15 11:15 30:4,8 71:20       15 36:8,22 37:6,21 38:21 39:7 40:7,                      G
   82:13                                  24 42:7 43:6,16 44:1,18 45:5,17
                                          46:5,11 47:1,16 48:2,14,25 49:15
  focused 31:23                                                                  gave 56:7 71:12
                                          50:10 51:7 52:2 54:1 55:17 56:15
  focusing 10:8                           57:4,12,19 58:2,11 59:7,18 60:20       Gavin 5:14
                                          61:12 62:11 63:14 65:11 66:6,21
  folks 74:19 76:1                                                               Gems 61:17
                                          68:7 69:24 70:8 71:3 74:11 75:23
  follow 55:3 88:9 110:7,22 113:17        76:15 77:9 78:5,21 79:3 81:12 88:7,    gender 10:6,24 11:3 19:23 20:3,4,
                                          13 89:7 91:3 92:14 103:16 105:22        18,19 23:2,4,13,18,22 24:1,5,8,10,
  follow-up 29:23,25 30:3 67:1            106:6 108:17 111:22 112:23 121:19       18 25:3,6,7,9,10,13,14,15,24 26:3
   109:25 110:4 111:15                    122:18 124:21 125:3,23 128:1,17         27:2,6,10,15 28:4,15,18 29:3,7,21
                                          129:4,17 130:3 134:2,11,21 138:6        30:6,9,11,12,15,23,24 31:2,13,16,
  followed 121:12 123:17,24 124:15
                                          139:6,17 140:16                         19,20 32:5,9,12 33:1,2,6,9,11,16,20,
Case 1:23-cv-00595-JPH-KMB               Document 48-9         Filed 06/01/23       Page 51 of 73 PageID
                                               #: 1650
                                                                                     Index: gender-affirming..harms
   23 34:17 35:5,7,11,14,18 36:7         gets 32:7 131:19                       great 7:19 13:5 41:18 72:8 87:14
   39:12,16 41:25 42:3 43:8,17,19,21,                                            94:10 99:13 113:21 115:12 117:3,6
                                         getting 26:22 54:25 67:22 68:5
   22 44:4,7,14 45:2 48:1,12 49:9,18,                                            120:12 121:24 132:22
                                          76:12 85:18 95:16
   25 50:9,13,17,20,21 51:2,5,6,11,12
                                                                                greatly 65:13,20 70:11
   52:1,4,8,17 53:4,8,24 54:4,9,18       girl 28:16 29:10,20,22 42:2 56:13
   55:6,15 56:3,9,25 57:2,10,17,25                                              Green 12:4
   58:6,17 59:4,15 60:9,17 61:3,21
                                         give 6:14 26:23 38:8 42:9 92:2 108:1
   62:7,9,10,17,19,22 63:6 64:1,8 65:9
                                          116:22 131:24 132:20                  group 11:4,10 33:20 87:17 93:18
                                                                                 110:14 129:8 130:22 131:4,11
   66:2,20 68:10 74:15,16,19,20,22       given 6:17 36:4 37:3 69:5 85:13,16
                                                                                 133:22
   75:14,17,18,21 76:6,11 77:20,25        128:14 129:14 138:14 139:3
   78:25 79:14 80:19 82:8 87:8,19                                               group's 67:1
   92:11 94:8 98:7,14 99:9 105:8         gives 12:19 22:8
   106:22 107:12 109:13,21 111:8                                                groups 134:6
                                         glans 96:17,20
   114:5 123:22 126:2 127:18 130:25                                             guess 5:25 15:16 26:23 27:10
   131:19 134:22 136:5 138:4 139:10,     glean 19:24 20:5
                                                                                 28:19,20,22 34:8 43:12 45:15 58:9
   16                                    Gnrh 106:21 107:11,18                   63:11 72:9 77:22 81:7 89:3 101:18
  gender-affirming 8:4,18 67:16,22,                                              103:10 104:1 108:11 115:12 119:7
                                         go 7:3,24 8:11 12:6,20 19:10 25:16      121:9 136:17
   23 68:6 76:12 77:3 94:1 98:16 99:22    37:1 41:14 44:13 45:3 46:23 50:11
   101:22 105:18 109:12,20 110:1,23       51:19 53:13 64:6 73:14,15 75:4        guidance 85:25
   112:2,6,15,19,21 114:5,15 115:3,6      79:19 81:22 89:20 91:10,13 92:7
   118:11,13,22 120:24 124:1,12,17                                              guide 63:11 84:3
                                          94:19 98:3,20 99:24 100:6 101:10
   125:16,18 126:8 127:6,7,17 135:2,      102:10 103:7,9,17 109:22 113:2,4,     Guideline 87:1
   18 137:14,18 138:13,19                 21,22 118:1 119:18 130:14 132:19
                                                                                guidelines 69:21 87:7,18 88:5 91:6
  Gender-dysphoric/gender-                133:4 140:20
  incongruent 86:24                      goals 140:1
                                                                                                  H
  gender-related 101:17                  goes 46:19,22 94:17
  genders 42:4                           going 6:21 12:2 19:11,20 20:1 28:9     had 9:2,13,19 10:8,15 11:11,12
                                          38:12 53:11 54:21,22 55:13 63:8        23:17,18 34:13 37:16 38:6 39:21
  general 6:2 10:6 24:15 39:17,18                                                40:14,19 48:3,15 51:10 52:23,25
                                          69:6 72:22 78:3,13 97:4 126:17
   57:23 73:2 126:5                                                              53:4 56:25 57:2,3,14 58:17 59:5,16
                                          130:6
  General's 5:16                                                                 60:2 61:11 62:1 64:2,13,14,15,16,19
                                         Gonadotrophin 106:14                    65:1,17,18 67:9,19 68:11 74:13,14
  generality 15:8                                                                82:14,16 85:15 94:3 102:18 104:1
                                         gonads 19:15 26:3
  generally 72:23 82:9,20 94:24 95:2                                             106:7 111:7,10,14,15 112:16 114:22
   124:6
                                         gone 118:2                              118:21 120:9 123:19 126:4 127:5
                                         good 5:10,25 15:25 17:23 38:13,16       130:23 134:3
  genital 26:1 75:10 94:13,25 95:4,12
                                          39:8 54:11 62:23 68:21 82:24 92:6     hadn't 114:23
   96:6
                                          95:14 96:24 124:3 132:24
  genitalia 16:4 19:15 23:10 28:3                                               halftime 10:3
   46:16
                                         got 72:2 73:11 82:18,25 86:23 92:4
                                          100:16 115:2 118:16 119:16 122:5      hampered 104:4
  genitals 75:9                           130:8 133:15 136:8                    hand 27:15,16 76:25
  geno- 17:19                            gotten 53:17 115:23                    handed 89:21
  genotype 16:5,9,11,19,25 17:2,6        government 97:13 102:5 106:1           happen 29:16 50:25
   21:1,16 22:24 23:5,7 27:1,12 32:17,
   22
                                         GRADE 84:23 85:14 88:9 89:2,13         happens 96:12 138:25 139:2
                                          108:10,23 109:1,8 118:25 119:1
  genotypes 17:25 18:3 23:11                                                    happy 102:23 113:19
                                         graded 104:14
  get 7:4 21:11 31:12 38:14 39:9 40:17                                          hard 50:5 54:16
   41:2 65:18 93:1 102:6,7 108:22
                                         grading 85:11
                                                                                harder 71:18
   109:7 116:6 125:16,17 131:16          graph 90:13
   132:13 139:19                                                                harms 98:23 99:16
                                         grapple 85:19
Case 1:23-cv-00595-JPH-KMB               Document 48-9         Filed 06/01/23      Page 52 of 73 PageID
                                               #: 1651
                                                                                                 Index: Harper..I'VE
  Harper 5:13                             101:22 102:3,5,9 104:6,21 105:15     hormonal 45:4 99:10 104:9
                                          108:21 114:7,16,20 115:4,6 118:14
  has 7:17 11:23 15:12,20 19:7 21:9,                                           hormone 98:23 99:16 100:18
                                          120:23 123:24 124:2,23 125:6,9,14,
   20 24:11 27:1,10 28:1 30:14 31:9                                             102:13 104:6 105:6,7,20 106:14
                                          17 126:25 128:21,24
   33:8 34:22 37:3 39:21 42:17,22 45:2                                          112:12
   47:5 48:4 49:11,25 50:19 51:12 52:4   healthcare 24:13 64:20 76:10 86:15
                                                                               hormones 26:2 44:25 81:1 82:16
   54:18,19 58:12 61:12,14 66:22          97:13
                                                                                92:11,19 93:22 100:9,23 101:23,25
   77:10 88:25 90:18 94:4 98:16 105:7
                                         hear 17:17 24:20,22                    102:6 105:18 109:12,20 110:2
   110:14 118:12 119:21 130:23
                                                                                114:20,22 120:24 123:21 127:6,17
   134:25 137:3,24                       heard 48:11
                                                                                133:17 139:25 140:3
  hasn't 54:16 55:3                      hearing 23:25 24:17 120:12
                                                                               hour 38:12
  have 6:17 7:7,9,11,25 8:8,14,20,22     held 5:6
                                                                               housekeeping 6:20
   9:2,6,13 10:18,22 11:15,17 12:2
                                         help 15:18 32:3 37:4 75:20 125:7,9,
   13:14,17 16:23 17:2 18:13,23 19:9                                           how 6:19 9:13 14:25 26:7,24 28:8,
                                          14,17
   21:4,11,16 23:13,16 25:12 27:12                                              20,23,25 30:17 31:9 34:7,8 36:24
   28:4 29:17,19 30:7 31:3,11,18 35:5,   helpful 77:5 78:12,17 95:8 105:25      43:24 46:14 49:2 50:8 52:7 55:24
   6 36:14 37:11 38:5,13 39:1,6,8,23                                            60:11 62:6,9,21 64:7 75:16 77:7
   40:2,9 41:1,11,13 42:5,9,17,19        helping 77:13                          121:4,10,11,21 125:25 134:13
   43:10,20 44:8,15,22 45:18,20 46:10,   Hembree 19:7                           135:23
   24 47:2,6,7,11,19,21 48:3,5,6,7,13,
   20 49:17,21,23 51:1 52:22,23,24,25    Hembree's 26:14                       human 16:5 17:6
   53:11,18 54:11,15,20 56:21,25 57:2,   her 140:12                            humans 16:18 19:2 20:2,24
   3,10,17,25 59:22,24 60:6 61:19
   62:23 64:6,12,15,19 66:2,5,7,12,13    here 5:11 8:6 12:16 15:24 25:23       hypomanic 39:21 40:14,22
   71:18,22 72:16 74:2,6,14,21 75:25      28:8 31:2 52:17 54:7 66:18 80:7
                                                                               hypothesizing 46:8
   76:1,2,6 78:7,8 84:2,6,9,10,11,21      90:18,19 91:5,25 92:5 100:7 101:13
   85:13,24 86:4,13 88:1 89:10,11,13,     111:24 113:9,15,17,23 118:6 120:7
   15,21 90:8 92:7,11 93:1,2 94:3,7,8,    121:5 122:6 137:25 138:11 140:23                      I
   16 95:5,6,16,17,23 96:10 97:16,17     hesitate 6:22
   98:16 101:12 102:16,17,20 103:12,                                           I'LL 6:2 18:9,11 19:2 40:20 55:12
   21 105:2,5,9,17,23 106:23 107:20      high 24:9 34:2 107:23 108:22,25        62:11 101:12
   109:25 110:4,6,15,19,20,22,24          109:8 118:25 130:24 131:18 135:6
                                                                               I'M 6:1,10,20 7:23 9:12 15:16 18:18
   111:1,24,25 112:7,16 113:9,16,23      higher 15:8 57:13 66:13 120:19         19:10,11,12,20,21 20:1,18,19 21:14
   115:22,23 116:12,18,19 117:10,16,
                                         Hilary 140:9,10                        23:4 25:20 26:7,23 27:2,10,18 28:8
   17,22,23 118:2,25 121:13,24 122:2,
                                                                                29:16,25 30:11,13,18,20 31:1,7,9,
   13 125:6,8,9,13,25 126:10,12,16,23    him 7:17,18 89:21 137:24               10,25 32:1,25 34:4,8,25 35:23 36:9,
   128:18,20 129:9 130:24 133:23
                                                                                24 37:12 38:17 39:15 41:9 42:4
   135:19 136:14 139:21 140:5 141:2,5    himself 89:18
                                                                                43:12 45:10,11 46:8,18,22,24 48:3,
  haven't 7:10 52:23 94:12 95:15         his 7:17 12:17 13:20 126:12            6,15,20,23 49:17 50:6 51:24 52:19
   102:18 125:15 126:7                                                          53:6,10,13,14,23 54:2,6,14 55:9,10,
                                         historical 51:8
                                                                                13,19 56:1,3 57:7 58:21 59:3,14,25
  having 5:20 6:12 17:4 30:6,8 31:16,    history 22:8,15,18 29:5,14 30:5        62:5 66:18 68:3 69:5,16 70:9,14
   20,21 40:11,19 44:23 46:16 47:8        40:12 57:10,14                        72:6,9,12,18,22 73:2,4,6,16 74:19,
   48:17 54:25 57:14 76:6 79:5 94:11,                                           20 75:15,16 76:16 77:23 78:17,23
   13 95:7 101:20 111:19 125:19          HIV 10:9,17 11:18
                                                                                79:23,25 81:7,16 83:17 85:9 89:3
  he 12:14 13:20 87:10                   Holmes 5:17 120:1,3 122:2              90:15 92:7 94:25 96:13 99:6,18
                                                                                100:1,2,3,7 101:14,18,20 102:22
  he's 89:18                             homosexual 57:25 58:4,18 59:6,16       105:25 106:1 108:12 110:3,20
                                          60:19
  head 36:15 48:17 119:12                                                       111:17 112:13 113:10,19 114:9
                                         hone 38:3                              116:12 118:16 120:1,12 121:10
  header 107:8 109:23                                                           127:12 129:1 131:1 132:15 135:8
                                         hope 54:13 55:2 120:11                 136:1,11 137:5,11 138:23
  healing 94:19
                                         Hopefully 122:6                       I'VE 9:3 10:10 15:5 48:15 51:9
  health 9:17 63:17,18 71:21 72:15
   73:1 82:12,14 83:1 84:1 85:23         Hopkins 80:15,22                       74:13,14 92:3 103:18 109:16 122:5
Case 1:23-cv-00595-JPH-KMB                Document 48-9          Filed 06/01/23        Page 53 of 73 PageID
                                                #: 1652
                                                                                                        Index: ICD..inline
   125:15 130:4,8 133:15                  implications 28:1                        inaccuracy 34:5
  ICD 33:23,24                            important 20:21 22:16,17 30:11           inaccurate 31:14 34:9 39:6
                                           31:17 32:8 41:6 79:12 128:6
  idea 43:14                                                                       inappropriate 78:19
                                          impossible 36:6,9
  ideas 56:21                                                                      include 14:25 26:3 57:15 115:21
                                          impression 19:3
  ideation 79:5                                                                    included 16:7 74:2 90:4,6,9,15,19,
                                          improved 118:13 124:4 126:4               23,25 91:11,18 92:18 103:14 108:7,
  identification 59:5,16
                                           127:7,19 128:3                           13,18 109:24 117:14 127:2
  identified 50:12 51:24 52:11 60:18
                                          improvement 71:9 105:5 114:18,19         includes 16:13 88:2 89:2 96:8
   65:14 74:23
                                           126:25 128:25 129:11,23
                                                                                   including 11:18 117:1 125:6 127:19
  identifies 30:25 49:8 51:20
                                          improvements 115:4,6                      128:21
  identify 5:8 17:1,14 30:18 42:8,11,
                                          in 5:17 6:11 7:6,17 8:3,5,8,20,22 9:2,   incongruence 33:23 34:17 35:18
   16 50:13,18,23,24 52:22,24 55:22,
                                           4 10:8,12,13,19,22 11:19 12:1 13:3,      119:10
   24,25 58:13 59:2 66:9 68:19 74:17
                                           17 14:3,8,11,19,25 15:3,5,10,17,24
   107:10                                                                          increased 65:13,20 66:5,7 137:3
                                           16:7,16,24 17:2,14 18:3,20 19:4,7,
  identifying 66:11,15,22 76:5             14,16 20:19 21:20,25 22:8,10,15,17      increasing 66:23
                                           23:1,10,11,22 24:15,23 25:23 26:4
  identities 31:19                         27:6,19,22 28:1,3,7,18,22 29:2,19
                                                                                   indeed 122:8
  identity 19:23 20:3,5 23:13,18,23        30:2,5,22 31:11,25 32:1,19 34:5,7,      independent 104:9
   24:1,5,10,18 25:3,6,7,11,14,24 26:3     15,16 35:17,23 36:9,15,20,24 37:19
                                           38:2,7,19,23 39:10,16,18 40:4,10,       Indiana 5:3,4,14,16 8:3,17
   27:2,10,15 28:5,15 29:7,21 30:6,13,
   15,23,24 31:2,13,16 32:5,9,12 33:1,     12,13,19,20 41:24 42:16 43:15,22        Indianapolis 5:3
   3,6 42:1,10,17,19 43:10,18 44:7,15      44:19,24 45:9 46:1,7,21 47:4,8,20
   45:2,9 50:1,4,9,20,22 51:5,6,11,12      49:1 50:3,7,8,17,22,24 51:8,10 52:5,    indicate 21:19
   52:1,8,13,17,21 53:8,25 54:4,9 55:3,    11,16 53:14 55:14,23,24 56:22 59:1      indicated 93:25
   6,15 56:4,9 58:6 60:6,7,9,23,24 61:2    60:2,15,22 61:4,8,9,11,19,20,24
   62:17,19,22 63:7 67:15 99:9,12          62:3,5,7,21 63:11,24 64:9,10 65:7,      indicating 42:15
   131:7                                   20,22,24 66:10,18,23 67:5,10,20         individual 45:24,25 60:12 72:18
                                           68:2,8,9,14 69:13,14,18 70:1,2,3,10,     79:12,16 95:13,14 130:17 131:2
  if 6:22 7:22 12:14 13:18 19:12 21:14     20 71:1,5,9 72:10,12 73:2,12,13,21,
   23:21 24:10 25:13 26:25 27:10,11        22 74:8,19,23,24 75:15,17,25 76:1,      individuals 10:5 75:7 134:15
   29:18 30:7,19,24 31:25 33:2 34:12,      4,6 77:2,7,22 78:15,25 79:9,13,16
   15,25 35:23 38:12 41:11 44:2 46:19,                                             infer 9:19
                                           80:20,21 81:13 82:13 83:8,12,25
   22 48:15,24 49:7,8,25 50:7 52:9,10,     84:3,4,7,8,14,25 85:23,24 86:15,23      inferring 53:6
   20 55:12 56:1 57:7 58:23 59:3 60:4,     87:21,23 89:22 90:4 91:17 92:5,20
   13 62:12 68:3,22 70:9 72:2 73:7,8                                               influence 56:10,20
                                           93:10,11,12,16,17 95:7,14,16,19
   74:8 75:20 78:11,17 79:7,10 80:1,4      96:17,20 97:14 98:1,6,20 99:2,3,9,      influences 56:14
   81:8,16 84:19 85:9,15 86:10 89:8,       11,20 100:18 101:3,17,22,24 103:2,
   16,23 90:15,16,17 91:10,15,16 92:3                                              information 20:4 74:7 83:25 84:1,9,
                                           4,5,24,25 104:19,21 105:10,19            10,11 85:4 98:22 99:16
   95:13 97:3 99:6 101:2,18 102:7          106:21 107:2,19 108:4,5,7,13,19
   104:24 105:1,3 107:6 108:1,12           110:5,9 111:5,13 112:4,10,15,24         informed 101:4 131:24 132:14
   109:22 110:3 111:2 112:7 113:6,10,      113:1,5,16,17,23 114:19,23 115:4,7,      137:13 138:21
   11 117:9 118:17 119:7,20,21,23          12,20 116:11,15 117:4,7,15,20,22,
   121:10 122:2 129:1 131:1 132:20,21                                              inherent 28:15,22,23 29:9,18,20
                                           24 118:3,17,18 119:1,4,8,10,16,19,
   137:23 139:23,24 140:2,6,17                                                      42:1
                                           24 120:5,22 121:2,25 122:3,8,11,12,
  illness 10:19 37:2,3                     16 123:18 124:3,10,22 125:11,14         initial 39:24 40:4
                                           126:5,25 127:10 128:8,22 129:3
  illnesses 10:14 35:7 44:6 63:5                                                   initially 10:8,17
                                           130:15,24 131:19,22 132:1,7,9,10,
  image 86:1                               17,18 133:2,7,16 134:24 135:1,3,4,      initiated 99:14
                                           6,10,11,15,16 136:2,3,13,15,20,22,
  imagine 50:6                                                                     initiation 110:12
                                           24 137:5,6,21,24 138:1,5,11,20,23
  imperfect 85:4                           139:1,4,14,20,21 140:5                  inline 113:9,24
Case 1:23-cv-00595-JPH-KMB                Document 48-9          Filed 06/01/23       Page 54 of 73 PageID
                                                #: 1653
                                                                                                Index: insensitivity..just
  insensitivity 17:12 21:3,8,22 22:10      44:7,16 45:3,8,14 46:6,9 47:9,11,14,    22,23 116:2,4,6,11 117:14,22,23
                                           18 48:4,5 49:8,22 50:1,5,18 51:2,4,5    118:15,16,21,25 119:16,19 120:5,7,
  insistence 24:7
                                           52:9,17,20 53:6,7,25 54:9,14 55:6,9,    21,23,25 121:1,4,5,9,10,15 122:3,5,
  instruct 7:13                            13,15,24 56:1,3,4,6,9,10,16 57:5,20     13 123:16,19,22 124:8,9,14,15,18,
                                           58:24 60:8 62:18 64:13 65:7,16          24 125:1,11,19 126:11,12,14,20,23
  insurance 63:2,12 64:1,18,22,25
                                           66:3,7 68:9,21 69:7,11,14,22 70:6       127:14,16,22,23,24 128:3,4,7,15
   65:18,19 69:17
                                           71:1 72:5,7,8 73:14,20 75:11 76:23      129:7,21 130:17 131:9,21 133:10,
  intercourse 15:21                        77:20 78:24 79:2,4,20 81:7 83:12,23     11,19,23,25 134:1,3,13,14 135:15
                                           84:13,20 86:14,15,22 87:5,6,12,16       136:9,14 137:24 138:9,15 139:2,10
  interested 46:1 47:4 66:18 74:24         88:4,12,16,21,23 89:4,10 90:10,19       140:5,7
   76:4 137:5                              91:1,5,16,17 92:9 94:9,21 95:2,8,16,
                                                                                  it'll 90:8
  interesting 67:8 68:8                    22 96:6,8,13,16,19,22 97:3,4,6,12,
                                           13 98:7,15,17,21,23,24 99:17 100:9     it's 6:10,11 12:13,18,19 14:2,3 15:25
  internal 27:11 28:21 48:20               101:5,19,20 102:24 103:11 104:11,       16:15,21 17:4,9,15 18:2 21:4 22:17
  internationally 66:24                    18,21,24 105:12,19 106:20 107:1,        24:21 25:7,21 28:4,12 30:24 32:18
                                           12,17,19,20,25 108:3 109:4,5,10         34:4,20 35:8 36:6,9 38:25 39:19,25
  intersex 16:25 18:20                     110:8,10,21 111:3,4 113:2,10,16         40:25 41:6 42:14 43:9 45:11 47:11,
  intervention 78:3,20 79:2 85:1           115:12,19,24 116:10,12,13 117:19        22,24,25 48:8,9 51:20,21 53:9 54:20
   104:9 107:22 121:17 124:4 125:10,       118:7,15,19 120:5,7,15,20,25 121:1,     55:8 56:19 58:7 59:21 65:12 66:4,14
   12,22 127:10 128:2 129:19 138:4         15 122:11,12,21,23 123:4,9,16           68:18 70:4,6,22 71:19,25 73:11,13
                                           124:18,23 125:1,10 127:24 128:22        74:6 75:1,2 76:2 77:1 78:18 79:12,
  interventions 84:24 86:11,12 92:24       129:2,8,13 131:22 132:11,12,22          21 81:8 85:2 87:6 88:16,17,25 91:4,
   99:10 104:14,18 105:13 108:20,24,       133:15,19,25 134:15,16,23,24            20 92:16,20 93:22,24 98:3,4,5,19
   25 109:2 121:20 125:6 128:11,13         135:2,7,10,20 136:13,19,25 137:10,      99:3 100:2 101:8 102:11,12,25
  interview 37:7,23 39:3,5,25 40:5,21      13 138:7,8,9,13,15,23 139:1,3,4,5,7,    103:4 104:13,15,20,22 105:12,14,15
                                           10,11,18                                106:20,24 107:23 109:4,7,16 111:2,
  interviewed 38:6                                                                 11 116:2,15,18 118:16,17 120:6
                                          isn't 33:6 47:17
  interviews 33:25                                                                 121:1,2,10 122:16 125:5,17 126:19
                                          issue 73:5 86:16                         129:21 131:17 132:11,17 134:12
  into 15:9 61:8 75:3 115:23 139:11,                                               135:14,16 138:10,16 139:2,8,23,25
   19 140:14,21                           issues 10:24 11:2 15:9 32:2 85:21
                                           104:19                                 items 6:20
  introduction 113:11
                                          it 6:19,23 8:16 10:1,6,25 11:6 12:12,   its 8:8,20 22:23,24 23:6 35:25 67:24
  inverted 96:16,19,22                     15 14:2 15:20,21 16:16 17:23 18:11,     73:21 74:8 89:1 106:3 110:13
  involuntary 53:6,7,25 54:5,9 55:6,       12 19:3,9,13 23:25 24:17,20 25:25
                                                                                  itself 33:6 81:22 88:21 89:4 138:24
   8,15,16 56:4                            26:13 27:13,23 28:1,6,10,13,14
                                           29:22 31:3,9,14 33:13 34:12 35:13
  involved 10:13 81:13 93:10,12            37:7 39:10,18,21 40:15,20 41:8                           J
   95:19 114:2                             42:20 43:8,13 44:5 45:1,8 46:8,18,
  involves 95:22                           19,22,23 47:25 48:6 49:7,22 50:7,18    Jo 119:9
                                           52:9,12,16 53:6,7 54:16 55:3,24,25
  Inwards-breland 115:15,25                56:12 57:20 60:14 61:5 62:1,17         job 52:3
                                           63:1,7,12,21,23,24 64:4,10 65:7,12     John 5:18
  irreversible 99:13
                                           67:8,9,13 68:16 69:7,8 70:6,9,10,19
  is 5:1,4,5,6,7,10,15,17 6:1,5,14,20      71:12,13,16 72:2,9,13,17 73:8,11,      Johns 80:15,22
   7:6,17,18 8:3,5,17 9:11 10:1 12:7,      14,16 74:2,8 75:1 76:10 77:1,2,4,6,    joined 53:17 62:3
   12,16,22,24 13:11,12,19 14:1,2,5,19     16 78:2,24 79:25 81:7,19 82:24,25
   15:4,10 16:5,7,11,16,17,24 17:6,22      85:16 86:23 87:24,25 88:9,15,16,23,    joining 54:24
   18:9,12 19:3,23 20:3,5,6,12,14,15,      24 89:1,4,16,17,19,22,25 90:1,4,7,
                                                                                  journal 70:1,5,13 88:19
   21,23 21:17 22:4,13,16,23,24 23:21      17 92:8,9,22 93:11 94:9 95:2,8,14,
   24:10,18 25:3,6,7 26:11,15 27:3,8,      15,22 96:7,8 97:13,21,23 98:5,6,20     judgment 92:22
   20,22,24 28:15,18,20,24 29:6,10,13,     99:4,8,12,22,25 100:8,17,23 101:9,
                                                                                  jumped 99:4
   20,21 30:8,22 31:9,12,13,17 32:1,9,     12,15 102:16,17,20,25 103:11,18,
   11,23,24 33:1,3,8,15 34:25 36:23        19,23,25 104:3,18 106:10,13 107:8      just 6:19 7:16,22,23 9:9 12:15,18,19
   37:7 38:3 39:4,10 40:6,8,12,22 41:4,    108:1,2 109:4,17,19,24 110:11           13:4,18,21 14:6 15:24 17:5 18:5,22
   18,21,24 42:21 43:3,7,13,18,24          111:15 114:14 115:15,16,18,19,21,       19:12 24:15 25:19 27:14 30:12 31:1,
Case 1:23-cv-00595-JPH-KMB               Document 48-9         Filed 06/01/23        Page 55 of 73 PageID
                                               #: 1654
                                                                                              Index: Kansas..limitations
   7,9 33:10 34:21 35:5 36:23 37:10       25 46:19 47:2,3,9,13,17,19,21 48:7,    lawyers 9:6
   38:11,12,14,17 39:15,16 43:1,7 47:6    8,20 49:11,22 50:3,5,15 51:15 52:3,
                                                                                 lays 132:8
   51:21,25 52:12 53:13,14,23 54:6,8      6,7,8,9 53:2,18,20 54:7,11,24 55:1,
   55:4,12,13,24 57:1,7,23 59:3 60:10     2,24 56:6,7,18,22 60:3,4,8 61:3,25     lead 22:8 55:1
   62:7 63:6 64:2 65:5,7 68:3,19 69:5     63:3 64:4,7 65:1,5,8,12,23,25 66:12
                                                                                 leads 127:19,23 128:2
   71:22 72:9 75:4,16 78:17,18 82:25      67:20,24,25 68:1,16,18 70:5,12,22,
   85:16 86:14 87:10 88:3 89:17 92:2,     23 71:11,12,16,20 72:13,16,19,20       leaf 136:9
   3,5 99:22 100:23 102:17 103:4,5,19     73:2,4,5,6 74:2,3,5,6,8,20,22 75:24
   104:17 105:10 107:5,6 110:11 112:1     77:4,5,7,17,18 78:13,16,24 79:6,8,     learn 20:24 22:15 23:13
   113:6,10 115:14,24 116:2,5,24          10,11,15 80:20 81:18,19 82:4 83:6,8    learning 20:4
   117:19 118:18 120:19 121:5 123:11      84:18,20,22 85:15,16,17,18,21,25
   124:15 126:23 127:2,13 129:1,21,24     86:1,2,15 88:1,2 89:23 90:2,9 91:12,   least 34:12 59:24 74:12 85:17 97:23
   130:8 131:1 132:20 134:9 137:8,18      16,21,23 93:11,18,20,25 94:23 95:8,     103:11 121:6,8 139:7
   138:16 140:6,22,23 141:5               9,13,23 99:18 100:19 101:2,7,8         led 53:12 127:7,11,15
                                          102:1,8,21 103:13,23 104:1,16
                                          105:1,4,11,13,16,23,24 108:3,4,5,13    left 73:12 75:2 92:22
                    K
                                          109:4,7 110:3,8,10,11,13,17,22,25      lesbian 60:5,7
                                          111:3,10,12 112:13,16,24,25
  Kansas 114:13 120:22                    113:19,25 114:1,11 115:14 117:2        less 66:10 112:8
  Karasic 5:7,19 12:8                     118:8,23 119:5,20 121:9,13,21          let 26:25 38:14 41:12 46:6 77:23
                                          122:2,20 124:23 125:4,5,7,24 126:1      99:8 130:8 140:6,23
  keep 12:20 89:8                         127:3,10 128:11,12 129:5,7,18,19
                                          130:23 134:4,6,7,24,25 135:1,2,7,13    let's 6:4 7:1,3 8:11 9:9 12:6,21 13:9
  Ken 5:13
                                          136:22 138:10,11,15,16,17,20            18:15 20:3 25:16 28:9 31:12 41:14,
  kept 93:6                               139:12,20,22 140:2                      20 45:13 49:7 57:1 59:10 62:2 64:6
                                                                                  69:3 70:4 71:23 73:10 74:25 79:19,
  key 107:9                              knowledge 23:17 37:23 85:4 86:3          20 86:20 87:9 97:2 98:3,20 99:24
  kids 54:25                             known 100:10,14,15                       101:10 102:10 103:6,7 106:11,25
                                                                                  107:4,5 109:9 113:2,21 117:21
  kind 10:11,13 14:10 15:8 19:6 26:16    Kristina 131:4                           118:1 120:9,19 123:6 127:1 130:11
   30:4,8 31:22 34:11,15,22 35:10,17,                                             132:19,21 135:13
   20,24,25 36:1,2 43:5 44:9,12,24
   47:22 50:21,25 51:3,4,14,16 52:5,6,                     L                     level 15:8 95:3 120:19
   15,20 53:11,15 55:18 56:8,18 58:6
                                                                                 levels 71:7
   60:22 63:19 64:19 67:1,7,18 70:2      lab 22:7
   71:13,18 74:18 75:20 77:17 79:8                                               licensure 38:5
                                         labeling 52:5
   80:17 81:15,25 82:9,19 83:5,7
                                                                                 life 17:2,14 55:2 118:14 139:13,20
   84:13,20 85:21,24 89:13 90:13 93:2    lack 16:15,19 20:15 107:12 137:2
   96:10 101:5 103:18 105:11 119:11                                              light 98:6
                                         laid 132:17
   120:25 121:22 122:13 124:6,7,23
                                                                                 lights 15:24 83:21
   129:8 138:14                          language 43:7
                                                                                 like 14:23 17:22 20:11 25:25 27:12
  kinds 85:22                            large 82:9 114:17 134:3 136:25
                                                                                  28:13 34:1 35:8 39:8 43:20 46:7,24
  Kingdom 112:4,15                       larger 65:14 68:19 109:6 112:24          48:20 54:24 66:11 71:11 72:23
                                                                                  73:11 74:18 79:4 85:11,16 89:22
  knew 24:23                             largest 110:9
                                                                                  90:8 91:21 98:5 115:21 123:19
  know 6:19 10:19 11:2 14:10 15:17       last 13:4 14:4 67:5 69:19 70:15 83:1,    124:15 126:23
   16:16 17:3,4,13,19 18:3,20 19:20,24    10 88:3 100:7 111:13,17
                                                                                 likelihood 23:11 34:2
   20:1,12,13,18 21:5,6,10,11,13,19,
                                         lasted 64:10
   20,25 22:9,11,22 23:3,5,10,20,21,24                                           likely 21:1 22:24 23:6 33:22 38:25
   24:16,21,22 25:1 27:6,8,18,20 28:2,   late 61:24                               45:3 77:16 139:12
   3,6,7 29:6,13,16,25 30:2,10,17,20,
                                         later 17:2,14 39:13 40:1,17 41:8        limit 19:2 20:2 92:10
   21 31:2,9,18,22 32:21,23 34:2,22
                                          50:24 51:22 52:11 61:1 68:2 98:20
   35:10,16,18,19 36:1,3,11,12,14                                                limitation 105:10,12 107:10
                                          111:9 116:6 139:20
   37:13,15 38:8,22 39:9,11 40:1,16,25
   41:5,6,10,11,12 42:6 43:7,22 45:10,
                                                                                 limitations 104:16 127:4 129:3,5
                                         law 5:18
                                                                                  134:6
Case 1:23-cv-00595-JPH-KMB               Document 48-9          Filed 06/01/23     Page 56 of 73 PageID
                                               #: 1655
                                                                                               Index: limited..meanings
  limited 12:20 20:12 74:13              low 84:24,25 85:14 86:13 108:10       Marines 53:17
                                          109:2,3
  limits 8:18 128:14 129:15 130:2                                              mark 6:4 7:3 8:12 12:6 69:3 72:2
                                         Luke 114:12 119:14 125:11               86:20 97:2 102:11 106:11 109:9
  lines 131:21
                                                                                 120:9 123:3,6
                                         lunch 91:25 96:25 97:1
  linked 19:16
                                                                               marked 6:6 7:5 8:13 12:9 69:9 72:4
  links 118:10                                                                   87:2 97:8 102:14 106:15 109:14
                                                          M
                                                                                 120:13 123:8
  list 12:17 13:19 14:19 63:6 72:1
   86:23 90:22 97:5,16 102:12 106:13     M.D. 5:7,19                           marriage 78:10
   122:19
                                         made 15:2 18:10 39:12 53:21 60:4      married 53:17 54:25
  listed 72:1 101:6 122:11                63:20,24 70:21 71:9,13 73:21 74:5,   masculine 45:22,23 46:17 53:19
  listing 90:8,21,25                      21 82:10 91:9 94:22 103:12             75:9 76:3,7
  lists 118:8,9                          main 6:20,24                          masculinizing 94:4,6 96:1
  literature 9:2 14:11 47:4 80:18        maintain 9:24 27:14                   mastectomy 95:22
   81:16,20,22,25 82:8,20,22 83:8        major 35:9 39:20,25 40:5,9,11 41:3    match 32:17,20
   88:6,22,25 89:5 90:3,4,5               63:4
                                                                               matches 23:2
  little 7:1,23,24 12:18 15:8 26:20      majority 84:24 86:12
   33:10,18,19,21 46:12 51:18 52:14                                            materials 14:8
   59:12 69:6 75:5 90:13 106:24 107:6,   make 12:19 18:22 26:20 27:13 33:22
                                          34:3 35:20 36:13 37:4,12,18,25       matter 27:2
   7,17 109:5,6,16 113:16 118:18
   131:8                                  39:1,8,19 64:14,15,24 65:8 75:4      mature 94:22
                                          76:10 77:18 83:23 84:12 85:6 86:3
  live 38:6                               95:19 107:5 112:7 113:5 115:24       maturity 93:1 95:4,7 131:23
  living 74:24                            122:6 128:5,16 129:22 132:4 134:9    may 5:4 42:8 43:17 45:18,20 47:19
                                          140:4                                  59:24 61:5 67:13 68:16 99:10
  locked 140:14
                                         makes 43:14 78:24 81:19 100:23          117:23 119:16 122:13 125:9,13
  long 9:13 12:18 111:4 131:11                                                   126:14 131:24 136:14 140:22
                                         making 33:9,11 34:14 36:3,15
  long-term 104:5 110:25 111:1,12         37:12,20 38:4 42:14 52:3 64:17       maybe 18:22 40:1 45:11 51:16 62:8
                                          74:20 132:18 138:20                    68:17 70:22 75:2 82:15 87:22 91:16
  longer 12:25 64:11
                                                                                 95:8 103:1 115:20 117:21 118:16,17
  longest 110:15,21                      male 16:5,8,10,14,18,19,25 17:1         119:19,21 120:5,6 127:13 133:4
                                          21:16 25:8,15 27:1 28:17 29:19         135:16 136:8
  longitudinal 12:5 67:2 121:2            42:2,5,12,14,16,22 43:4,10,15
   124:10 133:13,24                       45:13,19,20 46:7,9,20 51:19 55:2     me 5:12,16,17 8:22,25 9:9 18:22,23
                                          56:21 60:6 66:19 67:12,19 68:5         19:12 26:25 30:17 31:20 32:1,10
  longstanding 52:21                                                             35:4 38:14 41:12 44:3,7 46:6,13
                                          74:16 75:8,18 95:22
  look 12:10 28:9 31:14 35:16 50:4                                               47:12 48:4,10 49:18 52:10 59:12
                                         male-appearing 95:24                    63:4 73:7 74:18 75:20 77:23 87:15
   54:12 80:4 81:18 83:19,22 89:17
   92:8 113:3,6 117:9,10 121:13          male/female 42:5                        92:2 97:12,16 99:2,8 100:23 102:21
   126:11,13 128:19 130:11                                                       115:10 116:22 118:18 119:3 122:17
                                         males 19:16 53:16 56:22                 126:14 127:14 130:8,17 132:21
  looked 10:25 11:6 120:21,23                                                    136:10 140:6,17,23 141:4
                                         mammals 17:24 18:4,13,23 19:4,14
  looking 19:12 29:8 30:20 31:22                                               mean 14:10 20:6 21:19 22:1,2 24:13
   34:11 40:5 45:15 49:23 63:17 64:11    man 28:16 42:2 56:13
                                                                                 31:8 32:18 39:16 42:13 44:12 48:3,
   73:16 79:23 85:11 100:4,7 101:14      mandatory 76:10                         21 49:4,5 52:19 54:3,5 55:8,9 62:7
   107:21 108:4,21 115:14                                                        63:8,15 65:3 75:15 78:22 79:9,17
                                         manifestations 77:21
  looks 25:25 28:13 73:11 98:5                                                   80:13 82:4 98:14 103:10 105:4
   115:21 123:19 124:15 126:23           manifests 78:1                          108:11 121:11 124:15

  lot 34:20 72:14 76:24 79:5 90:20       many 28:1 42:8,11 54:22 62:6,9,21     meaning 15:16 31:3 55:18 81:24
   125:15 129:10                          64:7 70:2 76:20 110:23 121:4,11
                                          124:11 128:19                        meanings 15:12,15,20 19:9 25:12
Case 1:23-cv-00595-JPH-KMB               Document 48-9         Filed 06/01/23       Page 57 of 73 PageID
                                               #: 1656
                                                                                                    Index: means..my
  means 49:14,20 54:2 56:12 83:24         63:3 64:12 67:14 69:4 71:18 72:20     most 22:17 23:1 32:8 52:13 53:19
   99:19                                  73:4 74:2 75:25 77:11,14,18 78:6,      84:6,22 85:2 96:16 109:1 111:3
                                          10,13,16 79:6,11,15 85:18 112:7        132:10
  meant 56:8 95:25 103:1 113:10
                                          139:20 141:3
                                                                                mostly 11:8 47:20 117:15
  measure 36:23 58:9
                                         military 54:24
                                                                                motion 15:25
  measured 34:9
                                         mind 84:17 85:10 86:9,17,19 119:6
                                                                                mouth 32:19
  measures 118:14,22 120:23 123:24
                                         mine 94:3
   124:2                                                                        move 69:6 80:1
                                         minimum 92:9
  medical 22:15 37:14 45:7 46:1                                                 Mr 5:10,15,24 6:4 7:3,7,9,15,16,19,
   63:24 67:16 72:25 78:3,20 79:1        minor 132:10                            20,22 8:11 9:22 10:7,16 11:25 12:6,
   84:24 86:11,12 94:1 105:13 109:2                                              14 13:9,16,21,23,25 14:6,15 15:11,
                                         minor's 135:24
   121:17 125:22 126:8 135:18 138:4                                              19 16:6,20 17:8 18:1,17 19:1,19
   139:15                                minority 28:4 67:15                     20:8,17,22 21:18 22:6,25 23:8,15
                                                                                 24:2,19 25:18 26:12,20 27:4,17,25
  medication 44:21                       minors 8:4,19 11:9,10 60:16 94:4,       28:11 29:11,24 30:16 31:5,15 32:6,
                                          25 95:12 98:7,15,17 99:9,22 101:17
  medications 76:22 84:5,16 85:9                                                 13 33:5,17 35:2,15 36:8,22 37:6,21
                                          103:2 105:21 110:23 111:2,15
   86:6                                                                          38:11,14,16,21 39:7 40:7,24 41:14,
                                          112:6,21
                                                                                 16,17,18,20,23 42:7 43:6,16 44:1,18
  medicines 84:6                                                                 45:5,17 46:5,11 47:1,16 48:2,14,25
                                         minute 14:6 92:5
  meet 132:1                                                                     49:15 50:10 51:7 52:2 54:1 55:17
                                         minutes 41:17,18 132:21 140:23          56:15 57:4,12,19 58:2,11,20 59:7,18
  Melinda 5:17 119:18 121:24                                                     60:20 62:11 63:14 65:11 66:6,21
                                         mischaracterizing 100:21
  men 58:13,14 60:1                                                              68:7,21,23,24 69:2,4,24 70:8 71:3,
                                         misdiagnose 36:7                        25 73:10 74:11,25 75:23 76:15 77:9
  mental 37:8,23 39:3 71:21 72:14                                                78:5,21 79:3 81:12 86:20 87:9 88:7,
                                         mishear 18:23
   73:1 82:14 83:1 85:23 101:22                                                  13 89:7,15,21 90:18 91:3,24 92:2,6,
   108:21 114:7,16,20 115:4,6 118:14     misheard 18:22                          14 96:24 97:2,9 100:6 102:10 103:7,
   120:23 123:24 124:2,22 125:6,9,14,                                            16 105:22 106:6,11 107:4 108:17
   17 126:25 128:21,23
                                         misquote 20:6
                                                                                 109:9 111:22 112:23 119:18,25
  mention 47:25 97:20,25                 miss 40:12                              120:2,5,8,14 121:19,24 122:5,10
                                         missing 115:20                          123:3,11,13,14 124:21 125:3,23
  mentioned 14:6 44:11 48:22 84:23                                               126:10,13,15,16,19,21 128:1,17
   85:8 86:6 96:3 115:8 117:19 119:13    mistake 39:14                           129:4,17 130:3,6,8,10,13 132:19,22,
   122:21 133:2,8                                                                24 133:1,4 134:2,11,21 137:23
                                         misunderstanding 51:25
  mentioning 13:24 122:24                                                        138:6 139:6,17 140:16,22,24 141:1,
                                         mix 33:14 42:5                          3,4
  mere 32:22
                                         modified 108:10                        MS 120:1,3 122:2
  merely 56:20
                                         modifier 54:6                          much 9:4 65:16,23 71:16,18 135:10
  merited 74:8                                                                   141:1
                                         months 97:24 121:6,8,11
  met 140:1                                                                     multicenter 110:9 114:17
                                         Montreal 67:5 110:6,17
  Metabolism 88:20                                                              multidisciplinary 61:9
                                         mood 41:11
  method 7:13 12:19                                                             must 99:12 115:22
                                         more 10:6,11 36:17 37:16 38:15
  methods 101:16                          40:14 45:3,8 46:6,12 50:24,25 51:23   my 5:1,17 6:1,21 8:24 10:19,21
                                          54:13 57:20,21 59:12 60:14,15,24       11:18 12:2,13 14:10 15:3,9 18:2,11,
  mid 61:19
                                          61:8 63:11 65:6 66:11,15,16 67:10,     19 19:2,3 20:2,11 26:21 28:7,20
  middle 135:15                           11 68:12,16 70:12,23 73:14 74:18       29:2 30:4 34:12 36:9,15 39:10 47:12
                                          77:16 82:8 87:23,25 99:22 106:3        48:10,16 49:19 52:3,21 53:14 54:12,
  might 14:21 16:2 18:19 21:4,15
                                          107:21,23 109:4,5 110:8,25 113:16,     14 55:19 66:7 72:20 73:20 76:2
   22:8,9 30:22 31:4,19,20 32:3,21
                                          18 132:17 139:24                       82:13 88:23 92:8 94:12 95:15 97:3
   38:19,25 39:6,23,25 40:12,16,18
   42:17 44:7,8 45:22 46:14,15 50:8,11   morning 5:10,25 126:18                  106:7,20,25 107:17 114:3 115:20
   51:3,15 52:14 59:2 60:23,24 61:1                                              119:12 120:9 122:12,16,18 125:14
Case 1:23-cv-00595-JPH-KMB               Document 48-9          Filed 06/01/23      Page 58 of 73 PageID
                                               #: 1657
                                                                                                      Index: name..of
   129:13 134:15 138:9 139:9             norm 61:6,15 104:18                     50:10 51:7 52:2 54:1 55:17 56:15
                                                                                 57:4,12,19 58:2,11,20 59:7,18 60:20
                                         not 7:12 9:3 10:21 11:12 12:1 13:1
                                                                                 62:11 63:14 65:11 66:6,21 68:7
                    N                     14:19,21 18:12,18 19:20,21 20:1,3,
                                                                                 69:24 70:8 71:3 74:11 75:23 76:15
                                          5,10,18,19 21:4 22:12,13 23:3,4
                                                                                 77:9 78:5,21 79:3 81:12 88:7,13
  name 5:1 6:1 72:22 116:7                24:21 26:15 27:8 30:18 31:19,20
                                                                                 89:7 91:3 92:14 103:16 105:22
                                          34:4,20 35:5,8,10,23 36:9,23,24
  names 42:9                                                                     106:6 108:17 111:22 112:23 121:19
                                          39:15 40:16 41:4 43:7,17,21 44:13,
                                                                                 124:21 125:3,23 128:1,17 129:4,17
  narrow 60:14                            20 45:11 46:9 47:6,11,22 48:9,11
                                                                                 130:3 134:2,11,21 138:6 139:6,17
                                          49:19 50:8,12,17 52:5,9,17,22 53:1,
  natal 45:13 46:7,9,19 51:19 53:16                                              140:16
                                          9,10,16,21,22 54:2,16,19,20,21,23
   67:18                                  55:8,9,10,15,23 56:1,4,9,20 58:8      Objection 16:20
  national 102:2,5,9                      59:25 62:16,25 63:2,6,8 65:15 66:14
                                                                                objective 27:12 128:8
                                          67:22 69:25 70:9 72:20,22 73:5,6,9,
  nationally 62:9 64:7,11,16 65:5         20 74:4,17,24 76:4,5,10,25 77:1,22    observable 27:13 32:4
  necessarily 43:21 54:5 62:16            78:2 79:25 81:7,16,22 90:6,15,16
                                          92:7,16 93:1 94:25 95:1 98:13,24
                                                                                observation 32:7,22 65:8
   105:14 134:13 139:25
                                          99:17,18 100:9,15,19 101:16 104:7,    observational 108:8
  necessary 20:14 38:9 77:1               8,15,22 105:12,14,15,25 106:7
                                          109:7 110:20 111:11,23 112:13,17      observe 24:17
  necessity 72:25
                                          115:23 116:18 118:16 119:16 120:6     observed 32:16 42:6
  need 23:19 24:20 25:4 39:2 55:4         121:10 122:12 125:17 126:6 131:11
   78:25 79:14 84:5 101:7,8 105:8         132:15 133:23 134:13 135:9,17         observing 29:15
   106:2 125:19 140:20                    136:21 137:15,17 139:2,4,25 140:4,    occur 46:8
                                          19
  needs 29:4 35:1                                                               of 5:2,12,14 6:5,20 7:4,8,11,12,17
                                         note 104:7 130:15                       9:2,12,17 10:11,12,13,14,18,19,21,
  negative 139:14
                                         nothing 5:21 86:17                      23 11:4,5,10,11,13,15,18,21,24
  neovagina 96:9,17                                                              12:1,2,7,17 13:10,11,12,17,19 14:3,
                                         notice 6:5,10,11                        4,10,11,13,16,17,21,23 15:4,8,12,14
  Netherlands 124:11,22
                                         November 88:20                          16:3,9,18,23 17:5,10 19:6,11 20:13,
  never 38:18 108:22                                                             15 21:3,22,25 22:3,13,21 23:1,9,10,
                                         now 9:24 14:18 41:15 51:23 70:23,       11,17,22 24:9,22 25:8,15,16,19
  new 33:22
                                          25 73:20,21 86:21 87:22 88:1 91:25     26:8,9,10,14,16 27:1,2,8,11,19,22,
  newborn 20:25 22:22 23:1,6              99:4 101:9 103:4 110:24 118:1          23 28:2,3,4,16,17,23 29:5,7,9,18,20
                                          120:10,11 124:11                       30:1,4,5,6,8,9,12 31:16,22,25 32:22
  newborns 32:15
                                                                                 33:3,10,18,22 34:4,5,11,13,15,20,
                                         number 15:12 17:10 65:9,14 66:4
  news 48:7                                                                      21,22,23 35:6,7,10,14,17,20,24,25
                                          68:19 82:10 85:25 104:4 105:4,17
                                                                                 36:1,2,11,14,16 37:4,14,16,24 38:7,
  next 13:9 54:12 68:22 69:3 86:20        110:21 112:20 114:12 117:10,11,17
                                                                                 22,23 39:11,12,20 40:9,21 41:4,11
   97:2 99:4 108:6 109:9,11 128:4         121:14 126:24
                                                                                 42:1,2,5,11,14,18,19,22 43:4,5,14
  NIH 11:19                              numbers 57:20 60:21 62:23 63:18         44:8,9,12,16,24,25 45:12,18,19,21,
                                          64:18,21 65:13 66:1,5,7,9,10,14        23 46:1,4,18,21 47:22,23,25 48:3,
  no 6:16 9:8 12:24 13:7 24:11 25:4       138:18                                 11,12,16 49:5,13,21 50:21,25 51:3,
   35:3 36:20 39:4 48:5 53:9 54:5 56:3
                                                                                 4,6,14,16 52:4,5,6,13,15,20,21
   57:8 72:1 73:12 78:18 81:5 86:23      numerous 19:14
                                                                                 53:11,12,14,15,18,20 54:15,19
   92:15 97:5 98:2,3,12 99:13,24
                                                                                 55:18 56:8,10,12,16,18,20,24 57:9,
   100:1,2 102:12 106:13 107:3 108:23
                                                            O                    10,13,14,16,24 58:3,6,7,10,12,16,
   110:19 113:24 116:18 117:21 120:3
                                                                                 18,21 59:1,3,4,8,11,12,14,15,16,21,
   123:5 130:8 133:12 137:8 140:17
                                         object 9:22 10:7,16 11:25 14:15         23,25 60:9,11,15,16,22,24,25 61:2,
   141:4
                                          15:11,19 16:6 17:8 18:1,17 19:1,19     15 62:5,25 63:16,18,19 64:4,12,17,
  nonbinary 42:8,9,12,13,19 43:3,11,      20:8,17,22 21:18 22:6,25 23:8,15       19,20 65:9,14,19,25 66:1,3,5,18,24
   14 44:8 45:7 50:25 51:23 52:12         24:2,19 26:12 27:4,17,25 29:11,24      67:1,2,3,4,7,10,12,14,15,18,24
   74:3,18 76:1 140:2                     30:16 31:5,15 32:6,13 33:5,17 35:2,    68:11,16,19 69:5,6,7,8,11,17,18,19,
                                          15 36:8,22 37:6,21 38:21 39:7 40:7,    25 70:2,3,11,15,17,18,21,24 71:1,4,
  none 53:20 62:13
                                          24 42:7 43:6,16 44:1,18 45:5,17        7,8,13,15,16,18 72:5,10,13,17,19
                                          46:5,11 47:1,16 48:2,14,25 49:15       73:3,11,25 74:18,21 75:3,11,19,20,
Case 1:23-cv-00595-JPH-KMB                Document 48-9         Filed 06/01/23       Page 59 of 73 PageID
                                                #: 1658
                                                                                                   Index: off..outcome
   22,25 76:3,7,16,21,24 77:6,7,14,17,     116:9 117:19 119:3,25 121:24 122:5    or 5:25 8:18 10:1,6 11:2 13:16 14:4
   21,23 78:2,9,15 79:5,8,9,13,25 80:8,    123:2 126:10,15,19,22 129:1 130:5,     16:1 18:12,21 20:4 21:5,12 22:4
   9,17,20,24 81:1,2,10,14,15,20,23,25     15 131:21 132:19,21 134:9 136:14       23:11 25:8,15 26:9 28:16,17,18
   82:2,5,7,9,11,13,18,19,21 83:5,6,7,     139:4 140:12,19,20,22,24               29:22 32:10 34:9 37:2,10 38:8
   10,12,22,24 84:1,3,5,13,14,20,21,                                              40:14,22 42:2,3,5,6,12,16 43:4,10
                                          old 69:12 132:11
   24,25 85:2,4,11,19,21,22,25 86:11,                                             44:5,6,21,25 45:7,19,22 46:1,21
   12,24 87:7,15,17,19,22 88:1,2,6,19,    older 11:14 34:18 35:21                 47:25 48:23 49:1,22 50:2,15,17
   22,23,24 89:2,5,13,14 90:2,8,13,14,                                            51:25 52:9 53:3 55:16 56:3,5,13
   20,22,24,25 91:7,21 92:13,17 93:2,
                                          Olson 131:4                             58:7,21 60:14 63:4,5 66:15 67:17
   4,9,10,11,12,13,14,18,19,20 94:3,      Olson-kennedy 119:9                     68:1 69:22 71:8 73:8,13 74:3 75:9
   14,15 95:3,9,14,20,24 96:9,10,14,                                              77:10,13,20,22 78:8,16 79:5 81:7
   17,18,20,22 97:6 98:6,7,14,15,18,      on 5:12,16 8:4 10:8,15 12:5,22 14:8,    84:24 86:1,13 88:14 90:16,18 91:25
   22,23 99:13,16,24 100:1,2,8,24          10 15:5,22 16:2,3 18:18 19:10,22       92:4,11 93:11 95:23 97:25 107:1
   101:3,5,6,9,16 102:13,20,24 103:2,      20:18 23:19 24:3,7,16 25:16 26:21      108:18 109:3 111:23 112:3,12
   12,19,22 104:4,5,6,7,8,9,17,19          27:14,15 31:23 33:10 36:1 37:22        113:11 115:13,25 116:13 118:4
   105:5,8,11,16,17,20 106:4,20,21         39:24 41:21 42:23 47:5 58:12 62:23     119:19,21 120:3 121:21,22,25 126:4
   107:4,8,11,12,19 108:9,12,20,24         64:21,23 67:3,4 69:8 71:6,20 72:1,     130:22 133:11,19 135:16 139:10
   109:2,4,19,23 110:1,3,5,11,12,24        25 74:1 76:24 79:21 80:4 82:6,11
                                           83:23 86:3 88:24 89:8,23 90:17        oral 38:6
   111:3,6,7,12,15 112:5,11,18,20,24,
                                           92:4,21 93:13 95:5 97:5 99:8 100:9,
   25 113:23,25 114:6,7,12,19,24                                                 orchiectomy 96:8,13
   115:18 116:3,9,12,19,23,25 117:5,       16 101:6 102:12,22 104:6,14,24
   10,11,12,13,17,24 118:8,10,12,14,       106:3,13 107:24 108:22 114:4          order 22:19 38:8 69:5 77:3
   21,23 119:7,8,11,12,13 120:25           116:5,13 117:5 120:3,9 124:12,13
                                                                                 organization 14:24
   121:16,22 122:13,15,17,18,19,20,        125:24 126:2 131:9 136:13 140:3,13
   22,25 123:18,24 124:6,7,11,15,16,                                             organizations 14:17
                                          once 63:24 70:20 139:5
   18,24 125:8,15 126:6,17,24 127:6,8,                                           orientation 58:1,18 59:2,17,21,23
   16,20 128:14,19 129:3,8,10,11,15       one 5:3 6:20,24 7:16 13:1 16:9 21:4
                                                                                  60:10,19
   130:15,16,24 131:5,6,16,18,21           26:9 27:15 28:3 32:7 34:21 36:12
   132:4,5,7,9,10,12,16,17 133:3,7,13,     39:25 40:15 42:10 51:14,21 56:19      oriented 77:12,15
   16 134:22,23 135:5,11,15,20,24          57:23 59:25 60:23 62:24 68:8 69:4,
                                                                                 other 7:12 9:6 10:14 15:5 16:1 17:24
   136:4,15,20,21,23,24 137:2,5,7,8,9,     17 70:24 73:14 80:25 94:3 95:15
                                                                                  18:3,21 19:4,17 20:24 22:1,5 24:8
   11,12,13,19,24 138:4,12,14,18           98:5 101:9 106:12 109:10 115:8
                                                                                  26:2 27:11,15 33:13 34:5 36:12,19
   139:8,13,21 140:3,6,9                   116:3 117:4,5,24 119:9,13 120:8,10
                                                                                  38:1 42:4,9 43:19,22 44:6 45:20,22
                                           121:13,25 131:14 133:7,11,19,20
  off 48:16 65:4 79:17,25 94:19 119:12                                            47:20 49:9 50:2,7 51:1,21 58:14
                                           136:21,25 137:1 138:9
   126:17                                                                         63:5 64:10,13 67:17 71:11 73:3
                                          one's 28:8,21 32:8 38:3 50:20,21        76:24 83:7,13,17 85:10,24 86:8
  offer 135:17                             51:5,6,14 60:10                        108:3 117:23 119:7 121:20 125:6
  offering 137:15                                                                 132:1
                                          ones 7:11 72:23 108:18 112:10
  office 5:16,17                           116:24                                others 18:11 36:17 46:15 49:3,12
                                                                                  50:17 52:23 65:6 74:7 105:23 117:8
  often 16:16 21:10 22:17 25:7 27:6       only 11:13 18:11 20:15 23:4 28:4
   35:4 37:25 58:24,25 59:22               33:18 59:14 73:13 79:25 83:2 84:6     otherwise 7:1 22:22
                                           93:1 96:10 100:4 102:16 103:18
  oh 13:1 14:2 39:13 65:3,5 79:17,24                                             our 5:17 6:4 15:9 20:12 36:15 37:24,
                                           106:10 125:24 126:16
   80:3 92:7 97:22 99:3 102:18 118:15                                             25 41:15 51:19 56:12 64:20 69:3
   120:5 122:12,21 123:13 135:13          onset 59:21                             83:1,20 84:2,12 85:6 86:4,20 97:2
   136:13,14                                                                      105:6,16
                                          open 61:18
  okay 7:19,24 12:14 14:25 20:10                                                 out 7:4 15:24 36:12 39:21 40:2 48:9
                                          opened 61:4
   22:20 25:22 29:2,21 37:19 38:15                                                49:20 51:4 69:5,20 71:23 75:16
   40:4,20 45:1 48:11 50:20 51:23         opinion 93:19 107:17                    80:24 81:8 83:21 88:3 109:6 110:9
   52:16 55:12 56:9 62:15 65:3 66:1                                               122:6 125:7 126:13 131:16 132:8,17
                                          opinions 122:18
   68:21,22 69:14 71:22 72:8 74:25                                                133:10 136:14
   75:6 76:18 79:22 80:2,3,6 89:25        opposed 17:19 74:4 81:17               outcome 107:23 108:21 117:4
   91:24 96:24 97:20,22 98:20 99:5,24     optimal 112:8                           118:10,22 139:15
   103:21 106:9,11 113:4 115:12,24
Case 1:23-cv-00595-JPH-KMB              Document 48-9         Filed 06/01/23         Page 60 of 73 PageID
                                              #: 1659
                                                                                              Index: outcomes..place
  outcomes 103:23 108:4 114:20          parents' 132:14                         80:16,18 82:20 85:12 94:5 95:6,16,
   115:4 116:18 125:22 127:15 128:24                                            17 96:1,10 98:16 101:7 105:8 110:7
                                        part 11:18 13:11 22:13 29:5 40:9
                                                                                111:9,10,14 114:14,21,23 115:2
  outlier 104:21                         47:24,25 48:12 71:4 75:15 79:25
                                                                                121:4 123:18,25 125:5,8 126:7
                                         89:2,5,10 90:2,24 93:9,13,14 101:3,
  outside 34:4                                                                  130:24 136:23 138:12,15,17,18
                                         16 111:7 117:12 122:18
                                                                                139:21 140:3
  outweigh 116:17,20 137:17,20
                                        part-time 10:1
                                                                               perceive 45:21,23 55:1
  over 10:11 11:20 50:20 51:9 68:4
                                        participants 104:4
   77:24 98:3 103:6,7 109:22 114:24                                            perceived 45:19 49:3
   124:15,24 134:3 135:5                participate 95:7
                                                                               percent 11:4 16:18 32:23 56:24
  overall 45:6 109:1 117:6 118:12       participated 80:21                      57:9,16,24 59:4,15 60:15,17 138:12
  overstate 44:12                       particular 14:12 49:25 50:22 57:5      percentage 10:23 11:11 16:23 57:1
                                         59:2 68:9 73:5,8 77:21 78:1 87:24      58:16 65:17 66:8,23
  own 47:8,9 74:8 114:3 126:12
                                         89:14 90:13 95:3 105:11 112:10
                                                                               percentages 11:11 58:12
                                         117:24
                    P                                                          perception 52:13
                                        particularly 9:4 29:3 72:24 78:14
                                         87:24 95:4 101:1 135:11               perfect 75:4 84:10 85:25
  p.m. 5:5 141:7
                                        parts 46:16 48:23 49:1 65:25 72:13,    perfectly 80:2
  pace 126:12                            15
                                                                               perhaps 20:4 39:21 40:2 46:19
  page 12:21,22 13:10,12 25:16,19,      past 40:13,14,19                        94:16 123:5
   20,21 73:11 75:1 98:3 100:1 101:10
   103:7 107:4 109:22 113:18 122:22,    pathway 140:15                         period 9:20 60:2 124:20 140:3
   25 125:24 126:2 130:11,14 136:11,    patient 22:1,4,7,13,16 29:6,13,14,     persistence 130:18,22,24 131:2,15,
   13                                    15,16 30:1,2 39:10,21 41:10 48:16,     18
  pages 14:3,4 73:13 79:21 99:24         18 85:15 117:5 139:13
                                                                               persists 139:11
   100:3 113:17                         patients 10:3,12,21,23 11:13 38:1,7
                                                                               person 21:9,20 23:14,20 27:3 28:24
  paging 126:23                          47:12,14,17 48:10 51:9 52:22 53:15
                                                                                29:17,18 30:14 32:10 39:23 45:10,
                                         54:15 76:21 94:3,10,12 108:5
  paid 102:8                                                                    12,14 46:14 49:8,11 51:22,24 71:11
                                         110:22 111:7,13 117:7 121:16
                                                                                78:13 94:17 100:24
  panel 38:7                             124:14 125:15 138:9
                                                                               person's 28:15 29:9 31:13 52:1
  panic 31:21,23 63:5                   pay 63:2
                                                                                58:6
  paper 57:5 70:5,12 79:23 80:4 88:17   pediatric 21:12
                                                                               persons 5:9 86:25
   89:21 91:17 101:12,21 102:15,16,     Pediatrics 115:18 117:3
   19,22,24 103:12,19 106:4,7,16,18,                                           perspective 49:10 87:19
   23 107:2 118:18 125:11,21 129:6      peer 14:13,19,22 31:1 69:22 70:6,20
                                                                               phalloplasty 93:7
   130:9 132:6                          peers 23:22 30:7 51:3,13
                                                                               phenomena 27:13
  papers 14:12,13 15:5 90:14 104:2      penis 96:15,16,17,19,20,22
   111:19,23 116:19 118:21 131:5                                               phenomenon 18:20,21 19:22 41:7
   136:15                               penultimate 98:21                       48:9 138:8 139:1,19

  paragraph 25:16,21 28:9 41:22,24      people 10:9,10,17,18 11:1,7,18,21      phenotype 20:25 21:15 22:23 23:5,
   52:16 56:11 75:6 79:20 83:10 98:6,    16:14,25 17:1,11,14 18:19 21:10        6,9 27:1,13 32:17,23
   20,22 99:2,3,5 100:1,7,16 101:14      27:5,7 28:4 30:17 31:18 33:21 34:1,
                                                                               phenotypically 17:12,17,19
   103:24,25 108:6 109:23,24 113:3,5     2 35:4,8,19 36:2 40:8 41:2,4,12
   116:9 118:1,4 135:14,15 136:13        42:8,11,16,19 43:9,13,24 44:3,12,22   phrase 70:9
   137:6,9                               45:7,9,20,22 47:3,24 48:6 49:18
                                         50:3,15,23 51:1 52:24 54:20 55:22
                                                                               phrasing 78:15
  paragraphs 119:14 133:3,7 137:21       56:21 57:14,21 58:5 59:19,20 60:22,   physical 57:11,15 75:9
  parents 23:16,24 24:3,16,22 52:23      25 61:6 63:3,22 64:5,24 65:14 66:8,
                                         15,16,22,24 67:3,4,10,12,15,22,25     physician 16:1
   93:4 132:11 135:24
                                         68:11,12,13,17,18 71:7 74:15,22       place 80:1 96:25
                                         76:2,11,20,24 77:3,5,13,14,18 78:7
Case 1:23-cv-00595-JPH-KMB               Document 48-9          Filed 06/01/23      Page 61 of 73 PageID
                                               #: 1660
                                                                                              Index: places..purpose
  places 65:6                            pretty 36:10 56:18 118:9 128:25        provider 16:2
                                          129:10
  plaintiffs 5:12                                                               providers 93:18 114:7
                                         previous 59:16 100:16
  please 5:8 6:22 12:12 13:10 26:21                                             provides 61:13 134:14 137:18
   41:17 75:5 107:5 109:22               previously 60:18 103:4
                                                                                providing 61:21 77:23 84:14 98:16
  point 10:25 30:13 38:13 40:13,17       principle 93:20                         110:23 112:6 124:11 137:19
   53:13 54:11 58:7 60:5,23 61:1 63:10
                                         printed 7:10,11 89:22 126:13           psychiatric 10:14,19 35:6 36:19
   119:3 125:7
                                                                                 37:2,3,15 44:6 63:5 84:5,6,16 85:8
                                         prior 58:18 76:12 92:17 102:1
  policy 14:16,21,22                                                             86:6 124:19 125:2
                                         private 10:20
  population 11:20 57:23 126:6                                                  psychiatrist 29:14 30:20 31:18
   131:9 134:24 135:6,11                 probably 65:24 75:2 86:22 91:15         35:4 37:13 38:10 44:3 63:3 74:20
                                          92:5 97:5 137:24
  population-based 65:15                                                        psychiatrists 38:7,17
                                         problematic 79:13
  position 9:11,15,19 14:23                                                     psychiatry 9:12,18
                                         problems 100:18 112:17
  positive 38:19 105:9 111:10                                                   psychological 28:14 42:24 104:9
                                         procedure 93:2,3                        121:17 126:3 127:8,20 128:3 131:23
  possibility 65:19
                                         procedures 95:10                       psychosocial 103:22 104:6 105:5
  possible 35:13 39:19 91:20 133:25
                                                                                 133:15
                                         proceed 78:9
  post 60:13,16 67:21 119:19,23
                                                                                psychotherapies 77:12
   121:25 131:17                         process 38:3 44:9 51:12 52:6 60:8
                                          70:2,4,14,17,19,24 71:5,10,15 72:17   psychotherapists 76:23
  potential 50:19 98:23 99:16 104:8
                                          80:21 93:9,12 94:19 101:4 106:1
                                                                                psychotherapy 76:12,19,20,23,25
  practice 9:20,24 10:1,2,5,6,20,22       132:17
                                                                                 77:7,8,11,16,19 78:4,7,12,20 79:1,6,
   28:7 37:17 61:8 69:15,20 86:25
                                         processes 19:4 95:6 112:7               16 85:12 86:7
   87:18,21 88:4 91:6 95:15 98:8
                                         product 56:9,20                        pubertal 60:13,17 67:21 100:8
  preceding 9:18
                                                                                 101:1 123:20,25 124:12,16
                                         professional 24:14
  predict 23:1
                                                                                pubertally 131:17
                                         professor 9:12,17
  predicting 130:17 131:2
                                                                                puberty 21:13 59:21 61:8 67:25
                                         program 111:8
  predominantly 15:3 118:8                                                       92:10,15 102:6 107:20 108:1,3
                                         programs 10:13                          112:12 114:22 127:6,19 131:25
  preferred 26:16                                                                139:8 140:14
                                         prohibits 8:18
  preparation 8:23                                                              Public 63:16,18
                                         Project 137:2
  preparing 14:9                                                                publication 69:23 88:25 118:24
                                         pronouns 50:6                           119:2
  prepubertal 11:23 58:25 59:1,8,10
   67:21,23 130:21 131:6,13,16 138:7     properly 91:1 129:14                   publications 12:17 13:20 80:24
   139:1,18
                                         proposing 112:17                        112:25
  prescribe 78:3 93:22                                                          publish 110:19,20
                                         proposition 55:5
  present 5:9 43:24 44:3                                                        published 12:1,4 69:13 70:1 80:23
                                         prospective 124:9 133:24
  presentation 12:19 36:5 67:1                                                   81:3,5 82:18 83:1 88:12,17 91:5,20,
                                         protocol 61:7 101:24 102:1 127:5,       23 102:16 103:5,20 106:7,10 110:18
  presented 47:25 67:5 82:17 110:5        18                                     111:1 114:18 115:17,19 116:5,6,7
   116:3,4                                                                       117:11 131:11
                                         proven 37:11
  presenting 32:1 44:2 66:24 68:9                                               publishing 110:25
   110:10
                                         provide 77:22 85:3 99:21 127:16
                                          134:7                                 pull 41:20 133:5
  presents 75:14 77:25
                                         provided 11:22 80:19 109:19            purporting 120:20 123:16
  presumably 21:21 23:24                  112:20 129:6
                                                                                purpose 64:17 112:3,4
Case 1:23-cv-00595-JPH-KMB               Document 48-9          Filed 06/01/23     Page 62 of 73 PageID
                                               #: 1661
                                                                                         Index: purposes..releasing
  purposes 40:21 81:23                   read 8:8,20 18:11 19:11 47:19 55:12   recommends 76:9
                                          97:17 99:8 101:20 106:2,23 111:20
  pursuant 8:5                                                                 reconstruction 95:23
                                          141:5
  pursue 79:7                                                                  record 5:9 7:17
                                         readily 47:18
  put 16:2 27:23 32:19 40:20 71:23                                             records 64:21
                                         realities 85:19
   76:1 87:18 92:23 134:19
                                                                               reduction 96:20 119:10 135:3
                                         realize 44:10
                                                                               refer 15:20,21 16:9 26:13 27:7 43:9
                   Q                     realizing 115:14
                                                                                 61:6 69:18 139:21
                                         really 18:18 26:22 30:8 34:11 43:5
  quality 118:14                                                               reference 42:14 73:4 81:19 82:10
                                          52:25 54:6,13,14,16,25 60:16 66:3,
                                                                                 92:8
  quarter 75:3                            17 69:19,20 71:17 78:12 104:18,19
                                          128:12 129:24 139:18                 referenced 110:17 136:6
  question 15:10 16:8 18:11,25 28:20
   32:14 36:18,25 46:12 49:16 82:24      realm 36:14                           references 15:2 90:11,12,21
   107:1,20 108:3 120:19 129:13 130:4    reason 6:14 20:15 95:14               referred 16:16
  questioned 60:4                        reassignment 98:7 123:22 127:18       referring 15:13,15,16 16:8,24 17:9,
  questions 6:21 29:23,25 30:3                                                   15 25:13 54:14 56:6 57:5 58:24
                                         recall 48:10,15,17 62:1 108:18
   37:10,11 102:21 141:2,4                                                       59:13 81:16 83:18 99:15 100:20
                                          111:19,23 121:13,20 140:18
                                                                                 102:22 120:16 136:8,12
  quickly 65:6 103:19                    receive 64:25 65:19 77:3 81:14
                                                                               refers 25:14
  quite 54:2 55:9,10 59:25 76:6 94:21     94:10,18 115:3 121:23
   124:3 128:18 138:13                                                         reflect 56:22 66:15 72:20
                                         received 111:16 114:14,15,22,24
  quote 19:14 28:10                       121:16,17,21,22 123:20,21,22         reflecting 102:4
                                          124:19 126:8 128:12 129:7 136:24
  quoting 28:12,13 42:23 43:1                                                  reflective 105:15
                                         receives 96:12
                                                                               reflects 56:17
                   R                     receiving 64:5 120:24 125:9,13,18
                                          136:21 137:5,14 138:18
                                                                               refresh 113:6

  radiographic 86:1                      recent 15:5 56:25 57:2,3              regard 15:10 63:12 104:21

  random 37:10                           recently 102:17                       regret 137:25 138:8,12,18,22
                                                                                 139:23,25
  randomized 121:1 133:23                recess 41:19 69:1 97:1 132:25
                                          140:25
                                                                               reimbursement 62:25 64:18,22
  randomly 129:22                                                                65:19
                                         recognize 6:7 49:18 69:10 87:3
  range 35:6 83:24                                                             reinforce 54:23
                                          97:10 106:16 109:15
  ranked 71:12                                                                 reject 43:14
                                         recognized 49:12 50:16 60:3,5
  rare 32:18,19                                                                rejected 63:9
                                         recognizing 51:16 77:4,18
  rate 32:11,21 33:2,3,15 35:14 36:21,                                         rejection 63:22
                                         recollection 88:23 106:20 113:7
   23 40:6,23
                                         recommend 78:6 79:6,15 85:17          relate 26:8,17,18 44:4,5 60:24
  rates 57:13 130:24 131:18 137:25
                                         recommendation 76:18 77:19            related 10:24 11:2,17 15:2 17:20
  rather 14:22 31:21                                                             26:2 30:23 80:18 81:20 82:11 83:8
                                          84:25 86:14 89:14 97:6
                                                                                 120:23
  ratio 66:18 67:12 68:10,13
                                         recommendations 78:16 80:8
  reach 95:3                              81:9 83:11 90:20 91:8 93:15 97:13,
                                                                               relates 43:8 60:9
                                          15 101:6,10 103:2                    relating 82:8
  reached 11:12
                                         recommended 92:18 94:12 95:15         relatively 109:25
  reaching 95:9 99:11
                                          101:4
  reaction 101:19 104:1,11                                                     released 69:12 70:15
                                         recommending 94:25 127:9
                                                                               releasing 106:14
Case 1:23-cv-00595-JPH-KMB           Document 48-9          Filed 06/01/23      Page 63 of 73 PageID
                                           #: 1662
                                                                                            Index: relevant..scroll
  relevant 105:19 112:10,22,24       restricted 105:12,14                   sake 17:5 117:24
  reliable 107:12                    results 126:1 127:16 128:18            same 12:3 13:11 19:21 25:18 36:3,4
                                                                             43:5 45:12 58:7 62:16 76:4 99:3
  relied 14:8,10 15:5                review 9:2 70:11,20 80:22 81:1,6,
                                                                             100:1 114:23 115:16,25 116:2 126:5
                                      10,15,23,24 82:5,7,23 83:4 85:12
  relieve 45:16                                                              130:11 131:10
                                      88:6,10,12,22,24 89:1,4,6,10,12,19
  relying 64:23                       90:1,5 91:2,4,6,12 102:13,25 103:1,   sample 120:18
                                      3,10 104:25 106:13,20 107:24
  remain 130:18 131:3                                                       San 63:16
                                      108:7,14 109:12,19 111:24 117:12,
  remained 51:13 54:19 123:18         16 118:7,8,9,15,19,20,21 122:15       satisfactory 128:7
                                      125:25
  remaining 96:21                                                           satisfied 30:14
                                     reviewed 8:22,24 14:13,19,22 69:23
  remember 39:23 40:15 63:15          70:1,7 109:17
                                                                            saw 10:12 116:3 122:4
   118:15 120:10
                                     reviewing 71:12 81:25                  say 6:22 16:21 17:3 18:13 21:17,23
  remembering 64:9                                                           24:3,13 25:20 29:17,21 32:21 40:25
                                     reviews 80:17 81:2 82:15,17 84:20,      41:24 42:10 45:13 49:7 51:8,14
  removal 95:24 96:14,19              21,22 86:11 90:2,14 91:7,22 104:15,    52:16,17 53:5,9 54:7 56:9,19 57:8
  removed 92:9                        17,20 105:24 108:20,24 109:2           61:15 62:12 67:21 70:5,6 79:10 81:8
                                      111:18 112:1,9                         87:22 88:16 89:12 99:20 104:23,24
  removing 95:24                                                             112:13 115:8 121:15 124:18 127:13,
                                     Richard 12:4
  rephrase 49:16                                                             14 136:4
                                     Richardson 5:2
  replacement 96:20                                                         saying 20:7 31:25 36:9 44:2 46:23
                                     right 8:11 13:8 14:5,18 15:7 17:18      55:19 88:21 93:5 99:21
  report 14:9 98:1 136:9              24:20 26:23 28:11 29:1 41:7,14,16
                                                                            says 25:25 27:2 28:14 29:19 30:1,21
  reported 64:19 98:25 99:18          45:6 48:1 62:2,4,19 68:24 73:23
                                                                             36:12 48:19 49:17 51:22 52:16 69:7
                                      79:19 80:13 86:20 87:15 97:2,4,17
  REPORTER 5:1                                                               73:16 75:1,7 83:10 86:23 89:19,25
                                      101:11,14 102:10,24 106:18,25
                                                                             90:7,11 91:4,17 98:6,21 99:8,25
  reports 48:7                        109:9 113:21 116:9 120:7 130:16
                                                                             100:8,17 101:15 104:3 106:13
                                      133:15 140:5
  represent 18:9                                                             107:8,9 108:6 109:24 114:4 121:5,9
                                     ring 140:15                             123:23 126:2 127:16 128:4,5 130:17
  reproductive 46:3                                                          131:21 135:15
                                     risk 62:24 104:5 138:4,8,10,15,24
  require 21:24 96:7                  139:2,4,23                            scanned 102:17 103:19
  required 131:25                    risks 99:25 116:17,20 135:19,23        scanning 100:15
  requirement 77:2                    136:1,4,20,21 137:5,7,9,11,17,20
                                                                            scenarios 55:21
  research 11:15,17,24 12:2 33:10,   role 29:2 45:19 46:4
                                                                            schemes 34:18
   19,20 34:5,7 47:20 122:20         Rose 5:14
                                                                            school 22:15 37:14
  researchers 89:4 129:9             rough 11:11
                                                                            science 15:17
  reserved 102:2                     roughly 10:23
                                                                            sciences 9:17
  residency 37:15                    rule 36:12
                                                                            scientific 14:13 27:24
  respect 81:4 82:3 111:17           run 21:6 22:11 37:4
                                                                            score 71:13 85:14 89:13 109:8
  respectful 30:1                                                            118:25
  respond 102:23                                      S
                                                                            scores 84:23 89:2 109:1
  response 6:11 8:3 9:4              S88 75:1                               screen 26:21 41:21 89:23 90:18
  responsible 93:20 129:9,19                                                 100:4
                                     safety 49:10 105:20 107:10 112:11
  rest 19:11 116:9                                                          screening 38:24
                                     said 19:3 20:3 27:5 33:18 35:16
  restaurant 50:12,13                 44:17 54:24 59:19 61:20 65:5 86:10    scroll 7:22,23 12:15,21 13:9,14
                                      120:1 127:13 136:15                    25:19 87:9 88:14 89:17 107:6
Case 1:23-cv-00595-JPH-KMB               Document 48-9         Filed 06/01/23       Page 64 of 73 PageID
                                               #: 1663
                                                                                                    Index: scrolling..so
   123:12 130:13 137:23                  seriously 129:12                       significant 76:7 95:17 104:19 105:2
                                                                                 115:3 126:25 134:5
  scrolling 12:21 89:8                   set 7:8 22:2 77:21 78:1 131:4
                                                                                similar 18:3 19:4 35:21 36:1 124:5
  sea 64:4                               setting 61:9
                                                                                 126:4
  second 75:6 92:2 103:25 113:7          seven 124:16 125:12
                                                                                similarly 32:25
   126:14 130:15 135:16 136:3
                                         several 14:2 97:23
                                                                                simplification 134:12
  section 72:25 100:2 101:11,15
                                         sex 15:10,12,14,17,20,21,22 16:1
   103:8                                                                        simply 40:15 53:10 54:21
                                          19:6,8 20:18 23:2 25:10,12,24 26:3,
  see 10:20 11:13 12:16 21:17 26:5        11,15,17,19 27:3,5,7,11,14,19,22,23   since 9:14 10:9 13:1 61:12,14,21,23
   33:21 38:11,12 43:24 51:23 64:6        28:5 43:18 44:16 45:2 46:4 49:19       62:1 109:16
   68:3 73:18 79:22 80:3,11 83:15         51:21 58:5,7 60:25
                                                                                single 70:12
   87:10 88:14 89:11,19 90:20,21,24
                                         sexes 18:14,24
   92:3 94:23 98:4,9 99:1,4,6 100:11                                            situations 78:8
   101:12,23 106:9 107:14 117:21         sexual 15:21 19:14 59:2,21,23
   122:8,22 126:18,24 127:1,2 130:20
                                                                                six 110:4 111:4
                                          60:10
   132:2 135:13,21 140:6                                                        size 96:21 120:18
                                         shaft 96:22
  seeing 10:3,10 29:16 41:9 63:4                                                skeptical 106:1
   76:22 105:1 118:15
                                         shape 46:21 48:23 49:2
                                                                                skin 96:18,21
  seeking 44:3,21 45:7 48:5 67:16        share 41:4
   68:11,13                                                                     sky-diving 53:19
                                         Shawn 7:23 12:14 13:9,16 25:18
  seem 56:18                              26:20 28:11 41:20 69:4 71:25 73:10    slightly 26:25
                                          74:25 86:21 87:9 97:4 100:6 102:12
  seems 52:13 74:18 85:16                 103:7 106:12 107:5 109:11 119:21,
                                                                                slowly 98:24 99:17
                                          23 120:7 123:6 130:13 133:4 137:23    small 17:10 47:4 104:4 108:7
  seen 7:25 8:14 38:1 51:9 74:15
                                                                                 138:10,13,18
   102:16 111:13                         she's 140:13
  Seldin 5:13                            shift 60:13                            smaller 65:17 66:8 138:13

  selected 111:20,23,24                  shifted 67:20                          so 6:4,19,24 7:10,12,18 8:22 9:4,9
                                                                                 10:22 11:6,17 12:6,14 13:16,18,24
  selection 104:5                        short 109:25                            14:5,19,21 15:12,20 16:1,7,24 17:9,
                                                                                 13 18:2,5,15,18,22 19:9,25 20:3,13,
  self-harm 79:5,10                      shorter 111:3 117:22 125:12
                                                                                 19,21 21:2 22:17 23:1,9,24 25:4,6,7,
  Senate 8:12                            should 13:17 25:18 36:12 62:8 77:2      12,16,18 26:13,17,23,25 28:6,11,20,
                                          92:25 93:1 99:14 108:4 109:11          25 29:2,8,12,15,17 30:17,19 31:7,
  send 119:19
                                          121:25                                 16,25 32:7,14,20 33:6,12,18 34:12,
  sense 10:22 16:23 25:8,14 27:11,14                                             19 35:3,4,13,16 36:17,23,24 37:7,
                                         show 21:22 38:25 97:16 102:21
   28:16,21,23 29:9,18,20 32:7 39:8                                              12,17,22 38:3,17 39:23 40:10,15,20,
                                          140:17
   42:1,17 48:20 51:2,8 52:21 54:14,19                                           25 41:9 42:8,14,15 43:1,7,17,24
   55:23 59:23 66:3 68:16 70:20          showed 68:10 100:22 101:21              44:2,19,20 45:10,13,18 46:12,17
   102:20,24 138:23 139:4                 108:25 114:15 115:3 116:25 117:3,      47:2,9,17,24 48:3,8,11,15,19 49:1,7
                                          6,14 119:10 129:10                     50:4,11,18,21 51:13,18,23 52:9,19,
  sentence 25:25 26:5 28:12,22
                                                                                 20,24 54:8,11,19 55:18 56:1,6,7,16,
   41:25 42:21,23 83:10,15 98:22 99:1,   showing 14:17 56:24 57:9,13,16,24       19 57:13,20 58:3,23 59:8,19,25
   6,7,8 100:11,13 107:9 108:11 114:4     59:4 60:15 65:16 128:22 135:1
                                                                                 60:6,8,21 61:5,14 62:12,21,23,25
   128:5 131:22 132:4,16 135:16,21
                                         shown 8:25 84:21 105:5,17 115:5         63:2,10,15,22 64:6,9,11,15,21,23
   136:3
                                          117:17                                 65:3,12,16,22 66:1,7,14,22 67:13,22
  separate 43:3 74:4                                                             68:8,16 69:7,25 71:4,9,17,18,23
                                         shows 134:10                            72:9,16 73:7,16 74:12,25 75:14
  separately 76:22 81:3 91:21,22                                                 77:2,14,17 78:6 79:4,11 80:7,15,19
                                         sic 71:7
  separation 104:8                                                               81:7 83:2,10,19 84:10 85:2,21
                                         sign 141:6                              86:14,17 87:10,15,17 88:14,19,21,
  series 113:23 114:14 116:12                                                    25 89:4,8,11,23 90:20 92:15 93:4,9
                                         signature 12:22
                                                                                 94:3,5,6,17,21,23 95:2,11,20,22,25
Case 1:23-cv-00595-JPH-KMB               Document 48-9          Filed 06/01/23      Page 65 of 73 PageID
                                               #: 1664
                                                                                                 Index: SOC..Strangio
   96:11,16 97:3 98:2,3,14 99:6,8,19      113:16 115:22 140:2                    124:16 139:8,19 140:13
   100:4,7,21,23 101:2,10,12,14,20
                                         somewhat 106:1                         started 24:25 61:24 64:4 111:14
   102:4,17,18,20 103:10,21 104:13,
                                                                                 139:5,22
   15,20 105:10,19,23 106:11,25          somewhere 122:11
   107:8,25 108:6,11 109:4,10,22,24                                             starting 61:11
                                         sorry 7:23 13:16 15:24 19:10 25:20
   110:8,15,24 111:11,17 112:22
   113:15,17,23 114:1,9,11 115:22
                                          55:10 58:21 65:3 72:6 76:16 77:23     starts 67:23
                                          79:17 83:21 96:13 99:4 100:1,2,3
   116:5,15,24 117:16 118:1 120:9,21                                            state 92:24
                                          120:1 123:11 126:16 127:12 130:7
   121:1,22 122:8,12,25 123:9,17,24
   124:9,14,22 125:4,11,21,24 126:10,
                                          136:11                                statement 14:23 18:5,9,16 19:11,
   11,23 127:1,3,11,16,22 128:10,19                                              18,21 26:14 44:16 53:24 71:5,8 73:8
                                         sort 10:19 49:5
   129:11 130:11,13,15 131:9,21                                                  98:9,11 99:20 101:19 104:12
   132:10,12,15,22 133:2,6,23,25         sought 44:22                            107:14,16 108:15 113:15 115:20
   134:9,12,22,25 135:4,6,10 136:1,17                                            131:2 140:8,12,17
                                         sounds 17:22 38:16 89:22 92:6
   137:7,21 138:7,23,25 139:2,4,18        132:24                                statements 14:16,21,22 15:2 71:10
   141:5                                                                         72:18,21 113:5,12,24,25 116:12
                                         source 43:2 49:13,21
  SOC 71:23 73:21,22 76:9 80:23                                                  118:3,5 119:4 133:7
   81:9,23                               sources 14:14
                                                                                states 61:4 64:10 66:23 110:10
  social 45:19 78:8                      Spack 61:16
                                                                                statistical 115:1
  society 18:6,7 19:6,7 26:14 56:23      Spack's 61:6
                                                                                statistically 105:2 134:5
   86:25 87:7,18                         span 139:13
                                                                                status 9:13,16 10:4 37:8,23 39:3
  some 7:11 10:20,25 11:17 14:16,17,     speaking 124:6
   21 15:4 16:24 18:6 19:25 22:5                                                statute 8:4,17,20
   23:17,21 24:3 26:18 32:7 33:8 34:22   specific 35:24 60:15 77:12,19 82:5,
                                                                                steadily 126:4
   36:1 38:18,19 40:13,17 41:1 42:15      15,17 83:3 85:10 86:17,18 90:21
   44:8,21,23 45:6 47:5,10,19,21 50:23    92:23 93:5,6 102:21 116:22            Steensma 131:11
   51:3,10 52:21 56:17 60:2,5 61:6,12    specifically 61:25 66:18 70:14 85:8    step 31:11
   63:23 65:6,24 66:12,13,25 67:25        127:14
   74:12 78:18 80:24 82:14,18 86:18                                             Stewart 5:2
   90:8 94:6 95:5 96:10,18 103:2 110:5   specify 15:13
                                                                                still 22:7 31:10 39:2 41:21,25 43:12
   111:14 118:6 119:5,11 122:17          spectrum 57:17,21                       51:1 56:10 64:11 66:8,9 67:15 69:18
   136:15,24,25                                                                  93:19 110:10 111:4,9 112:6 135:14
                                         spell 115:10
  somebody 21:15 30:25 32:1 37:1,3                                              stipulate 13:18
   38:25 42:22 45:1 48:11 49:25 52:4,    spoke 61:15
   10 54:3 70:4 75:18 78:23 91:10                                               stop 13:10 134:19 139:24
                                         spoken 9:6
   96:12 108:1 120:11 131:19 139:15,                                            stopped 139:22
   24                                    spot 89:23
                                                                                stopping 107:20
  somebody's 26:10,11                    Square 5:3
                                                                                story 24:22
  someone 16:9 17:9,15 20:25 27:1        stable 67:11 131:7
   32:9,21 33:2 36:7 39:19 45:18 48:4                                           straightforward 129:25
                                         staff 50:12
   49:8,17 50:11 53:9 64:14,15 67:9                                             Strangio 5:10,11 7:9,16 9:22 10:7,
   77:8,10 78:7,10 79:4 94:21            stage 11:12 92:16 102:6
                                                                                 16 11:25 13:21 14:6,15 15:11,19
  someone's 15:22 26:17,18 32:5,11       standalone 113:12                       16:6,20 17:8 18:1,17 19:1,19 20:8,
   33:6 50:1 52:6                                                                17,22 21:18 22:6,25 23:8,15 24:2,19
                                         standard 5:5 34:10 88:9                 26:12 27:4,17,25 29:11,24 30:16
  something 6:23 19:24 20:5 28:13        standards 36:11 69:7,11,18,19,25        31:5,15 32:6,13 33:5,17 35:2,15
   29:13 33:8,14 34:20 47:11,17 48:9                                             36:8,22 37:6,21 38:11,16,21 39:7
                                          70:3,15,17,18,24 71:1,4,6 72:5,19
   50:5,18 53:9 54:20 62:16 86:2 98:15                                           40:7,24 41:16,18 42:7 43:6,16 44:1,
                                          75:25 80:9 81:14 82:13 83:12 87:22
   119:20,21 122:13 138:16,19 140:19                                             18 45:5,17 46:5,11 47:1,16 48:2,14,
                                          88:1,2 101:3 117:13 132:7
  sometimes 21:2 32:7,16,20 41:8,12                                              25 49:15 50:10 51:7 52:2 54:1 55:17
                                         start 9:9 15:7 18:15 57:1 59:10 62:2    56:15 57:4,12,19 58:2,11,20 59:7,18
   44:13,19,20 50:22 51:9,14 69:17
                                          67:24 77:23 78:11 101:25 120:19        60:20 62:11 63:14 65:11 66:6,21
   73:1 78:7 84:8 90:14,22 94:9,10
Case 1:23-cv-00595-JPH-KMB               Document 48-9           Filed 06/01/23      Page 66 of 73 PageID
                                               #: 1665
                                                                                      Index: streamline..Tallahassee
   68:7,23 69:24 70:8 71:3 74:11 75:23   substitute 125:18                       Survey 137:1
   76:15 77:9 78:5,21 79:3 81:12 88:7,
                                         subtlety 35:10                          surveys 57:13 65:15 66:13 136:25
   13 89:7,21 90:18 91:3,24 92:6,14
   103:16 105:22 106:6 108:17 111:22     succeeded 54:20                         suspect 22:9,18
   112:23 121:19 123:11,14 124:21
                                         such 7:14 16:5 17:6 43:24 44:11         suspected 24:4
   125:3,23 126:13,16,21 128:1,17
                                          58:10 59:11 129:7,22
   129:4,17 130:3,6,10 132:22 134:2,                                             Sweden 103:3
   11,21 138:6 139:6,17 140:16,24        suggesting 26:15 36:6
   141:3,4                                                                       Swedish 103:4
                                         suggestions 71:9,14
  streamline 67:3                                                                sworn 5:20
                                         suicidal 79:5
  strength 93:16                                                                 symptoms 33:12 35:3,7 36:10,16
                                         suicidality 128:21 134:24 135:3,5,       40:18,19 41:11 78:2,23
  strictly 43:10                          10 137:4
                                                                                 system 102:3,5,9
  strong 24:7 94:8 101:21 107:19,25      suicide 134:16 135:6
   128:25 129:6,10,20                                                            systematic 80:16,22 81:1,2,5,10,
                                         suicides 135:7                           15,23,24 82:5,7,15,17,22 83:4
  structure 26:4 124:7                                                            84:19,21,22 85:12 86:11 88:5,10,12,
                                         Suite 5:3
                                                                                  21,24 89:1,3,6,9,12,19,25 90:1,5,13
  structuring 75:25
                                         summary 101:6                            91:2,4,6,7,12,22 102:12,25 103:1,3,
  stuck 100:16                                                                    10 104:14,17,20,25 105:24 106:20
                                         support 83:20 103:2 112:18 113:13,       107:24 108:14,19,24 109:2,19
  studied 33:8 108:12 111:20              25 118:5 121:18,22 124:23
                                                                                  111:18 112:1,9 117:12,16 118:20,21
  studies 36:1 41:1 67:2,4 82:11 83:5,   supported 81:9 88:5 95:16 129:2         systematically 98:24 99:18
   24 84:20 86:4 90:7,23 91:10 99:9       133:6
   103:13,14,22 104:3,7 105:5,17
   107:13,21 108:6,8,13 109:25 110:3     supporting 80:8 83:11,13 94:18                            T
   113:25 114:4,9,12 116:14,16,17,22      112:2
   117:1,11,15,17 118:4,8,10,12 119:6,   supports 91:13 118:3 119:4              T-O-R-D-O-F-F 115:11
   7,8,13 122:15,17 125:8 128:19
   133:6 135:1 136:24 138:11             suppose 56:19                           table 73:11 90:11 127:1
  study 12:5 33:9,19,21 35:1,13,17       supposed 113:12                         take 13:14 22:16 29:6 41:15 42:20
   59:8 86:1 100:3,17,19,21 105:19       suppression 100:8 101:1 123:20           45:1 51:3 52:14 68:24 76:21 77:5
   108:19,23 109:6 110:9,12 111:5         124:1,12,16 127:19 131:25               92:10 103:18 126:14 130:9 132:19
   114:13,17,21,25 115:16,25 116:2                                                134:22 140:23
   117:4,6,7 118:10 119:14 120:4,15,     sure 18:23 20:20 35:23 36:24 45:11
                                          48:6 54:2 55:9,10 56:1 59:10,25        taken 41:19 69:1 97:1 125:15
   18,20,25 121:3,4,14,16 122:3,23                                                129:12 132:25 140:25
   123:9,15,17,19 124:7,8,10,19,20        70:9 72:12,18 79:25 81:16 90:15,16
   125:1,4 127:4,16 128:14,15 129:3,      92:7 95:19 105:25 110:20 113:21        takes 110:12
   15 133:13,14,22,24 134:3,10,16,20      115:24 118:17 121:10 123:13
                                          132:15 134:9 135:8 136:7               taking 6:2 29:14 84:4
  studying 11:19                                                                 talk 7:1 20:11 41:25 70:23 80:7
                                         surface 131:24
  stuff 119:17                                                                    113:19 114:11 127:4 135:23 138:7,
                                         surgeon 96:11                            22
  subject 52:18 53:6,7,25 54:9 55:6,8,
   9,16 56:4 70:10 108:9                 surgery 44:21,25 81:2 82:16 92:12,      talked 25:13 46:14,18 67:9 136:24
                                          19 94:2,3,4,6,11,13,16,20,25 95:4,5,
  subjective 127:1 128:8                  12,16,17,20 96:1,6,8 99:15 102:1,7     talking 19:5,23 21:1,4 22:22 23:4,7
                                          111:16 117:5 119:8,11 123:22            25:23 30:19 32:15 33:1,11 39:15,16
  subjects 82:11 124:18                                                           59:8 62:12 70:14 78:23 84:18,19
                                          124:2,17 127:7,18
  submitted 70:13                                                                 86:10 89:18 111:2 112:19 114:2,9
                                         surgical 45:8 46:2 101:15 126:8          116:10 120:4 130:21 137:11,12,15,
  submitting 70:5                                                                 25 138:1,2
                                         surprised 134:19
  subset 68:19                                                                   talks 103:25
                                         surprising 104:15,22 109:7
  substantial 100:22 104:5 119:10                                                Tallahassee 13:3
   131:13                                surrogate 47:7
Case 1:23-cv-00595-JPH-KMB               Document 48-9         Filed 06/01/23        Page 67 of 73 PageID
                                               #: 1666
                                                                                                    Index: Tanner..the
  Tanner 11:12 92:16 102:6                2,5,8,17 15:4,10,16,17,18 16:1,7,8,     123:3,4,6 124:2,3,4,10,18 125:1,4,5,
                                          11,12,13,15,16,19 17:12,18,21,22        7,8,12 126:2,11 127:5,11,13,14,17,
  team 67:9
                                          18:2,9,15,24 19:3,15,18,21,23,24        22 128:2,4,10,11,22,23 129:6,13,14,
  teen 61:3                               20:3,6,11,14,15,20,23 21:10,16,19,      18,19,21,24 130:1,20 131:2,7,13,14,
                                          22 22:1,4,8,9,15,20,21 23:1,17 24:3,    18,22 132:1,2,4,8,16,18 133:5,8,12,
  teens 62:6,9 64:7 65:9 66:1
                                          4,6,9,12,23 25:14,18 26:5,14,15,17,     19,22,23 134:7,10,15,16,19,24
  tell 5:20 8:22 9:9 12:12 19:12 24:9     18,20 27:3,8,14,20,24 28:3,4,22,24,     135:6,7,11,20,21 136:15 137:10,16,
   30:17 31:8 40:16 44:7 47:14 60:21      25 29:4,5,9,13,16,21 30:11,14,22        19 138:8,9,16,17,19 139:7,10,11,22
   63:19 67:17 87:15 89:18 90:4,18        31:2,8,11,13,21 32:2,16,19,23 33:3,     140:13,15,18,21
   97:12 99:2 118:18 120:20 121:10        7,8,11,13,14,25 34:1,2,4,7,12,13,20
                                                                                 that's 6:24 7:15 11:21 13:21 15:3,
   123:15,16 127:14 136:10                35:1,20,21,25 36:6,19,23 37:4,11,
                                                                                  22,25 16:21 17:3,21 23:3 24:15
                                          17,19 38:9,18,25 39:4,5,9,10,13,22,
  telling 25:2                                                                    28:5,19 29:1,22 30:11,18 31:23,25
                                          25 40:4,11,13,17,20,21,25 41:1,4,6,
                                                                                  33:7 34:12,21 38:2 43:1,5 45:6
  tells 33:2 52:10                        10 42:5,6,9,10,13,15,17,19,21 43:3,
                                                                                  47:15 49:19 50:8 51:13 55:18,23
                                          4,8,13,17,19 44:4,7,9,10,11,15,16,
  ten 132:21,22                                                                   65:16 68:22 69:5 70:12,24 72:1
                                          23 45:14,16,21,22 46:6,8,17,18
                                                                                  75:24 79:24 80:2,4 82:24 83:25 84:8
  tend 71:19                              47:2,7,9,11,12,14,17,18,24,25 48:5,
                                                                                  89:24 90:16 95:25 96:11,14,24
                                          9,15,17,20,21 49:4,5,9,13,14,20,21,
  tended 62:25                                                                    98:19 99:2 102:4 105:3 109:6
                                          22,23 50:2,4,5,14,18,25 51:2,4,8,10,
                                                                                  119:17,20,21 120:8 122:5 123:1,5
  term 17:17 19:8 26:16 27:9,18,21        22,24,25 52:1,9,10,13,14,15,17,19,
                                                                                  126:6,20 128:25 132:21 133:5,19
   53:5 58:4                              22,24 53:3,6,12,13,20,23 54:2,9,11,
                                                                                  134:12 137:17 138:14,19 139:9
                                          12,14,15 55:2,4,6,20,21,24 56:1,6,8,
  terminal 85:13 86:8                                                             140:19,20
                                          16,18,22 57:5,20,21,25 58:17,21,24
  terminology 31:1                        59:23,24,25 60:4,9,14,25 61:7,12,      the 5:1,4,7,9,11,12,13,15,20,21 6:1,
                                          18,19 62:2,6,8,15,17,18,21,23,24,25     20,23,24 7:4,6,7,8,9,10,11,12,16,17
  terms 12:1 19:7 23:10,11,22 27:19       63:1,6,7,8,20,21,23,25 64:2,3,9,12,     8:3,5,24 9:7,18 10:9,11,12,17 11:4,
   28:2,3 30:5 31:25 34:5 38:23 44:24     13,18,23 65:1,17,24 66:9,13 67:4,       10,11,20,21 12:2,3,4,7,15,16,21
   46:1,21 59:1 60:15 67:10 78:15 79:9    13,14,17,19 68:8,10,11,12,13,16,23      13:2,9,11,12,14,15,17,19,22 14:1,3,
   84:3,25 93:10,11,12 104:19 107:19      69:11,20 70:6,9,15,18,20,21,25          4,5,8,11,21,22,23 15:16,17,22,24
   112:24 136:20 139:21                   71:1,10,12,15,16,17,23 72:1,2,10,       16:1,2,3,9,23 17:6,17,19,20,22 18:6,
  terrific 87:14                          12,13,15,18,19,23,25 73:1,4,18,20,      7 19:5,6,7,8,11,21 20:15,16,21 21:1,
                                          23 74:5,12,14,17,23 75:4,11,15,21,      3,4,8,16,17,20,25 22:2,3,4,7,8,12,
  test 21:17 22:2,3 38:24                 24 76:6,9,16,18 77:14,21,23,25          13,15,17,18,19 23:2,3,5,7,14,17,20
  testes 96:14                            78:1,10,12,15,24 79:9,12,13,14,16,      24:1,8,10,11,15,17,21,22,23,24
                                          22 80:11,19,22,24,25 81:2,8,19,22,      25:2,5,10,18,19,25 26:13,21 27:1,7,
  testified 5:22 13:3                     24 82:1,6,10,17,20,21,22 83:2,4,5,8,    8,15,18,22 28:12,13,18 29:5,12,15
                                          15,19,23 84:2,9,11,13,17,20,22          30:2,21,22 31:11,12 32:2,8,11,14,
  testify 8:6
                                          85:3,5,10,14,16,17 86:1,3,8,12,13,      16,17,21 33:1,3,12,19,22 34:3,5,8,
  testimony 6:15 19:2 136:2               14,15,18 87:11,12 88:2,3,9,12,24,25     10,14,17,21 35:3,6,7,10,11,13,16,
                                          89:2,4,5,8,9,12 90:2,5,10,11,14,19,     17,20,24 36:2,3,4,10,14,16,18,25
  testing 21:12,22 22:19
                                          22,23,24 91:9,11,12,14,15,17,18,20,     37:8,22,23,24 39:1,2,3,5,10,20,23
  tests 21:6,7,24 22:7,11,12,14 37:4      22 92:9,13,18,23,24,25 93:8,16,17,      40:6,8,9,12,13,19,22 41:20,21,25
                                          19 94:3,14,16,17,21,22,23 95:2,4,6,     42:11,14,20,23 43:1,5,9,14,19,22
  text 130:16
                                          7,11,16,20,22 96:5,8 97:5 98:9,11,      44:9,10,12,22 45:2,11,18,23 46:3,
  than 9:6 22:1 30:25 37:16 40:14         15,20 99:1,6,7,19,20,21 100:11,13,      12,14 47:4 48:5,12,16 49:7,11,13,
   49:9 51:21 55:18 57:22 65:6 66:8,10    14,15,17,25 101:2,5,8,19,21,23,24       16,21 50:12,13,17,19,25 51:2,10,12,
   70:4,12 87:23,25 107:21 112:8          102:4,5 103:1,14,22 104:11,15,16,       16,21 52:13 53:5,11,17,19,20,24
   113:15 125:12 126:5 138:14             17,18,21,23 105:3,4,5,6,7,12,13,17      54:18,24 55:2,5,12,13,20 56:7
                                          106:1,20 107:5,14,16,19,21,25           57:20,23,24 58:4,5,6,16,18,21 59:4,
  thank 7:19 13:5,23,24 26:21 68:25       108:1,11,14,22,24 109:1,7,19 110:3,     21 60:12,13,15,16,17,21,25 61:3,4,
   79:17 107:7 120:9,12 141:1
                                          8,17,18 111:9,11,25 112:1,3,7,14,20     7,9,10,12,14,15,17,19,21,23,24
  Thanks 41:17 123:14 132:24              113:1,13 114:17,23 115:10,12,16,17      62:2,5,12,13,16,18 63:8,10,16,17,19
                                          116:5,6,18,20,22,24 117:4,7,12,13,      64:1,2,5,9,13,14,15,16,17,18,19,21,
  that 6:10,11,14,21 7:4,11,17,18         16,17,19,21,24 118:1,3,4,8,12,13,       24,25 65:2,8,13,18,20,22,25 66:1,5,
   8:17,24 9:3,19,20 10:12,14 11:4,19     19,21 119:1,3,4,6,9,16,19,23,24         8,9,17,18,23 67:1,3,5,8,9,14,18,24
   12:16,22,24 13:1,10,19,20,24 14:1,     120:3,15 121:14,16,25 122:21,22,23      68:4,5,9,10,14,18,19,22 69:5,8,11,
Case 1:23-cv-00595-JPH-KMB               Document 48-9         Filed 06/01/23        Page 68 of 73 PageID
                                               #: 1667
                                                                                                    Index: their..think
   12,17,20,22,25 70:2,3,14,17,20,21,     95:3 97:16 103:24 112:5,13,22          therefore 22:19 131:23
   23,24 71:4,6,8,15,20,21,25 72:1,13,    113:6 127:24 128:5,15 133:7 136:2
                                                                                 these 14:8,12,13 15:9 26:17,24
   14,17,19,23,24 73:1,6,10,12,13,25
                                         themself 75:19                           34:18 48:7 53:18 85:21 88:4 95:20
   74:2,5,14 75:1,2,3,6,16,21 76:3,24
                                                                                  100:18 104:1,3 111:17,20,21 112:9
   79:8,20,23 80:4,7,8,13,18,20,21,22,   themselves 5:8 21:25 22:12,14
                                                                                  113:11,25 123:25 124:14 133:7
   23 81:7,8,15,17,20,25 82:1,2,7,13      43:25 47:8 53:15 54:19
                                                                                  138:11
   83:6,7,8,10,11,12,19,21,22 84:1,9,
                                         then 10:9 11:20 13:22 15:4 17:1,5
   11,12,20,21,23,25 85:2,6,11,14,19                                             they 18:13 21:10,11,17,21 23:17
                                          21:14,21 27:15 28:8 29:21 31:7
   86:3,11,22,23 87:6,9,10,12,15,17,                                              24:4,16,20,23 30:7,18 31:4 32:19,20
                                          37:14,16 38:5 39:13 40:17,18,20
   19,25 88:9,14,17,19,24 89:3,5,8,9,                                             33:25 34:11,13,17,23 35:5,6,25
                                          52:11 53:12,19 60:5 62:1 64:16,24
   11,15,16,21,22,23 90:1,3,11,14,15,                                             39:22 40:2,16,17,18 41:7,11 42:8,9,
                                          66:12 75:19 80:3 82:18 83:4 89:12
   17,18,22 91:5,6,7,8,10,12,16,17,18,                                            17 43:14,17,20 44:6,8,9,14,19,20
                                          92:20 94:19 96:3 101:25 102:22
   21 92:9,17,20,25 93:1,2,3,4,6,9,10,                                            45:20,21,25 46:3,6 47:18 48:21
                                          108:6 112:22 115:4,18,22 116:6,9,
   11,12,14,15,16 94:3,13,16,19 95:5,                                             49:11,21 50:8,13,16,18,24 51:11
                                          11 117:1 119:24 121:4,6 122:21
   15 96:11,14,15,16,17,18,19,20,21,                                              52:10 53:1,3,21 54:22 55:1,24 59:1,
                                          123:21 124:13 127:7 130:9 135:23
   22,23 97:6 98:5,21,22 99:3,4,8                                                 23,24 60:3,6 63:10 64:16 69:25 70:1
                                          137:21 138:1,2
   100:2,4,7,8,16,19,21,23,24 101:4,6,                                            74:23 76:6 78:11 79:7,10 81:5 85:18
   12,14,16,23 102:4,8,18,22 103:12,     therapies 98:23 99:17                    88:5 89:9,10,11,12 90:2,22 91:9,13,
   13,14,24,25 104:5,7,18,19,23                                                   20 92:24 93:6 94:17 98:14 99:21
   105:12,13,17 106:2 107:4,8,9,10,12,   therapist 53:2                           100:20 101:24,25 102:5 103:13,14
   20,25 108:3,6,13 109:5,9,11,22,23,    therapy 52:25 100:18                     104:24 105:1,3,24 107:19 110:6,15,
   24 110:5,9,12,14,15,17,21,24 111:3,                                            19,21,22,24 111:1,6,9 112:10,16,17,
   5,8,18,19,24 112:3,4,5,9,11,14,15,    there 6:14 7:24 10:24 12:3,4,24          19,25 114:13,21 119:1 120:21,22
   18,20 113:17 114:2,4,7,8,17,20,24      13:10 14:2 15:2,4 16:5,7,14,24 17:1,    121:11,22 123:17,24 124:4 125:13,
   115:1,5,8,16,17,23,25 116:2,4,9,16,    6,10,13,24 18:3,15 19:3,25 22:9         17,19,25 126:23,24 127:2,3,4,5,13,
   17,19,20,22,24 117:1,6,10,12,15,19,    23:9,16,21 24:3,11,20 26:16 27:5        14 128:10,18,22,23 129:9,13,14,18
   23 118:3,11,15,18,23 119:4,12,13,      28:11 31:17,18 33:8,15,19 34:1,15       131:5,12,13 134:3 135:18 136:24
   16,19,24 120:8,15,18,24 121:2,8,9,     38:3,22 39:4,18 41:1 42:15,18 43:24     137:16
   11,14,16,25 122:1,3,15,17,18,20,22,    44:21 45:6 47:2,20 48:7,9 49:2
                                          50:23 51:5 52:20,24 53:13 56:16,17     they're 38:19 40:11 44:20,23 46:1
   23,25 123:9,18 124:6,7,10,16,18,20,
                                          57:1,5,13,21 58:3,12 60:1,8,21          49:3,22 51:15 54:21,25 58:25 60:25
   22,23 125:10,21,22,24 126:1,2,5,11,
                                          61:23 62:15 63:10 64:3,11,13,14,16,     68:5 85:19 99:14,20 100:19 125:19
   17,20,22 128:4,12,13,14 129:2,8,10,
                                          23,24 66:12,25 67:7,10 70:18,19,20      128:2 130:21 140:2
   15,20 130:11,12,15,22 131:1,4,10,
   16,22,23,24 132:5,6,8,9,11,12,13,      71:1,5,10,17 72:12,13,15,18 73:3,14
                                                                                 they've 40:14 41:3 51:10 52:7
   15,16,17 133:7,12,13,15,19 134:6,7,    74:8 75:4 77:12,17,20 78:6,19 79:4,
                                                                                  103:13 110:7 115:5 124:10 140:1
   20 135:1,7,8,11,15,16,19,23,24         11 80:24 81:1,24,25 82:4,5,7,9,19
   136:1,3,4,15,22,24 137:1,2,5,9,11,     83:2,3,4,18,23 87:23 89:19,20 90:16    thing 7:16 13:1,15,17 16:5 17:7
   12,16,17,19,20,21,24 138:12 139:7,     91:7,16,17 92:15,17,21,23 93:12,17,     22:17 32:8 34:21 40:8 43:5 64:13
   8,13 140:17 141:5,7                    18 94:6,14,24 95:11 98:17 100:14,       68:8 104:23
                                          16,25 101:20 103:9 104:18 105:4,25
  their 21:23 23:2,22,24 24:5 26:15                                              things 29:15 34:1 48:22 51:23
                                          108:23 109:5 110:8 111:5 112:7
   28:5 29:6,7 30:5,6,15,25 31:16 33:2                                            53:18,19,21 54:22,24 60:11 65:1
                                          113:4,16,18,22 114:12,18,19 116:4,
   43:17,18 44:7,15,23 45:21,24 46:3,4                                            69:18 72:12 79:13 100:14 102:8
                                          18,23 117:3,16 118:4,7 119:6,7
   47:8,25 50:9 51:2,11,12 52:8,12                                                129:11
                                          120:5,6 122:25 123:18 126:12
   53:3 60:3,6,22,23,24 67:2 68:10        130:14 131:18 132:12 134:23,25         think 6:19,24 7:1 12:14 13:24,25
   76:3,8 78:25 90:20 94:9,18 95:18       135:2,7,10,14 136:9,19,20,25            14:21 15:6,17 16:8 18:18 19:2
   102:1,2 108:2 110:5 111:7,14           138:17 139:19                           20:11,14,23 25:23 27:20,22 31:8
   118:12 125:20,25 126:1 127:4,22                                                32:18 33:7 34:21,25 36:13,17 38:22
   128:11,22 129:1,3,19,25 130:1         there's 16:25 20:13 21:22 22:7
                                                                                  39:11,25 40:25 41:6 42:21 43:3,4,8
   138:9,20 140:1                         27:14 29:3,4 33:18 34:20 35:10,23
                                                                                  44:11 47:10,17 48:3 49:25 52:16
                                          36:20 39:4 48:24 50:14 56:16 65:12
  theirself 53:12                                                                 54:8,11 55:21 56:7,8 60:8 61:5 64:3
                                          72:25 73:7 78:18 83:21 85:5,10
                                                                                  68:21 70:22 71:22,25 73:2 74:6,12
  them 7:10,11,12 11:13 14:17 15:4        89:12 90:11,12 92:16 93:16,20
                                                                                  76:23 77:2,17 78:11,16,17 80:7 81:5
   26:8,9 32:3 41:10 43:14 44:10 45:12    95:13 103:21 105:10 107:18 111:11
                                                                                  82:15 83:2,25 84:4,13 85:21,23,24
   49:8,13,14,20 51:17 52:14,23 53:12,    112:24 113:13 114:17,20 115:5
                                                                                  86:10,14 89:1,8,13 92:19 93:6,16,
   21 60:4 72:22 82:18 83:7 84:8 91:8     116:15 129:5,20 134:5 137:8 139:7,
                                                                                  19,22,24,25 94:14 95:2,11 96:24
                                          23
Case 1:23-cv-00595-JPH-KMB               Document 48-9          Filed 06/01/23        Page 69 of 73 PageID
                                               #: 1668
                                                                                                  Index: thinking..training
   97:3,23 98:2,15,19,21 100:20,22,25    thousand 66:10                            69:6,18,24 70:5,6,8,9,10,13,23 71:3,
   102:4,11 103:1,3 104:13,20 105:10                                               20 72:9,22 73:10 74:4,6,10,11,17,
                                         three 73:13 98:5 106:10 121:6,8
   106:12 107:18,25 110:8,24 111:3,                                                18,24,25 75:8,16,23 76:11,12,15
                                          130:15
   14,25 112:3 113:15,17 116:15,19,24                                              77:3,5,9,16 78:2,5,7,9,19,21,25
   117:9,12,14,16,21 118:16 119:1,16     through 12:15 13:15 38:14 44:9,14         79:3,7,10,14,17,19,20 80:1,4,18,20
   120:8 122:5,13,22 123:3,4,5 124:22     45:4 65:2 78:4,13 81:22 89:17 90:17      81:4,8,12,16,17,19,20 82:3,8,10,11,
   125:4 128:10,15 129:5,7,11,13,18,      102:8 118:2,11,23 126:11,23 136:9        17,20 83:7,8,12,18,20 84:2,11,12,17
   20 130:4 131:9 132:16 134:10,12,14     139:12                                   85:6,10,19 86:9,17,18,21 87:9,25
   135:15 138:8                                                                    88:7,13,14 89:7,17 91:1,3,10,13,15,
                                         throughout 51:12
                                                                                   17,25 92:1,3,7,8,10,14,22 93:1,2,3,
  thinking 38:23 53:14 55:20 116:23
                                         tightly 19:16                             22,23 94:10,16,17,18,19 95:3,4,6,
   119:7
                                                                                   19,23 96:21,25 97:4,16 98:3 99:4,
  thinks 75:19                           time 5:4,5 11:18,19 12:3 13:14 19:21      15,21,22 100:20 101:7,8,10,12,19
                                          23:2 50:20 51:3,9 52:15 59:24 62:24
                                                                                   102:7,10,18,22,23 103:1,7,16 104:1,
  third 11:6,7,8,9 25:25 75:2 109:23,     63:23 68:4,14,22 69:6 71:18 73:7         11,13,19 105:1,14,19,22 106:2,3,6,
   24 115:8 135:16                        76:4 87:24 93:13 105:14 110:12
                                                                                   18 107:4,10,23 108:9,13,14,17
                                          111:4 118:23 140:3
  this 5:5,10,15 6:7,9,11,12 7:6,13,25                                             109:18,22 110:7,12,19,20,21
   8:2,3,5,8,14,17,20,23 9:4 12:10,13,   times 39:18 44:22 79:11 116:4             111:17,22,24 112:6,8,18,23 113:2,3,
   19,24 13:1,11,12,19 14:5,19 18:9                                                10,11,12,17,19,20,21,24 115:1,2,24
   21:20,22 22:10,18 23:1 26:25 30:14
                                         tissue 95:25                              118:1,10 119:3,6,21 120:10,16,20,
   31:9,13 34:16,17,25 36:15,16 41:21,   title 133:15                              23 121:13,15,19 122:1,6,17 123:16,
   24 42:20 46:7 48:20 50:1,6 51:18                                                19 124:1,5,17,18,21 125:3,16,23,25
   52:20 55:12 56:10 63:11 67:14         to 5:20 6:9,11,21,22,24 7:9 8:2,3,5,6,    127:2,7,11,15,19,23,24 128:1,2,5,7,
   68:19,21 69:4,7,10,14,16 72:5,7,8      16 9:4,6,22 10:5,7,8,16,24 11:2,17,      15,17,24 129:4,17,22 130:3 131:24
   73:20 75:15 76:1 80:1 82:9,19 83:10    25 12:2,10,16,18,21 13:9,14,18,20,       132:12,13 133:10,25 134:2,9,11,19,
   86:14,15,22 87:3,5,6,12,16,17,21,23    22,25 14:1,15,25 15:2,7,11,13,15,        21 135:13 136:2,8,12,22 137:3,6,8,
   88:4,21,23 89:9 90:2,24 91:1,13        16,19,20,21 16:6,8,9,24 17:5,8,9,15,     13 138:3,6,14 139:6,12,14,17,19,21
   92:1,4 97:3,4,5,10,12,17,25 98:21      19,20,23 18:1,5,9,11,17,19,22 19:1,      140:4,16,20
   99:20 100:1,17,24 101:3,20 102:15,     2,11,12,16,19,20 20:1,2,6,8,11,16,
                                          17,22 21:1,4,14,16,17,18,22,23          today 6:3,12,15 8:6,22 9:7 136:2
   16,24 103:3,8,11,12,19 104:24
   105:11,19 106:4,5,7,12,16,18,23        22:2,6,9,10,11,22,25 23:7,8,13,15,      Today's 5:4
   107:1,2,22 108:7,12,19 109:6,10,15,    19,21 24:1,2,6,19,20,21 25:4,13,14,
                                          16,19 26:2,7,12,17,18,23,24 27:4,7,     together 26:9,24 87:18
   18 110:14 113:10 116:13 117:21,24
   118:7 120:7,9,15,18,20,22 121:16       10,12,14,17,25 28:9,10 29:4,8,11,24     told 118:6
   122:7 123:9,15,17 125:1,21 126:18      30:12,16,17,21,23 31:1,5,7,8,9,10,
                                          11,12,14,15,20 32:1,2,4,6,10,13,19      Tom 5:15 6:1
   127:5,16 128:2,22 129:6,15 130:7,9
                                          33:5,14,17,21,22 34:9,22 35:2,4,10,
   131:4,12,22 132:5,9,10 135:4                                                   too 50:7 73:12 80:5
   136:13                                 13,15,16,21 36:1,6,8,22,24 37:1,4,6,
                                          11,13,18,19,21,24 38:3,6,8,10,11,       took 9:15 10:4 63:23
  Thomas 131:11                           12,21,25 39:1,2,7,9 40:2,7,18,24
                                                                                  tool 38:18
                                          41:6,12 42:7,9,14 43:6,8,9,12,16,21,
  those 11:11,12 15:14 21:24 22:11
   24:23 26:7,8 28:19 29:15 34:3 35:8
                                          22 44:1,2,3,4,5,9,12,13,18,19,22        tools 37:19 38:23
                                          45:3,5,8,12,13,14,15,16,17,25 46:5,
   37:10,20 40:17,19,21 43:13 45:4                                                top 48:16 73:12,14 75:2 119:12
                                          9,11,15,20,24 47:1,6,7,12,16 48:2,3,
   47:24 53:20 60:11 65:1 66:14 67:18
   68:14 71:19 73:2 74:19 75:8 82:18
                                          4,10,13,14,15,25 49:1,12,14,15,18,      topic 47:23
                                          20,23 50:3,5,10,11 51:3,7,11,18,19
   86:7,18 90:23 91:11,18 92:22 95:10                                             Tordoff 114:21 115:8,9,21 116:25
                                          52:2,12,14,15,18,22,23 53:1,2,6,7,
   97:15 99:11 101:9 102:7 104:2
                                          11,13,15,16,18,20,22,25 54:1,3,8,9,     total 43:15 123:18
   105:3,8 108:5,22 111:12,15 115:2
                                          13,14,16,21,22,23 55:1,5,6,8,9,13,
   118:5 119:5,11 121:21 124:3,13,24,                                             totality 27:8
                                          15,16,17,25 56:4,6,12,15 57:4,6,12,
   25 127:15 129:11 130:15,24 135:9
                                          19 58:2,6,11,14,15,18,20,24 59:7,       towards 68:12 77:13,15
  though 44:14 47:18 53:21 82:25          12,13,18 60:3,9,12,13,14,20,25
   112:16 115:15 119:17 122:16            61:1,6,14 62:6,10,11,25 63:2,8,14,      tragic 135:8
   125:17 131:12                          22 64:4,6,13,14,15,16,24,25 65:3,8,     trained 37:18,19,22
                                          10,11,12,17,19,21,23 66:2,3,6,11,
  thought 31:11 39:13 48:6                                                        training 12:3 37:15 38:3
                                          19,21,25 67:11,19,21 68:1,4,7,13
Case 1:23-cv-00595-JPH-KMB               Document 48-9         Filed 06/01/23         Page 70 of 73 PageID
                                               #: 1669
                                                                                             Index: traits..vaginoplasty
  traits 19:14                            85:19 133:10                           134:15,17
  trans 48:11,19 49:8 58:13 60:1         turn 13:25 73:10 74:25 79:20 103:6     understood 91:1
   61:10 96:6 135:5                       106:25 107:4
                                                                                undiagnosed 41:13
  transgender 10:10,18,21 11:1,8,9,      turns 39:21
                                                                                unexpected 135:10
   21 45:9 47:11 50:2,17,23 53:1,3,10,
                                         two 17:10,15,24 18:13,23 90:1 91:7
   11,16,21,22 54:16,21,23 55:22 56:1                                           United 61:4 66:23 110:10 112:4,15
                                          98:5 110:10 111:17,18 113:5 133:16
   57:14,22 58:19,22 61:2 65:15 66:9,
   11,15 67:2,4,15 68:20 74:10 80:18
                                          134:15                                University 80:15 111:6
   82:12 99:12 104:21 105:15 119:9       two-thirds 11:1                        unless 21:6 135:18 137:16
   120:22 123:25 126:6,7 127:8,20
   128:20 129:22 131:6,7 133:16
                                         type 22:21 39:24 40:3 41:3,13          unlike 114:1
   135:12 136:5 137:1                    types 83:24                            until 21:5,11 41:3 62:14 63:7 68:1
  transition 43:22 44:14,19,24 45:8,                                             132:10
                                         typical 16:9,17,22 126:6
   13,14 66:19 79:8 92:11 140:1,4                                               unusual 24:21 33:13 129:21
                                         typically 16:12 17:3,4,9,15 19:15
  transitioning 50:11 67:19 76:4          36:24 45:14 46:20 59:19 63:4 90:7     up 6:23 14:17 22:2 25:19 33:14
   78:11 139:22                           96:9                                   38:13 41:8,21 50:6,7 71:6,24 72:2
  transitions 45:4 128:7                                                         73:12 78:24 86:21 87:25 88:14
                                                                                 101:13 107:22 120:10 123:6 128:23
                                                           U
  transplant 47:5,22 48:8                                                        133:5
  transsexualism 33:24                   U.S. 61:9 111:5 114:8 137:1            uploaded 119:17
  trauma 57:1,2,3,14                     UCLA 12:3                              upon 32:22 39:4
  treat 50:3                             UCSF 9:12,18 10:8                      us 12:12,19 24:9,13 40:16 68:23
                                                                                 84:3 89:18 90:4,19 120:20 121:10
  treated 29:5 30:21 41:3 50:8 79:1      Uh-huh 80:10 83:16 103:15 113:8         123:15,16
   128:23                                 133:21
                                                                                use 7:12 27:5,18,22,24 31:1 36:24
  treating 30:19 135:17 137:15           unable 23:25                            37:19 51:11 53:5 58:5 62:25 69:14
  treatment 30:8 31:23 44:4 63:2         Uncertainty 99:25                       71:17 72:14,23 73:1,4 83:20 84:8
   76:13 81:20 83:13 84:13 85:7 86:24                                            87:21 90:14
   87:7 98:14 99:13 101:16 102:13        uncomfortable 49:10 50:14
                                                                                used 7:11 17:17 91:8 96:16 105:24
   104:6 105:6,7,8,21 106:21 110:1       uncommon 16:21 139:8,10                 112:2 119:1
   112:12 116:21 121:6 124:19 125:2
   127:18 134:25 135:20 137:16           uncontrolled 108:8                     useful 28:7 34:24 37:11 63:11 65:8
   138:25 139:2,3,5,16 140:15            under 11:4 13:2 75:6 86:22 97:5         74:6 87:25 89:24
  treatments 101:15 135:18                98:3,4 99:24 102:11 103:8,21 107:8    using 7:10 21:2 34:14 38:19 47:6
                                          109:22 115:19,25 116:7                 58:4,9 62:24 70:25 73:6 77:15 84:1
  tremendous 70:11 134:23
                                         undergo 76:11                           105:11 108:10 112:5
  trending 68:11
                                         undergone 52:25 139:15                 usually 21:2 37:7
  Trevor 137:2
                                         underlying 52:20 53:12                 uterine 47:4,22 48:8
  trial 121:1
                                         understand 6:9,21 8:2,16,17 21:14      utility 35:23 36:2 65:12 106:3
  trials 13:2                             26:7,24 30:10 31:7,10,12 43:13 50:5   utilize 84:11
  tried 34:22 35:16 53:15 54:15 63:17     51:18 53:23 55:4 66:3 75:21 95:19
                                          101:9 103:11 106:18 109:18 115:24     utilized 83:6
  true 38:2 45:6 50:1 65:24 81:7 83:25    116:11 127:24 129:24 134:9
   84:13 137:17
                                         understandable 27:20                                       V
  truth 5:20,21
                                         understanding 14:11 18:2 22:3
  try 49:20 51:18 54:23 84:11 85:6                                              vaginal 96:23
                                          26:11 31:16 34:13 50:21 51:6,15,21
  trying 26:7,24 30:12 31:1,7,10,11       56:12 60:11,24 61:1 66:7 73:20        vaginoplasty 92:20 94:15 96:3,6,
   32:2 43:12 48:3,15 55:1 75:16 81:8     75:11 92:9 93:3 121:15 125:1           12
Case 1:23-cv-00595-JPH-KMB               Document 48-9          Filed 06/01/23      Page 71 of 73 PageID
                                               #: 1670
                                                                                                Index: validation..were
  validation 35:17                                                               75:4 83:1,20,23 84:1,2,7,9,10,11
                                                          W                      85:3,22 86:2,4,21 88:1 89:20 92:3,4,
  valuable 76:24
                                                                                 7 100:6 103:9,21 105:13 107:6
  variations 26:3                        want 12:15,18 13:14,18,25 15:7,13       109:22 113:4,22 114:1,11 118:2,7
                                          17:5 18:5,22 26:23 38:12 44:13,19      120:4 121:24,25 122:2 123:3,6,11
  various 9:3 10:12 14:16 82:2 116:19
                                          45:3 46:24 47:6,7 50:2 51:18 54:8      126:11,16 128:19 130:9,13,14
   117:1
                                          66:3 74:24 77:5 79:7 80:4 91:25        132:20 133:4 134:4 135:14 136:15,
  vary 45:24 57:20                        92:1,3 95:19 102:7 113:3,20,24         24 140:20,22 141:5

  varying 31:19                           115:24 119:3 127:2 129:24 134:9       we'll 6:23 7:4,12 51:19 68:24 102:11
                                          137:8 140:4
  Vastag 5:18                                                                   we're 19:5,23 25:13 33:11 37:17,22
                                         wanted 6:24 52:22,23 53:22 91:10,       38:2,23 58:23 64:11,21 69:6 70:25
  verbal 59:23                            15 135:13                              85:3,5 86:10 89:22 91:24 119:7
  verbally 24:6                          wanting 94:15                           120:10

  versa 57:22                            wants 45:12,13 46:20                   we've 38:11 46:17 86:6 118:1,16
                                                                                 119:16 130:6
  version 69:12,14,16,22 72:5,6,7,8,     was 5:21 9:15,17 10:4,6,13 11:1,6,
   10 79:23 87:12 89:22 92:17             19 12:3,4 13:2 17:21,22 24:5 26:15    week 13:4
                                          28:10 33:19,20 34:1,7,8,9,12,15,16    weeks 106:10
  versus 11:12 13:3 33:23,24 34:18
                                          35:20,21 38:9 39:13 42:23 43:1
   58:5,14 66:19 90:5 91:11,18                                                  Weida 13:3
                                          44:10 51:25 52:9 55:19,20 60:6
  very 21:10 22:23 23:6,18 24:25 27:6     62:15,17 63:1,7,8,10,12,15,21 64:3,   weighing 135:19
   32:18,19 33:13 34:2 35:4 37:25 43:9    4,9,23 65:23,24 66:25 67:4,7 68:8
   58:25 59:22 65:16 76:24 78:8 81:14     70:10,15,18,19,20 71:5,11 74:4        well 5:25 7:3 9:2,20 10:17 15:6
   82:7 84:24 86:13,14 94:8 95:17         80:22,25 81:13,24,25 82:1,4,5,7,9,     16:12 17:21 20:11,15,23 21:8 22:7,
   101:2,21 102:16 104:13 107:19,25       13,19,20,21,24 83:3,5 85:11,14,15      15 23:16 24:3,13 25:1 27:5 28:1
   108:9 109:3 111:10 129:8 130:23        87:17,23,24,25 88:24 89:5 90:4,5,9,    30:4,7,10 32:15 33:15 34:11,25
   131:7,8,18 139:8,10,11,12 141:1        25 91:1,4,5,7 92:15,17,22 93:13        35:13 37:1 38:1,22 39:15 40:8 42:23
                                          94:22,23 97:21,23 100:15 101:24        43:12,20 46:14 47:14 49:17,25 51:1,
  via 5:6                                                                        8,23 52:3 53:5 58:3,9 59:24 61:5
                                          102:2,16,25 103:1,3,19 104:25
  vice 57:22                              105:25 106:10 108:23 111:5,15          62:2,15 65:7,21,25 68:14 69:12,16,
                                          112:3 114:2,14,17,18,19 115:14,16,     25 70:18 73:10 74:7 75:24 77:10
  videoconference 5:6                                                            78:15,18,23 80:3,4 81:13,24 82:24
                                          17,18,19 116:2,4,5 117:4,12,21
  videotaped 33:25                        118:13,21 119:6 120:18,21 121:8,11     84:18 85:8,11 86:10 88:14,23 89:11,
                                          123:17 124:5,6,7,8,9,15 125:12         23 90:25 91:4 92:3 96:8 98:3 100:14
  view 52:3 78:25 105:19 129:3            126:3,4,16 127:22 128:15 129:7,19      102:2,20,25 103:21 106:25 107:17
   139:14                                                                        110:5 113:21 114:1,4 116:14,16
                                          131:4,7 132:6 133:6,8,10,11,22,23
  viewing 12:20                           134:3 136:25 137:2,12,14               117:9 118:6 119:5 120:8 121:1,9
                                                                                 123:4,17 125:9,13 128:18 131:4
  views 72:20                            wasn't 63:21 82:6 90:9 92:21 93:9,      132:5 133:15 134:3 135:16 136:14,
                                          11,14 115:15 117:25 122:3,19 136:7     17 140:6
  violence 50:15
                                         watching 34:2                          well-being 124:5 126:4 127:1 128:8
  Virginia 111:6,13
                                         way 7:4,7 12:21 15:9,17 16:16 17:23    went 15:24 37:13 44:9 66:25 83:21
  voluminous 81:14 82:10                  20:23 21:16 22:5 25:19 26:25 27:22     111:6
  voluntary 52:18 53:5 54:7 55:14,15,     31:14 37:8 40:20 42:20 43:23 44:20
   23                                     50:3,8,24,25 51:1 52:11,12,22,24      were 11:8 15:4,5 28:21 32:15,16
                                          55:23 72:9 75:3 76:5 122:6             33:21 34:11,13 50:16 62:10,21 63:3,
  voted 71:7                                                                     20,22 64:7 65:1 71:10 73:3 74:24
                                         ways 27:6 28:1 77:17                    79:7 80:24 81:2,3 82:17 83:2 86:18
  Vries 117:2 122:21,23 123:1,9 132:8
                                         we 6:11,23 7:10,11,13,22,24 13:18       90:14,23 91:7,8,11,18,19,20,22
  vulnerable 79:10                        15:8,17 19:24 20:5,23 22:15,22         92:23 100:20 104:3 106:4 108:13,
  vulva 96:10                             23:1,3,13 25:12 26:20 32:15 36:13,     18,24 111:13,23 112:14,17,19
                                          14,23 37:7,8,12 38:5,6 39:2 40:16      114:21 119:8 120:15,21 121:5,11,
                                          46:20 55:12 58:23 60:13 62:23,25       20,21 122:23 123:18 124:3,14
                                          63:17,19 64:19 71:22 72:2 73:14,15     127:5,9 129:11,14 131:14 136:7
Case 1:23-cv-00595-JPH-KMB                Document 48-9         Filed 06/01/23        Page 72 of 73 PageID
                                                #: 1671
                                                                                                   Index: weren't..would
  weren't 53:1 92:23                      whether 18:12 26:9 29:3 33:21            78:1 79:1 80:15,23 81:4 82:3 83:8
                                           34:11 35:17,18,20,21 37:2 38:18         84:12 85:4,6,19 86:7 92:1,8 93:3,8,
  WEYERBACHER 119:23 120:7
                                           50:1 52:5,7,9 55:5 58:7 59:14 66:4,     17 94:18 98:11 99:7,11,12,19
  what 6:9 8:2,16,22 9:11,15 10:23         5,14 67:19 76:9 77:7 78:9 82:4          100:13 101:4,22,23 102:15 104:14
   11:4,10,15 12:12 14:25 15:10,14         90:19 140:13                            105:6 106:22 107:11,16,22 109:13,
   16:11,18 17:21,22,24 20:7 21:7,17                                               20,25 110:1 111:1,17 112:17 114:5,
                                          which 6:5 8:6 12:7 14:1 15:14 26:9
   22:23,24 24:10,16,17 25:1,2,6,20                                                6,20,22 115:6 117:11 118:9 119:11
                                           36:20 47:5 50:13,17 57:15 61:11,25
   26:7,8,11 27:3,22,23 28:24 29:8                                                 124:4 126:24 128:23 129:25 130:7,
                                           68:5 71:5 72:21,23 79:19 90:22
   30:1,3,13,18 31:25 32:2,9,11 33:1,2,                                            11,17 131:1,6,7,15 132:13 133:3
                                           99:2,14 100:21 101:24 104:25
   3 34:9 40:6,12,22 41:4 42:4,13                                                  134:22 135:9,24 137:3 138:9,17
                                           108:8,18 111:23 113:2,13 115:16
   43:13 44:16 45:11,14,25 46:20                                                   140:8,10,12,15,20
                                           131:5 133:10 137:6,13
   47:14 48:19,21 49:4,5,14,20,21,22
                                                                                  withholding 136:4
   51:4 52:7,9,19 54:2,14 55:1,9,10,18    while 10:25 63:1 65:13 76:19 77:4
   56:1,6,8,12,24 57:1,9,16 59:12,13,      94:4 97:21 106:24 109:16 128:4,5       within 10:17 11:10 63:18 72:19
   15 61:18 62:17 65:7,16,21 66:3,17                                               102:2 131:10,11 134:6
                                          who 11:1,7,11,12,13 12:4 16:14,15
   70:17 75:14,21 78:16,22 79:8,9
                                           17:1,2,14 23:16,24 24:3 30:25          without 21:1 22:22 23:7,25 24:17
   80:13 83:17 86:21 87:5,15 88:4
                                           31:18,19 42:11,16,19,22 43:10 45:7,     25:2 44:24 55:23,25 78:3 90:25 93:5
   90:4,5,9,25 91:1,5 94:2 95:20,25
                                           10,12,13 47:6 50:23 51:19 52:23,24      134:25
   96:5,7,11,13,15 97:12,15 99:19
                                           54:15 57:3,22 58:13 59:5 60:2,18,23
   101:18 102:10,22,24 104:1,11,24                                                witness 5:12 126:20,22
                                           65:14 66:8,16 67:16 68:19 71:11
   105:3 106:18 108:3,11,13 109:18
   110:20 113:11,25 114:9 118:7 119:5
                                           74:22 76:2,22 77:5,10,15 78:13 79:4    woman 28:16 42:2 48:12,19 49:8
                                           80:16,21 81:13 84:5 85:12,15 87:18      56:13
   120:10,18,20,25 121:8,9,10,20,22
                                           94:7,8,12,21 105:8 111:7,15 114:21,
   123:15 124:6,7 131:9 132:4 133:6                                               womb 47:7,9
                                           23 115:2 120:21 123:18,19 124:14
   135:13 136:7,11 138:23
                                           125:15 126:7 128:12,20 130:24          women 47:6,10,11 58:14 60:4 96:6
  what's 25:10 51:16 95:19 127:2           132:11 138:12,18 139:21 140:13
                                                                                  wonder 75:20 89:16 100:23
  whatever 31:3 32:23 78:24 113:19        who's 45:1 75:18 139:15
   125:10                                                                         wondering 17:21 27:10 30:13 32:25
                                          who've 10:11 47:3 50:15 53:15,17         34:8,25 38:17 42:4 45:10 46:18,22
  when 11:6 15:13 19:5,23 24:13                                                    48:24 49:17 50:7 51:24 52:19 53:23
                                          whole 5:21 13:15 35:6
   29:16 32:15,25 33:11,19 34:16                                                   59:3 62:5 68:3 78:17 83:17 85:9
   35:24 37:1,12 38:2,22 39:8 40:16       whom 77:18 78:2 93:24                    89:3 99:6 101:18 108:12 110:3
   41:9 47:14 48:7,19 49:17 51:9,24                                                111:17 113:10 114:9 116:12 129:1
   52:4 55:19 58:23 59:1,19 61:3,5
                                          whose 78:10,23
                                                                                   131:1 136:1 138:23 140:13
   63:15,21 71:4 75:14 81:18 82:25        why 16:21 17:3 20:10,21 27:13
   83:1,19,22 84:18 95:17 96:12                                                   word 55:12,14 103:18
                                           49:21 51:14 54:7 75:24 95:1 98:13,
   100:15 106:4,7 107:20 108:21            19 101:3                               worded 125:25
   110:18 111:13,20 112:1,3 114:1
   115:1,17 125:7,18,19 128:19 130:21     will 5:8 7:10 44:13 53:15 55:3 90:7     wording 43:1 54:12 127:22 132:16
   131:16,18 134:4 135:4,5 136:22          97:3 103:8 108:2 109:10 110:18
                                           130:18 131:3 135:17 140:3
                                                                                  words 32:19 51:10
   137:11,14 139:23
                                          wish 75:8                               work 12:1 15:9 36:20 37:19 62:5
  whenever 36:13 125:4                                                             107:19 110:14
  where 23:16 24:24 29:4 34:21 36:2       with 5:9,11,12,13,15,16,17 9:9 10:5,
                                           9,17,24 11:18 12:17 17:9,11,15
                                                                                  worked 54:17 55:3 61:11,23
   38:6 39:12,18 41:7 44:22 47:20 48:4
   51:1 53:9 54:20 60:2 61:10 63:10,12     18:7,12,15 19:13,18,20 20:16 21:15,    working 53:2 63:16 135:9
   64:3 67:8 71:7,23 78:1,6,11,18 79:6,    25 22:4,13 23:14,20 24:8,9,11,16
                                           25:5 27:11,12 29:12 30:2 32:3 33:14    works 6:19 68:23
   11,15 83:3 84:1 85:5 87:24 88:12,
   15,17 89:3,10,11,18,25 90:10 91:6,      35:9 36:4,7,19 37:1 40:4 41:2 44:15    world 114:8
   13,17 94:22 95:7,12 99:25 100:8,17      45:9 46:21 48:16,17,23 49:13,19,23
                                           50:4,6,9 53:2,24 55:5,21 56:25 57:2,   worry 38:18
   107:8,23 108:23 111:5,6 114:14,18,
   21 115:5 123:17 126:24 127:14           10,17,21,25 58:17 59:4,10,15 60:16,    worrying 139:20
   131:5 136:7,11 137:2                    17,18 62:2,6,9,10,22 63:16 64:6,8,
                                           20 65:9 66:1 67:15 69:16 71:2,10,16    worth 110:11
  whereas 66:10                            72:11,17 73:3,8,25 74:2,15,16,19,22    would 19:5 21:19 22:18 23:19 24:20
                                           75:11 76:1,11,18,20,21 77:13,20,25
Case 1:23-cv-00595-JPH-KMB               Document 48-9         Filed 06/01/23        Page 73 of 73 PageID
                                               #: 1672
                                                                                            Index: wouldn't..zooming
   25:4 27:23 29:6,12 30:4 31:8,11       yesterday 126:17                         125:4,5,7,8,24 126:1,10,12 127:3,
   33:13 34:3 35:13,19 38:24 41:10                                                10,13,24 128:10,12,15 129:5,7,13,
                                         yet 53:1 84:7 85:15 86:2 100:9
   42:10 51:8 53:9 57:8,23 61:19 62:12                                            18,25 130:7,20,23 131:1,9,16 132:2,
                                          114:24
   63:6,9 70:6 75:17 77:8,22 78:2,12                                              4 133:2,6,8 134:4,6,7,10,19,24,25
   85:17 87:22 89:16 91:13,15 94:21      yield 38:19                              135:1,2,7,13,21,23 136:4,7,9,11,21,
   95:8 99:20 101:24 104:16,23,24                                                 22 137:6,23 138:3,10,15,16,17,20,
   106:2 111:24 112:13 121:13 125:7,
                                         you 5:9 6:1,7,9,14,17,19,21,22,25
                                                                                  22 139:12,19,20,22 140:2,5,8,9,12,
                                          7:7,19,25 8:2,6,8,14,16,20,22 9:6,
   25 129:21 133:12 134:13 139:14                                                 15,17 141:1
                                          13,15,19,24 10:4,15,18,22 11:2,24
  wouldn't 32:20                          12:10,12 13:5,11,16,23,24 14:8,10,     you'll 86:22 97:4,16 106:12
                                          25 15:10,12,14,15,16 16:15,23 17:3,
  WPATH 67:5 69:7,11 72:5 80:8,15                                                you're 15:13 16:8 20:7 25:23 28:12,
                                          4,13,17,19 18:3,6,9,11,12,15,19,22,
   83:12 91:22 92:4,8 105:23                                                      13 30:19 32:25 34:7 37:2 40:10 44:2
                                          23,24 19:12,18,20,24 20:1,3,6,12,
                                                                                  55:10,11 56:2 57:5,7 59:3,8,13,14
  writing 11:16 55:20 81:13 93:11         13,18 21:5,6,10,11,12,14,19,20,24
                                                                                  62:12 73:12 78:15 81:16 83:17
   100:24                                 22:9,11,16 23:5,9,10,19,20,21
                                                                                  84:18,19 88:21 102:22 108:21 111:2
                                          24:13,21,22 25:1,2,20 26:5,8,21,23
  wrote 106:4,7                                                                   114:9 116:10,22 122:17 125:24
                                          27:6,8,18,20,23 28:2,3,6,7,8,20,21,
                                                                                  130:16 135:4 137:25 138:1,2 139:5
                                          23,25 29:6,8,13,16,21,22,25 30:1,3,
                                                                                  140:19
                   X                      10,13,17,20,21 31:2,8,9,18,22
                                          32:14,15,18,21,23 33:2 34:2,22,25      you've 8:25 22:21 42:20 46:14
  XX 23:11                                35:10,16,18,19 36:1,3,6,11,12,14,19     48:11,22 61:20 72:1 85:8 108:12
                                          37:1,3,4,12,13,15,19 38:8,13,22         136:2,8
  XY 16:19 17:12 21:9,11,20 23:11         39:6,9,11 40:1,12,15 41:6,10,11,24,
                                                                                 young 59:20,22 61:13 94:17 128:8
                                          25 42:5,6,21 43:3,4,7,22 44:11,16
                                                                                  130:18 131:3
                   Y                      45:25 46:12,19 47:2,3,9,13,14,19,21
                                          48:7,8,20 49:4,5,11,13,16,20,22        your 6:2 9:6,9,11,15 10:4,22,23
                                          50:2,3,5,15 51:15 52:3,5,7,8,16,17,     11:15 12:22 13:12,17 14:9 25:16,23
  yeah 7:15 17:21 22:20 24:15 28:22       19 53:2,5,17,18,20,23 54:2,3,7,8,11,    27:22 28:19 29:21 31:1 32:19 36:20
   41:18 53:23 59:3 61:23 63:15 68:3,
                                          23 55:1,2,5,9,21,24 56:7,9,18,22,24     50:4 54:6 55:14 61:20 62:5,7 69:14
   23 75:4 80:7,12,24 82:4 83:16 87:13
                                          57:9,16,24 58:9,16 59:11,12 60:3,4,     75:11 78:25 87:21 98:1 101:18
   88:18 89:25 90:12 92:2,6 97:23
                                          8,21 61:3,5,15,20,25 62:3 63:3,25       102:12,24 103:18 104:11 105:19
   100:2 101:10 108:16 114:11 116:2
                                          64:4,6,7,15 65:1,3,5,8,12,23,25         106:4,13 107:2 112:10 113:2,7
   118:16 120:2 122:16,25 123:2
                                          66:2,12 67:17,20,23,25 68:1,3,16,       115:12 116:10 117:20 121:15
   126:19,21 129:13 130:10 132:22
                                          18,25 69:10,14 70:5,6,12,22,23          122:22 125:1 126:18 129:3 130:4
   136:11,18 137:5
                                          71:1,11,12,16,20 72:10,13,16,19,20      133:3 134:16 136:2,3,9 137:9
  year 61:18,25 62:2 66:4 70:16 83:1      73:2,3,5,6,7,18,25 74:2,3,5,6,7,10,     139:14
   88:3 110:2 124:1,17                    20,22 75:20,24 76:9,16,18 77:4,5,7,
                                          17,18,21 78:13,16,17,22,24 79:6,8,
                                                                                 youth 61:10 119:9 120:21,24 121:5,
  year's 69:19                            9,11,15,17,18,22 80:4,7,11,13,20
                                                                                  22 126:7 127:10 128:12 131:6
                                                                                  133:16 134:4 135:5,9 136:5,23
  years 9:18 10:11 11:20 37:14,16         81:18,19 83:6,8,15,19,22 84:18,20,
                                                                                  138:5 139:1
   82:25 110:2,4,24 111:4,8,9 124:11,     22 85:15,17,18,21,25 86:1,2,15,23
   16,25 125:12 132:11 133:16             87:3,21 88:1,2,14,16 89:8,15 90:2,     youth's 132:12
                                          17 91:12,21,25 92:1,13 93:8,11,18,
  years' 110:11                           20,22,25 94:23 95:8,9,13,23 96:3
                                          97:10,12,17,20,25 98:4,9,11 99:1,2,
                                                                                                  Z
  Yep 89:20
                                          6 100:4,5,11,13 101:2,7,18 102:1,7,
  yes 5:10 6:8,13,18 8:1,7,10,15,21       8,15,18,20,21 103:13,23 104:1,11,      Zoom 5:6,13,16
   9:21,23,25 10:25 12:11,23 13:13,21,    15 105:1,4,10,13,16,23,24 106:4,16,
   23 14:7,10 18:8 20:9 21:19 26:6                                               zooming 7:13
                                          18,23 107:1,7,14,16,20,21 108:1,3,
   31:6 37:22 41:9 42:25 56:3 58:12       4,5,22 109:4,7,15,18 110:3,8,10,11,
   61:17 69:11 72:7 73:19,24 75:13        13,17,22,25 111:3,10,11,19,20
   76:14,17,19 79:23 87:4,13,22 88:8,     112:9,13,16,22,24,25 113:5,6,9,10,
   11,25 93:24,25 96:4 97:11,19 98:10     13,18,19,20,23 114:1,11 115:1,8,10,
   100:12 103:17 106:17,24 107:15         14 116:11,22 117:2,9,19 118:6,22
   109:16,17 113:1 119:15 120:9,17        119:3,5,13,18,20,23 120:1,9,12,15
   123:4,10 130:21 132:3,24 133:9,18      121:9,13,21 122:19,21,23 123:15
   134:18 135:22 137:21 140:11
